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                               EXHIBIT 32
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                                                                            Review

     1                 IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
     2                            EASTERN DIVISION
     3
          IN RE:    NATIONAL PRESCRIPTION           ) No. 17-md-2804
     4    OPIATE LITIGATION NO. 2804                )
                                                    )
     5    APPLIES TO ALL CASES                      ) Hon. Dan A. Polster
                                                    )
     6
     7            HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     8                       CONFIDENTIALITY REVIEW
     9
                        VIDEO DEPOSITION OF JOHN GILLIES
    10
                                  February 7, 2019
    11                                  9:07 a.m.
    12                           HIGHLY CONFIDENTIAL
                   SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    13
    14
                   Reporter:     John Arndt, CSR, CCR, RDR, CRR
    15                           CSR No. 084-004605
                                     CCR No. 1186
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                                                          Page 2                                                  Page 4
    1         DEPOSITION OF JOHN GILLIES produced,                  1          INDEX OF INTERROGATION
      sworn, and examined on January 7, 2019, at Bryan Cave         2 Examination by Mr. Ko        Page 9
    2 Leighton Paisner LLP, 211 North Broadway, Suite 3600,           Examination by Ms. Herzfeld    Page 274
      in the City of St. Louis, State of Missouri, before           3 Examination by Mr. O'Connor     Page 326
    3 John Arndt, a Certified Shorthand Reporter and                4
      Certified Court Reporter.                                                    INDEX OF EXHIBITS
    4                                                               5
    5            APPEARANCES OF COUNSEL
    6                                                               6   Exhibit Mallinckrodt-Gillies-001       Page 12
      On Behalf of Plaintiffs:                                          (Notice of deposition)
    7    Keller Rohrback LLP                                        7
         1201 Third Avenue, Suite 3200                                  Exhibit Mallinckrodt-Gillies-002 Page 52
    8    Seattle, WA 98101                                          8   (E-mail chain with attachment)
         (206) 623-1900                                                 (MNK-T1_0000273575 - MNK-T1_0000273582)
    9    BY: MR. DAVID J. KO                                        9
            dko@kellerrohrback.com                                      Exhibit Mallinckrodt-Gillies-003 Page 52
   10       MS. ALISON S. GAFFNEY                                  10   (DEA letter)
            agaffney@kellerrohrback.com                                 (MNK-T1_0000270069 - MNK-T1_0000270070)
   11       MR. DEAN KAWAMOTO                                      11
            dkawamoto@kellerrohrback.com                                Exhibit Mallinckrodt-Gillies-004       Page 80
   12
      On Behalf of Tennessee Action:
                                                                   12   (E-mail message)
   13    Branstetter, Stranch & Jennings, PLLC                          (MNK-T1_0001806623)
                                                                   13
         223 Rosa L. Parks Avenue, Suite 200
   14    Nashville, TN 37203                                            Exhibit Mallinckrodt-Gillies-005        Page 80
         (615) 254-8801                                            14   (Dosage Suspicious Orders for Dec 2003)
   15    BY: MS. TRICIA HERZFELD                                        (MNK-T1_0001806624)
            triciah@bsjfirm.com                                    15
   16                                                                   Exhibit Mallinckrodt-Gillies-006 Page 94
      On Behalf of AmerisourceBergen:                              16   (E-mail message with attachment)
   17    Reed Smith LLP                                                 (MNK-T1_0007026341 - MNK-T1_0007026342)
         136 Main Street, Suite 250                                17
   18    Princeton, NJ 08540                                          Exhibit Mallinckrodt-Gillies-007     Page 98
         (609) 514-5959                                            18 (Suspicious Order Monitoring
   19    BY: MS. SHANA E. RUSSO                                       Team Charter)
             srusso@reedsmith.com                                  19 (MNK-T1_0000496062)
   20        (present via speakerphone)                            20 Exhibit Mallinckrodt-Gillies-008     Page 105
   21 On Behalf of Walmart:
         Jones Day                                                    (Notes from meeting with DEA Albany)
   22    325 John H. McConnell Boulevard, Suite 600                21 (MNK-T1_0007053963 - MNK-T1_0007053966)
         Columbus, OH 43215                                        22 Exhibit Mallinckrodt-Gillies-009     Page 132
   23    (614) 469-3939                                               (DEA Compliance Procedure)
         BY: MS. BRANDY H. RANJAN                                  23 (MNK-T1_0000419993 - MNK-T1_0000419997)
   24        branjan@jonesday.com                                  24

                                          Page 3                                                                  Page 5
    1        APPEARANCES OF COUNSEL (CONTINUED)                     1          INDEX OF EXHIBITS (CONTINUED)
    2                                                               2
        On Behalf of Endo Pharmaceuticals and Par                     Exhibit Mallinckrodt-Gillies-010  Page 118
    3 Pharmaceuticals:                                              3 (E-mail message with attachment)
            Arnold & Porter Kaye Scholer, LLP                         (MNK-T1_0000273892 - MNK-T1_0000273895)
                                                                    4
    4       70 West Madison Street, Suite 4200
            Chicago, IL 60602                                         Exhibit Mallinckrodt-Gillies-011  Page 144
                                                                    5 (DEA Compliance Procedure)
    5       (312) 583-2434                                            (MNK-T1_0000296382 - MNK-T1_0000296386)
            BY: MS. CAITLIN M. MIKA                                 6
    6          caitlin.mika@arnoldporter.com                          Exhibit Mallinckrodt-Gillies-012  Page 152
               (present via speakerphone)                           7 (Global Controlled Substance
    7                                                                 Compliance Procedure)
      On Behalf of Cardinal Health:                                 8 (MNK-T1_0004154292 - MNK-T1_0004154296)
    8    Armstrong Teasdale, LLP                                    9 Exhibit Mallinckrodt-Gillies-013  Page 157
         7700 Forsyth Boulevard, Suite 1800                           (Global Controlled Substance
                                                                   10 Compliance Procedure)
    9    St. Louis, MO 63105                                          (MNK-T1_0004154297 - MNK-T1_0004154300)
         (314) 552-6672                                            11
   10    BY: MS. SARAH E. HARMON                                      Exhibit Mallinckrodt-Gillies-014  Page 162
             sharmon@armstrongteasdale.com                         12 (E-mail message with attachment)
   11                                                                 (MNK-T1_0000264240)
        On Behalf of Mallinckrodt, SpecGX LLC, and John            13
   12 Gillies:                                                        Exhibit Mallinckrodt-Gillies-015  Page 169
            Ropes & Gray LLP                                       14 (11/02/10 memorandum)
   13       800 Boylston Street                                       (MNK-T1_0000269399 - MNK-T1_0000269400)
                                                                   15
            Boston, MA 02199
   14       (617) 951-7000                                            Exhibit Mallinckrodt-Gillies-016  Page 172
                                                                   16 (Global Controlled Substance
            BY: MR. ANDREW O'CONNOR                                   Compliance Procedure)
   15          andrew.o'connor@ropesgray.com                       17 (MNK-T1_0000264275 - MNK-T1_0000264278)
               MR. JOSH GOLDSTEIN                                  18 Exhibit Mallinckrodt-Gillies-017  Page 173
   16          joshua.goldstein@ropesgray.com                         (E-mail chain with attachment)
   17                                                              19 (MNK-T1_0000264199 - MNK-T1_0000264204)
        Also present: James Arndt, videographer                    20 Exhibit Mallinckrodt-Gillies-018  Page 179
   18                                                                 (Mallinckrodt Suspicious Order
   19                                                              21 Monitoring Procedure)
   20                                                                 (MNK-T1_0000259166 - MNK-T1_0000259170)
                                                                   22 Exhibit Mallinckrodt-Gillies-019  Page 182
   21
   22                                                                 (Modifications to Procedures for
                                                                   23 Identification and Review of
   23                                                                 Unusual Orders)
   24                                                              24 (MNK-T1_0000571916 - MNK-T1_0000571917)

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    1         INDEX OF EXHIBITS (CONTINUED)                1         THE VIDEOGRAPHER: We are now on the
    2
                                                          record. My name is James Arndt. I'm a videographer
                                                           2
      Exhibit Mallinckrodt-Gillies-020        Page 189
    3 (Identification and Investigation of              3 for Golkow Litigation Services. Today's date is
      Unusual Orders of Controlled Substances           4 February 7th, 2019, and the time is 9:07 AM.
    4 And Reports of Suspicious Orders of
      Controlled Substances)                            5         This video deposition is being held in St.
    5 (MNK-T1_0002357607 - MNK-T1_0002357611)
    6 Exhibit Mallinckrodt-Gillies-021        Page 192 6 Louis, Missouri, in the matter of the National
      (E-mail message with attachment)                  7 Prescription Opiate Litigation for the United States
    7 (MNK-T1_0007728781 - MNK-T1_0007728786)
    8 Exhibit Mallinckrodt-Gillies-022        Page 204 8 District Court for the Northern District of Ohio,
      (Identification, Investigation, and               9 Eastern Division. The deponent is John Gillies.
    9 Reports of Controlled Substances
      Suspicious Orders)                               10         Will counsel please identify themselves?
   10 (MNK-T1_0007476261 - MNK-T1_0007476265)
   11 Exhibit Mallinckrodt-Gillies-023        Page 211 11         MR. KO: Good morning, everyone. David
      (Identification, Investigation, and              12 Ko, Keller Rohrback, on behalf of the plaintiffs.
   12 Reports of Controlled Substances
      Suspicious Orders)                               13         MS. GAFFNEY: Alison Gaffney from Keller
   13 (MNK-T1_0005620500 - MNK-T1_0005620504)
   14 Exhibit Mallinckrodt-Gillies-024                 14 Rohrback   on behalf of the plaintiffs.
                                              Page 214
      (Identification, Investigation, and              15         MR. KAWAMOTO: Dean Kawamoto, also from
   15 Reports of Controlled Substances
                                                       16 Keller Rohrback, for the plaintiffs.
      Suspicious Orders)
   16 (MNK-T1_0000511246 - MNK-T1_0000511249) 17                  MS. HARMON: Sarah Harmon with Armstrong
   17 Exhibit Mallinckrodt-Gillies-025        Page 224
      (E-mail message with attachment)                 18 Teasdale  for Cardinal Health, Inc.
   18 (MNK-T1_0000263874 - MNK-T1_0000263876)
   19 Exhibit Mallinckrodt-Gillies-026
                                                       19         MS. HERZFELD: Tricia Herzfeld from
                                              Page 254
      (E-mail message)                                 20 Branstetter, Stranch & Jennings on behalf of the
   20 (MNK-T1_0003044340)
   21 Exhibit Mallinckrodt-Gillies-027        Page 257 21 Tennessee plaintiffs.
      (Mallinckrodt Controlled Substance               22         MS. RANJAN: Brandy Ranjan from Jones Day
   22 Suspicious Order Monitoring Program)
      (MNK-T1_0000296470 - MNK-T1_0000296476) 23 on behalf of Walmart.
   23
   24
                                                          24         MR. GOLDSTEIN: Joshua Goldstein, Ropes &

                                         Page 7                                                              Page 9
    1         INDEX OF EXHIBITS (CONTINUED)                1 Gray, on behalf of the witness, Mallinckrodt LLC, and
    2                                                      2 SpecGX LLC.
      Exhibit Mallinckrodt-Gillies-028    Page 260
    3 (Draft Notes for SOM Steering
                                                    3         MR. O'CONNOR: Andrew O'Connor on behalf
      Committee Meeting 09/28/11)                   4 of the witness, Mallinckrodt LLC, and SpecGX.
    4 (MNK-T1_0002077756 - MNK-T1_0002077758)       5         THE VIDEOGRAPHER: Will attorneys present
    5 Exhibit Mallinckrodt-Gillies-029    Page 262  6 by phone please identify themselves?
      (E-mail message)
    6 (MNK-T1_0000284620)                           7         MS. MIKA: Caitlin Mika from Arnold &
    7 Exhibit Mallinckrodt-Gillies-030    Page 269  8 Porter on behalf of Endo and Par entities.
      (Letter to Assistant U.S. Attorney)           9         MS. RUSSO: Shana Russo, Reed Smith, on
    8 (MNK-T1_0008434954 - MNK-T1_0008434992)
    9 Exhibit Mallinckrodt-Gillies-031             10 behalf of AmerisourceBergen Drug Corporation.
                                          Page 302
      (List of files on server)                    11         THE VIDEOGRAPHER: The court reporter is
   10 (MNK-T1_0007900223)                          12 John Arndt and he will now swear in the witness.
   11 Exhibit Mallinckrodt-Gillies-032    Page 305 13
      (Prescription Drug Prosecutions)
   12 (MNK-TNSTA00607255 - MNK-TNSTA00607313) 14           The witness, JOHN GILLIES, first having been
   13                                                     15 duly sworn, testified as follows:
               (Exhibits are attached.)                   16               EXAMINATION
   14
   15                                                     17 BY MR. KO:
   16                                                     18      Q. Good morning.
   17                                                     19      A. Good morning.
   18
   19
                                                          20      Q. Would you please state and spell your name
   20                                                     21 for the record?
   21                                                     22      A. Sure. John Gillies. G-I-L-L-I-E-S.
   22
                                                          23      Q. And Mr. Gillies, where do you currently
   23
   24                                                     24 reside?


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    1      A. In St. Louis, Missouri.                              1           Is that your understanding?
    2      Q. And have you had your deposition taken               2      A. Yes.
    3 before?                                                      3      Q. I'm going to go ahead and hand you a copy
    4      A. Yes.                                                 4 of what's going to be marked as Gillies Exhibit 1.
    5      Q. Approximately how many times?                        5           [Exhibit Mallinckrodt-Gillies-001
    6      A. Twice.                                               6           marked for identification.]
    7      Q. And was that in connection with your time            7      Q. And I'll represent for the record that
    8 at FBI or in connection with your time at Mallinckrodt?      8 this is the amended notice of deposition pursuant to
    9      A. With my previous employer.                           9 Rule 30(b)6 that we issued to Mallinckrodt.
   10      Q. Not Mallinckrodt?                                   10           Does that look familiar to you, Mr.
   11      A. Not Mallinckrodt.                                   11 Gillies?
   12      Q. So you understand generally how these               12      A. Yes.
   13 depositions go, but just as a brief reminder of the         13      Q. And just so I understand it, just so the
   14 important rules to me, it's very important that we          14 record is clear, you are here testifying on behalf of
   15 create a clean record.                                      15 Mallinckrodt; is that correct?
   16           As we alluded to before, the court                16      A. Correct.
   17 reporter has the most important job here, so it's           17      Q. And Mallinckrodt is defined as
   18 important not to speak over one another, so please wait     18 Mallinckrodt LLC and SpecGX LLC; is that correct?
   19 until I finish my question before moving on to your         19      A. Yes.
   20 response, and likewise I'll wait until you finish your      20      Q. And are you also testifying on behalf of
   21 response before moving onto my next question.               21 Mallinckrodt PLC today?
   22           Okay?                                             22      A. No, not that I'm aware of.
   23      A. Yes.                                                23           MR. KO: And I'll note for the record, as
   24      Q. It's also very important that to the                24 counsel is aware, that Mallinckrodt PLC has moved to

                                                      Page 11                                                      Page 13
    1 extent that I ask a yes-or-no question and your answer 1 dismiss themselves from this litigation, but it is
    2 is in fact yes or no, please say those words rather      2 certainly plaintiffs' position that the PLC should be
    3 than shaking your head or nodding your head.             3 in the litigation, and we expect this testimony to be
    4          Sound good?                                     4 on behalf of the PLC as well.
    5      A. Yes.                                             5           MR. O'CONNOR: Okay. And we want to make
    6      Q. And from time to time, counsel, your             6 clear that his testimony today is only on behalf of LLC
    7 counsel, or other counsel might object to my             7 and SpecGX LLC, and PLC is not subject to the
    8 questioning, but unless you get a clear instruction not  8 jurisdiction of the Northern District of Ohio.
    9 to answer, I'd ask that you respond to my question.      9 BY MR. KO:
   10          Does that sound good?                          10      Q. Now, throughout this day -- we'll be
   11      A. Yes. Yes.                                       11 taking a look at that notice shortly, but throughout
   12      Q. And Mr. Gillies, we'll be here for a            12 this day we'll also be looking potentially at some
   13 substantial period of time today, so to the extent you  13 documents that include Covidien e-mail addresses and
   14 need breaks, please ask and we'll do our best to        14 Covidien labels.
   15 accommodate.                                            15           Can we agree for purposes of the
   16          Okay?                                          16 deposition today that Mallinckrodt includes Covidien?
   17      A. Thank you.                                      17      A. Yes.
   18      Q. Mr. Gillies, is there anything that you         18      Q. And the same with Tyco. There will be
   19 can think of today that would prevent you from          19 some -- perhaps some Tyco e-mail addresses and some
   20 testifying truthfully or honestly?                      20 Tyco documents.
   21      A. No.                                             21           Can we agree that Tyco is synonymous with
   22      Q. Great. I understand that you have been          22 Mallinckrodt for purposes of today's deposition?
   23 designated on behalf of Mallinckrodt to testify on      23           MR. O'CONNOR: I just want to be very
   24 certain topics pursuant to a 30(b)6 notice.             24 clear that those are other companies, and he's


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    1 authorized to speak, as he said, on behalf of LLC and      1 sent to you by the DEA and any other communications
    2 SpecGX.                                                    2 between you and the DEA regarding your marketing of
    3          MR. KO: When I refer -- I understand,             3 your opioid products, your response to these letters,
    4 Andrew.                                                    4 all subsequent actions you took in response to those
    5 BY MR. KO:                                                 5 communications, and all budgets for any such actions by
    6      Q. When I refer to Tyco and/or Covidien and           6 year, end quote.
    7 some documents, unless there is a clear objection or a     7          Is that a correct understanding of what
    8 clear instruction otherwise, can we agree that just for    8 you're testifying on behalf of?
    9 ease of reference that when I refer to Tyco and/or         9      A. Yes.
   10 Covidien it's also synonymous with Mallinckrodt?          10      Q. Great. Now, I also understand that you
   11      A. Yes.                                              11 are testifying on behalf of Mallinckrodt for portions
   12      Q. Okay, great. Turning to this deposition           12 of Topic 4. Is that correct?
   13 notice. As we discussed before, there are some topics     13      A. Yes.
   14 that you have been designated to testify on behalf of     14      Q. And again, so the record is clear, the
   15 Mallinckrodt, and that includes, if you turn to Page 5,   15 portion of Topic 4 that you are testifying on behalf of
   16 Topic 1. Is that correct?                                 16 Mallinckrodt today is, quote, your interactions with
   17      A. Yes.                                              17 the DEA regarding the scheduling of controlled
   18      Q. And I also understand that you have been          18 substances, the setting of quotas, or the distribution
   19 designated by Mallinckrodt to testify as to portions of   19 of controlled substances, including compliance,
   20 Topic 2. Is that correct?                                 20 regulatory and administrative actions, communications,
   21      A. Yes.                                              21 and penalties, end quote.
   22      Q. And in particular I think there are some          22          Is that consistent with your understanding
   23 carve-outs there, so I believe that your testimony        23 that you're testifying on behalf of Mallinckrodt on
   24 today is specifically regarding suspicious order          24 that topic?

                                                      Page 15                                                      Page 17
    1 monitoring and potential diversion?                        1      A. Yes.
    2      A. Yes.                                               2      Q. Great. I also understand that you are
    3      Q. Is that correct?                                   3 testifying on behalf of Mallinckrodt on Topic 5. Is
    4      A. Yes.                                               4 that correct?
    5      Q. And just so the record is clear, let me            5      A. Yes.
    6 read into the record the topic as I understand that you    6      Q. And in addition Topic 6?
    7 are testifying on behalf of Mallinckrodt today.            7      A. Yes.
    8          And that would be, quote, the role of             8      Q. Also Topic 7?
    9 wholesalers, distributors, and pharmacies, including       9      A. Yes.
   10 but not limited to defendants, in the supply chain for    10      Q. And turning to the next page, on Page 7,
   11 your opioid products and the responsibilities of each     11 there is also Topics 14 and 15. It's my understanding
   12 with respect to suspicious order monitoring and           12 that you are testifying on behalf of Mallinckrodt on
   13 potential diversion, end quote.                           13 those topics. Is that accurate?
   14          Do you understand to be testifying on that       14      A. Yes to 14. Yes to 15.
   15 topic today?                                              15      Q. Great. And then finally if you move
   16      A. Yes.                                              16 forward to Page 11, I understand you are also being
   17      Q. Great. Now, in addition you are also              17 designated to speak on behalf of Mallinckrodt on
   18 testifying on behalf of Mallinckrodt for portions of      18 portions of topic 27. Is that accurate?
   19 Topic 3; is that correct?                                 19      A. Yes.
   20      A. Yes.                                              20      Q. And again, so the record is clear, the
   21      Q. And again, just so the record is clear,           21 portion of 27 that you will be testifying on
   22 let me read the portion of Topic 3 that I believe that    22 Mallinckrodt today is, quote, to the extent not
   23 you are testifying on behalf of Mallinckrodt.             23 encompassed within other topics, your suspicious order
   24          And that would be, quote, warning letters        24 monitoring and compliance concerning your generic


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    1 opioid products. Is that accurate?                         1      Q. Any other additional counsel?
    2      A. Yes.                                               2      A. Mr. Davison.
    3      Q. Great. Thank you for that.                         3      Q. And approximately how many times did you
    4          MR. O'CONNOR: Counsel, just for clarity.          4 meet with them?
    5          MR. KO: Sure.                                     5      A. Four or five. Four in person, one
    6          MR. O'CONNOR: I think on Number 4, per            6 videoconference.
    7 our letter of October 15th, Mr. Webb was testified --      7      Q. And when was the date of the first
    8 or was designated to testify regarding all of 4 except     8 preparation session?
    9 for the setting of quotas, and it's only the setting of    9      A. I believe it was in September of 2018.
   10 quotas that's within Mr. Gillies's topics.                10      Q. And approximately how many hours would you
   11          MR. KO: And Andrew, I believe that you           11 say you have spent preparing for this deposition?
   12 had sent an e-mail in early January before Mr. Webb's 12          A. Approximately 80 hours total.
   13 deposition clarifying that actually Mr. Webb was only 13          Q. And when you said a moment ago that you're
   14 testifying on behalf of communications, interactions      14 reviewing documents -- well, strike that.
   15 with the FDA.                                             15         The 80 hours in preparation -- are those
   16          MR. O'CONNOR: Okay.                              16 all hours you spent with counsel, or are you talking
   17          MR. KO: And I had sent a follow-up e-mail 17 about additional hours that you spent on your own
   18 confirming.                                               18 preparing?
   19          MR. O'CONNOR: Happy to confirm that at 19                A. No, that would be a combination of counsel
   20 the next break, and we can handle it --                   20 and individual.
   21          MR. KO: I think regardless, some of the          21      Q. Understood. Approximately how many hours
   22 questions that I'll be asking today, just for your        22 did you meet with counsel?
   23 edification, that relate to the DEA could fall under      23      A. Approximately 40.
   24 other categories.                                         24      Q. Okay, great. And when you said a moment

                                                    Page 19                                                        Page 21
    1          MR. O'CONNOR: Fair enough. Thank you.             1 ago you were -- that you reviewed some documents, were
    2          MR. KO: So if it becomes an issue, we can         2 these all documents that were selected by your counsel?
    3 discuss and put it on the record.                          3         MR. O'CONNOR: You can answer that.
    4          MR. O'CONNOR: Okay.                               4     A. Yes.
    5 BY MR. KO:                                                 5 BY MR. KO:
    6      Q. Now, for the topics that we went over              6     Q. In other words, did you provide any
    7 today just a moment ago, again, just so the record is      7 documents to your counsel or did you independently
    8 clear, you understand that you are speaking on behalf      8 review any documents on your own outside of counsel's
    9 of Mallinckrodt; correct?                                  9 presence?
   10      A. Yes.                                              10     A. No.
   11      Q. And you are not testifying in your                11     Q. Great. And have you reviewed any of the
   12 individual capacity?                                      12 court pleadings in the national opioid litigation?
   13      A. Correct.                                          13     A. So can you further define that for me?
   14      Q. And you understand that your testimony            14     Q. Sure. Have you looked at the applicable
   15 will bind Mallinckrodt; is that correct?                  15 complaints in this action?
   16      A. Yes.                                              16     A. Yes.
   17      Q. Great. Mr. Gillies, what did you do to            17     Q. Which ones?
   18 prepare for this deposition?                              18     A. The original one.
   19      A. I met with counsel a number of times,             19     Q. Got it. And I'm not trying to put you
   20 reviewed policies, procedures, e-mails, other             20 through a legal test at all.
   21 documents.                                                21     A. No --
   22      Q. And when you said counsel, is that Mr.            22     Q. I'm just trying to get an understanding of
   23 O'Connor and Mr. Goldstein here?                          23 what documents you may have looked at. So were these
   24      A. Yes.                                              24 documents also selected by counsel?


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    1      A. Yes.                                              1      Q. And Mr. Gillies, I assume that
    2      Q. Great. In addition to complaints, were            2 Mallinckrodt is paying for your representation by
    3 there any other pleadings or documents that looked        3 Andrew and Joshua today. Is that correct?
    4 similar to, for example, the 30(b)6 notice that's in      4      A. Are they paying me or paying them? I'm
    5 front of you that you reviewed?                           5 sorry. I don't understand the question.
    6      A. I would have looked at this document, but         6      Q. Are you being compensated in any way for
    7 I don't recall seeing anything else like this.            7 your testimony today individually?
    8      Q. Okay. Thanks. And in preparation for              8      A. I mean, I'm employed by Mallinckrodt, so
    9 this deposition, did you speak with any current or        9 my compensation comes from my employer.
   10 former employees at Mallinckrodt?                        10      Q. Outside of your regular compensation, are
   11      A. Yes.                                             11 you getting any additional compensation?
   12      Q. Which ones?                                      12      A. No.
   13      A. Karen Harper.                                    13      Q. And are you paying for your counsel both
   14      Q. And when did you speak with her?                 14 in terms of preparation for this deposition and/or
   15      A. It would have been in January.                   15 conducting this deposition?
   16      Q. January of this year?                            16      A. Me personally?
   17      A. I'm sorry. January 2019.                         17      Q. Yes.
   18      Q. Great. And did you speak with her                18      A. No.
   19 specifically about your deposition, or this case, or     19      Q. Great. You can set that aside. You may
   20 what did you guys discuss?                               20 want to refer to it from time to time, but I'll just --
   21      A. Would have discussed a question I had on         21 we can move that aside for the moment.
   22 one of these topics.                                     22      A. Okay.
   23      Q. I see. And which topic was that?                 23      Q. Mr. Gillies, you are currently director of
   24          MR. O'CONNOR: And counsel, I'm going to         24 global security at Mallinckrodt; is that correct?

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    1 object to the extent some of that discussion took place 1       A. I'm currently the vice-president of global
    2 in the presence of counsel and instruct the witness not 2 security.
    3 to answer under attorney-client privilege.               3      Q. Vice-president. Thanks for the
    4          MR. KO: Okay.                                   4 clarification. Have you ever been a director of global
    5 BY MR. KO:                                               5 security or a director at Mallinckrodt?
    6      Q. Do you recall -- are you going to follow         6      A. Yes.
    7 that instruction?                                        7      Q. And how long -- or how long ago was that
    8      A. Yes.                                             8 when you first became director?
    9      Q. Okay. Do you recall which topic you              9      A. Yes. I was director when I joined
   10 discussed with Ms. Harper?                              10 Mallinckrodt in June of 2012.
   11          MR. O'CONNOR: Same objection, same             11      Q. And are you still currently a director or
   12 instruction.                                            12 are you no longer a director?
   13 BY MR. KO:                                              13      A. So I'm no longer a director.
   14      Q. Other than Ms. Harper, did you speak with 14            Q. And when did that occur that you no longer
   15 any other current or former Mallinckrodt employee       15 became a director?
   16 outside the presence of counsel?                        16      A. I can't recall the exact date, but I
   17      A. No.                                             17 believe it was 2015.
   18      Q. And I'm sure you're aware that there are        18      Q. And so you have been vice-president of
   19 other depositions taking place in this case of          19 global security since 2015?
   20 Mallinckrodt current and former employees; correct? 20          A. Correct.
   21      A. Yes.                                            21      Q. And you said a moment ago that you became
   22      Q. And did you review any transcripts of           22 director in 2012. Is that also when you joined
   23 these depositions?                                      23 Mallinckrodt?
   24      A. No.                                             24      A. Yes.

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    1      Q. And approximately when in 2012?                       1      A.     No.
    2      A. June of 2012.                                         2 BY MR. KO:
    3      Q. Is it accurate to say that currently one              3      Q.     Well, you're familiar with the memorandum
    4 of your primary responsibilities is to oversee                4 of understanding between the DEA and Mallinckrodt;
    5 Mallinckrodt's compliance with the Controlled                 5 correct?
    6 Substances Act?                                               6      A.     Yes.
    7     A. I'm one of the members of the suspicious               7      Q. And we'll get into more of the details
    8 order monitoring team.                                        8 later, but you're familiar with all the provisions of
    9      Q. And in addition to being one of the                   9 the memorandum of understanding; is that fair?
   10 members of the suspicious order monitoring team, do you      10      A.     Yes.
   11 have additional duties to ensure that Mallinckrodt           11      Q.     And in the memorandum of understanding
   12 complies with its duties under the Controlled                12 there is a provision referenced in that agreement
   13 Substances Act?                                              13 titled admission of responsibility.
   14       MR. O'CONNOR: Objection to form.                       14         Are you familiar with that provision?
   15    A. Yes.                                                   15         MR. O'CONNOR: Objection to form.
   16 BY MR. KO:                                                   16      A. Yes.
   17       Q. And for purposes of the deposition today,           17 BY MR. KO:
   18 is it okay if I refer to the Controlled Substances Act       18      Q.     And we can refer to the document later if
   19 as the CSA?                                                  19 we need to, but in that provision there's a statement
   20       A. Yes.                                                20 that indicates that Mallinckrodt from certain times
   21       Q. And okay to refer to suspicious order               21 through -- from 2008 to 2012 did not always comply with
   22 monitoring as SOM?                                           22 the standard set forth in DEA letters in 2006 and 2007
   23       A. Yes.                                                23 regarding its suspicious order monitoring program.
   24       Q. Okay, great. And I assume that you're               24            Isn't that accurate?

                                                      Page 27                                                          Page 29
    1 familiar with the CSA; correct?                               1           MR. O'CONNOR: Objection to form.
    2     A. Yes.                                                   2      A. That's my understanding without reading
    3     Q. And you're familiar that a fundamental                 3 that document.
    4 duty of any registrant of the CSA is to maintain              4 BY MR. KO:
    5 effective controls against diversion?                         5      Q. So we had just talked about one of the
    6          MR. O'CONNOR: Objection to form.                     6 duties under the CSA being a registrant's obligation to
    7     A. Yes.                                                   7 design and implement a system to identify suspicious
    8 BY MR. KO:                                                    8 orders.
    9     Q. And is it also fair to say that one of the             9           Do you recall that?
   10 fundamental duties of the CSA is for a registrant to         10      A. I'm sorry. Could you say that again?
   11 design and implement a system to identify and detect         11      Q. Sure. We had just talked about one of the
   12 suspicious orders?                                           12 duties under the CSA being a registrant's obligation to
   13          MR. O'CONNOR: Objection to form.                    13 design and implement a system to identify suspicious
   14     A. Yes.                                                  14 orders.
   15 BY MR. KO:                                                   15      A. Yes.
   16     Q. And you would certainly agree that                    16      Q. And in the admission of responsibility in
   17 Mallinckrodt as a registrant of the CSA has these            17 the MOU, memorandum of understanding, between
   18 duties; correct?                                             18 Mallinckrodt and DEA, Mallinckrodt acknowledged that
   19          MR. O'CONNOR: Objection to form.                    19 from certain times from 2008 through 2012 it did not
   20     A. Yes.                                                  20 always follow the recommendations set forth in DEA
   21 BY MR. KO:                                                   21 letters in 2006 and 2007 regarding SOM programs.
   22     Q. Now, is it accurate to state that                     22           Isn't that accurate?
   23 Mallinckrodt did not always comply with these duties?        23           MR. O'CONNOR: Objection to form.
   24          MR. O'CONNOR: Objection to form.                    24      A. No. No.

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     1 BY MR. KO:                                                  1      A. Until June 2012.
     2      Q. Well, we'll get to the MOU later, then.             2      Q. When you went to go work for Mallinckrodt?
     3      A. Okay.                                               3      A. That's correct.
     4      Q. Again, I don't want this to be a memory             4      Q. And both as a special agent in charge of
     5 test or anything.                                           5 the Miami division of the FBI and even prior to that, I
     6      A. Yeah.                                               6 want to get an understanding of when you first became
     7      Q. So we'll talk about those provisions                7 aware of the opioid crisis.
     8 later.                                                      8          MR. O'CONNOR: Again, you can answer at a
     9          Going back to your background, I've seen           9 general level. As we discussed, there's Touhy
    10 in certain documents that you have a BA in accounting      10 regulations that govern his ability to speak to
    11 in business from Illinois State. Is that correct?          11 confidential information, so at a very high level you
    12      A. A bachelor's of science.                           12 can answer whether you were aware.
    13      Q. Sorry. I apologize for that. A                     13      A. It would have been during that time
    14 bachelor's of -- so you have a bachelor's of science in    14 between 2009 and 2012.
    15 accounting and business administration from Illinois       15 BY MR. KO:
    16 State. Is that correct?                                    16      Q. So you -- and during that time, given that
    17      A. That's correct. Uh-huh.                            17 you were in Florida, I presume that you became aware of
    18      Q. And you graduated in 1982?                         18 certain issues with respect to the opioid crisis in
    19      A. Yes.                                               19 Florida in particular as well; correct?
    20      Q. And after graduation you went to work for          20          MR. O'CONNOR: Again, you can speak to
    21 the FBI, is my understanding. Is that correct?             21 your general awareness to the extent you don't reveal
    22      A. Yes.                                               22 any confidential government information subject to the
    23      Q. And was that immediately after graduation?         23 Touhy regulations. And if you can't answer, then I
    24      A. No.                                                24 would object and instruct you not to.

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     1      Q. What did you do between graduation and              1       A. Could you restate that question? I'm
     2 working for the FBI?                                        2 sorry about that.
     3      A. I was doing accounting work, and I joined           3 BY MR. KO:
     4 the FBI in October of 1983.                                 4       Q. Sure, I can repeat it.
     5      Q. And where did you do your accounting work?          5       A. Yeah, could you repeat it? That's fine.
     6      A. It was in Chicago.                                  6       Q. Given that you were in Florida, I presume
     7      Q. Who was your employer?                              7 that you became aware of certain issues with respect to
     8      A. It was Curtis Kruber (ph) -- Kruber, CPA.           8 the opioid crisis in Florida in particular; correct?
     9 Excuse me.                                                  9          MR. O'CONNOR: Object to the form, and
    10      Q. And when you went to work for the FBI,             10 give the same instruction with respect to the Touhy
    11 what was your first job at the FBI?                        11 issue.
    12      A. It was a general support position.                 12       A. I'm going to take my counsel's advice on
    13      Q. General support in what division?                  13 that.
    14      A. Chicago division.                                  14 BY MR. KO:
    15      Q. In what department?                                15       Q. Sure. And Mr. Gillies, I'm certainly not
    16      A. It was for the entire office.                      16 trying to pry into anything that might be confidential
    17      Q. I see. And I don't want to go over too             17 or violate any of your obligations under the law. I'm
    18 much of your background. There's -- as you understand,     18 just trying to get a general understanding of whether
    19 you have a deposition under your personal capacity         19 or not you became aware of certain issues in Florida
    20 tomorrow. But I just -- I do want to understand when       20 related to the opioid crisis in the 2009 through 2012
    21 you became a special agent in charge of the Miami          21 time period.
    22 division.                                                  22          MR. O'CONNOR: Going to make the same
    23      A. October of 2009.                                   23 objections.
    24      Q. And how long were you in that role?                24       A. I'm going to have to take my counsel's

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     1 advice on that.                                            1 unscrupulous doctors writing scripts for opioids as
     2 BY MR. KO:                                                 2 early as 2008?
     3      Q. Okay. Let me try this way. Mr. Gillies,            3          MR. O'CONNOR: Objection to form.
     4 there's certainly publicly available information about     4      A. I don't have any recollection of it being
     5 the role you played with respect to certain                5 2008.
     6 investigations that occurred in Florida.                   6 BY MR. KO:
     7          Are you aware of those?                           7      Q. I've probably seen a lot more documents
     8      A. Yes.                                               8 than you have.
     9      Q. So I'm just asking with respect to the             9      A. I'm sure you have.
    10 publicly available information out there that suggests    10      Q. But have you in any of your review of
    11 that you played a role in, for example, prosecution of    11 documents as selected by counsel today, did you see any
    12 certain pill mills in Florida, I just want to make sure   12 reference to a growing opioid crisis and problems in
    13 that the record is clear today.                           13 Florida in particular earlier than 2008?
    14          At some point in time during the 2009 and        14      A. No.
    15 2012 time period, or perhaps before, you became aware     15      Q. And again, all these documents were
    16 that there were certain issues with respect to the        16 selected by your counsel, is that correct, that you
    17 opioid crisis in Florida; is that fair?                   17 reviewed in preparation for this deposition?
    18          MR. O'CONNOR: Object to form. You can            18      A. Yes.
    19 answer with respect to publicly available information.    19      Q. Mr. Gillies, you are aware of the
    20      A. Yes.                                              20 controlled substance compliance group at Mallinckrodt;
    21 BY MR. KO:                                                21 is that correct?
    22      Q. Now, is it also accurate to say -- putting        22      A. Yes.
    23 aside your role in the FBI, is it also accurate to say    23      Q. And were you ever a member or are
    24 that Mallinckrodt became aware of certain issues in       24 currently a member of the controlled substance

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     1 Florida as alerted by the DEA?                             1 compliance group?
     2          MR. O'CONNOR: Object to form.                     2       A. I am a member of the SOM team, and we have
     3       A. Mallinckrodt became aware of the full             3 a DEA compliance group. Is that what you're referring
     4 scope of the problem after a DEA meeting in August of      4 to?
     5 2011.                                                      5      Q. Well, that's actually helpful to clarify,
     6 BY MR. KO:                                                 6 because I've seen plenty of references in the documents
     7       Q. And setting aside your answer with respect        7 to both a DEA compliance team and a controlled
     8 to the full scope of the problem, Mallinckrodt             8 substance compliance team.
     9 understood that there were certain issues with respect     9          Is it your testimony that there are two
    10 to the Mallinckrodt pills being diverted in Florida       10 distinct teams, or are they the same but just used
    11 prior to that meeting as well; correct?                   11 interchangeably?
    12          MR. O'CONNOR: Objection to form.                 12          MR. O'CONNOR: Objection to form.
    13       A. Mallinckrodt was aware of an opioid              13      A. So I'm sorry. I'm not familiar with that
    14 problem, and they were aware of unscrupulous doctors      14 second term, the controlled substance compliance team.
    15 writing scripts for opioids.                              15 I am familiar with the DEA compliance team.
    16 BY MR. KO:                                                16 BY MR. KO:
    17       Q. And what time period were they aware of          17      Q. Got it. And what are the general roles
    18 this?                                                     18 and responsibilities of the DEA compliance team?
    19       A. Again, they became aware of the full scope       19      A. I'm not part of that team, so my general
    20 after the August 2011 DEA meeting, so they were aware     20 understanding is that that team works closing with DEA
    21 of unscrupulous doctors and some opioid issues prior to   21 on any issues -- that's where the quota numbers are
    22 that.                                                     22 prepared from.
    23       Q. And would it be accurate to say that they        23      Q. In addition to quota, anything else?
    24 became aware of an opioid problem and aware of            24      A. I'm sure there are. I'm just not part of

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     1 that team, so I can't give you a list.                            1 compliance team?
     2       Q. And a moment ago you said you were part of               2           MR. O'CONNOR: Objection to form.
     3 the SOM team. Is the SOM team under the umbrella of               3      A.    I'm unaware of the SOM team being under
     4 the DEA compliance team, or is it a separate group?               4 the umbrella of DEA compliance.
     5      A. Separate.                                                 5 BY MR. KO:
     6      Q. And currently who are the members of the                  6      Q.    And is it -- so is it your test -- well,
     7 SOM team?                                                         7 strike that.
     8      A. So we have a representative from DEA                      8           Did Mallinckrodt always have an
     9 compliance, from security, from legal, and government             9 independent and separate SOM team?
    10 compliance.                                                      10           MR. O'CONNOR: Objection to form.
    11      Q. And --                                                   11      A.    So can you define always?
    12      A. There may be others.                                     12 BY MR. KO:
    13      Q. And is the representative from security --               13      Q.    How about from the period of 2008 to the
    14 is that you?                                                     14 period of when you joined in June of 2012, do you have
    15      A. Yes.                                                     15 an understanding of whether or not the SOM team was
    16      Q. And the representatives from legal -- who                16 independent of any other group at Mallinckrodt?
    17 are they?                                                        17          MR. O'CONNOR: Objection to form.
    18          MR. O'CONNOR: You can answer that.                      18      A. Yes, I believe them to be independent.
    19      A. Don Lohman, general counsel.                             19 BY MR. KO:
    20 BY MR. KO:                                                       20      Q. Now, turning back to your testimony a
    21      Q. Is he the only representative of legal on                21 moment ago about how Mallinckrodt became aware of the
    22 the SOM team?                                                    22 full scope of the problem in Florida after an August
    23      A. Jason Tilly.                                             23 23rd, 2011, meeting.
    24      Q. Is he also --                                            24          Is it accurate to state that Mallin -- or

                                                              Page 39                                                            Page 41
     1      A.   Associate general counsel.                              1 excuse me -- that the DEA focused particularly on
     2      Q.   And then you mentioned government                       2 Mallinckrodt opioids, oxy 15s and oxy 30s in
     3 compliance a moment ago. Who is the individual that is            3 particular?
     4 the representative on the SOM team from that group?               4         MR. O'CONNOR: Objection to form.
     5      A.   Gail Tetzlaff.                                          5     A. I don't know if I heard you misspeak, but
     6      Q.   And have you been a member of the SOM team              6 August of 2011. Correct?
     7 ever since you joined Mallinckrodt in June of 2012?               7 BY MR. KO:
     8      A.   Yes.                                                    8     Q. Okay. I may have misspoken, and let me
     9      Q.   And was there ever a period of time in                  9 rephrase my question in any event to make it --
    10 which you were not a member of the SOM compliance team           10     A. Okay.
    11 during the time period between June 2012 and current?            11     Q. -- hopefully a little more simple. The
    12      A.   I've been a member of the SOM team since I             12 DEA met with Mallinckrodt many times during the 2009
    13 joined Mallinckrodt.                                             13 through 2012 time period; is that fair to say?
    14      Q.   So in your review of documents and in                  14         MR. O'CONNOR: Objection to form.
    15 preparing for this deposition today, did you see any             15     A. I don't know about many times, but we met
    16 reference to a controlled substance compliance group             16 with DEA.
    17 that was ever formed?                                            17 BY MR. KO:
    18      A.   I have no recollection of that, but if you             18     Q. Did Mallinckrodt meet with DEA on more
    19 have a document, I'll look at it.                                19 occasions than the August 23rd, 2011, meeting?
    20      Q.   Sure. Is it your understanding that prior              20     A. I'm sorry. Could you give me that date
    21 to your employment at Mallinckrodt that the DEA                  21 again?
    22 compliance team was always separate from an SOM team,            22     Q. Sure. I believe that you said that the
    23 or was there ever a point in Mallinckrodt's history              23 meeting was in August of 2011.
    24 where the SOM team was under the umbrella of the DEA             24     A. That's correct.

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     1      Q.       And I believe in particular it was August              1 Mall -- one of DEA's focuses were the diversion of
     2 23rd of 2011.                                                        2 Mallinckrodt opioids, and in particular the diversion
     3      A.       Okay.                                                  3 of Mallinckrodt oxy 15s and 30s; is that accurate?
     4      Q.       That's what I --                                       4      A.    The discussion was about Mallinckrodt
     5      A.       That's what it was, you throwing the 23rd              5 oxycodone products going into Florida.
     6 at me. I'm sorry. I don't have the exact date on                     6      Q.    And in particular oxy 15s and oxy 30s, or
     7 that. That's why I was using August of 2011. That's                  7 just oxycodone products in general?
     8 where you were throwing me off. Okay, I'm sorry. Now                 8      A.    15s and 30s.
     9 I understand. Okay.                                                  9      Q.    So is it fair to say that Mallinckrodt
    10      Q.       So in addition to the August 2011 meeting             10 knew that Mallinckrodt-manufactured opioids were being
    11 with DEA, Mallinckrodt had additional meetings with DEA 11 abused and diverted in Florida?
    12 regarding diversion of Mallinckrodt opioids; is that                12         MR. O'CONNOR: Objection to form.
    13 fair to say?                                                        13      A. I don't know about the abuse part, but
    14           MR. O'CONNOR: Objection to form.                          14 they would have become aware of some of the diversion
    15      A.       We -- Mallinckrodt had additional meetings            15 of the products.
    16 with the DEA. It wasn't necessarily for that purpose.               16 BY MR. KO:
    17 BY MR. KO:                                                          17      Q.    And what's your understanding of
    18      Q.       What other purposes were they for?                    18 diversion, Mr. Gillies?
    19      A.       They inspect our facilities, and so some              19      A.    Outside the legal supply chain. So if you
    20 of the meetings were about inspections of our                       20 write me a legitimate script and I get it filled and I
    21 facilities.                                                         21 give to it people around this table, there's diversion
    22      Q.       Sure. And I understand there are a                    22 there. One of the other things we could also do is we
    23 variety of purposes or a variety of reasons for why DEA             23 could have an employee that diverts product.
    24 met with Mallinckrodt, but with respect to diversion of             24      Q.    And could diversion lead to abuse of a

                                                                 Page 43                                                           Page 45
     1 Mallinckrodt opioids, is it your testimony today that                1 product?
     2 Mallinckrodt only met once with DEA regarding diversion            MR. O'CONNOR: Objection to form.
                                                                            2
     3 of Mallinckrodt opioids?                                        A. It could.
                                                                            3
     4       A. During which time frame again? I'm sorry.       4 BY MR. KO:
     5       Q. At any time.                                    5      Q. And would you agree that diversion of an
     6       A. No.                                             6 opioid product could also lead to its misuse?
     7       Q. So in addition to the August 2011 meeting       7      A. Could.
     8 between Mallinckrodt and DEA, there were additional      8      Q. Is it fair to say that Mallinckrodt was
     9 meetings, were there not, where diversion of             9 also aware of the Oxy Express?
    10 Mallinckrodt opioids was discussed between Mallinckrodt 10         MR. O'CONNOR: Objection to form.
    11 and DEA; is that fair to say?                           11      A. I'm not aware of Mallinckrodt being aware
    12       A. Yes.                                           12 of the Oxy Express.
    13       Q. And a moment ago I had referred to oxy 15s     13 BY MR. KO:
    14 and oxy 30s. It's your understanding that Mallinckrodt  14      Q. During both the August 2011 meetings and
    15 manufactured generic oxycodone in the 15-milligram      15 other meetings, did DEA ever inform or discuss the Oxy
    16 strength; is that accurate?                             16 Express with Mallinckrodt?
    17       A. Yes.                                           17         MR. O'CONNOR: Objection to form.
    18       Q. And in addition, Mallinckrodt also             18      A. Not that I'm aware of.
    19 manufactured oxycodone 30?                              19 BY MR. KO:
    20       A. Yes.                                           20      Q. And in your review of documents today in
    21       Q. And for purposes of the deposition today,      21 preparation for this deposition as selected by counsel,
    22 is it okay if I refer to those as oxy 15s and oxy 30s?  22 did you see any references to the Oxy Express?
    23       A. Yes.                                           23      A. I did not.
    24       Q. During the August 2011 meeting, one of         24      Q. Do you have an understanding of what the

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     1 Oxy Express is?                                           1      A. That's my understanding.
     2         MR. O'CONNOR: Objection. To the -- I'm            2      Q. And with respect to -- I know we had just
     3 assuming, counsel, you are asking him in his capacity     3 discussed the individuals that were part of the SOM
     4 as an employee of Mallinckrodt did he learn about that    4 team. How many full-time employees are part of the SOM
     5 term. Otherwise, there's Touhy implications.              5 team right now?
     6         So you can answer to the extent that it's         6      A. Approximately nine.
     7 based on Mallinckrodt knowledge.                          7      Q. And has that changed over time?
     8      A. No.                                               8      A. It's grown.
     9 BY MR. KO:                                                9      Q. And when -- when was the SOM team first
    10      Q. You don't have any understanding of what         10 created?
    11 the Oxy Express is?                                      11      A. I don't know the answer to that.
    12         MR. O'CONNOR: Same --                            12      Q. We can take a look at some documents
    13 BY MR. KO:                                               13 later, but does it refresh your recollection at all if
    14      Q. And I know that you keep looking at              14 I say that the SOM -- it's my understanding the SOM
    15 counsel, but I'd ask that unless he actually lodges his  15 team was created in 2008.
    16 objection clearly on the record and instructs you not    16          Is that consistent with your
    17 to answer that you refrain from looking at him every     17 understanding, or are we going to need to look at some
    18 time that I ask you a question.                          18 more documents to establish that?
    19      A. I'm not looking at him every time you ask        19          MR. O'CONNOR: Objection to form.
    20 me a question, but I've got legal implications when you 20       A. I don't have an understanding of exactly
    21 ask me this question, so I just want to make sure that   21 when it started.
    22 I'm not overstepping my legal bounds for my              22 BY MR. KO:
    23 responsibility to my former employer.                    23      Q. Do you have a general understanding of
    24         So I believe I just answered your question       24 whether or not it started before 2008 or after 2008?

                                                        Page 47                                                       Page 49
     1 when it came to Mallinckrodt.                                 1 A. I do not.
     2           MR. O'CONNOR: I'm going to make the same 2            Q. And as we discussed before with respect to
     3 objection clearly and on the record.                     3 the topics that are outlined in that notice, one of the
     4 BY MR. KO:                                               4 topics includes Mallinckrodt's suspicious order
     5      Q. So you -- have you seen any documents at         5 monitoring system; is that accurate?
     6 all that -- Mallinckrodt documents that reference the    6      A. Yes.
     7 Oxy Express?                                             7      Q. And you were -- you're prepared to testify
     8      A. I have not.                                      8 on behalf of the company on all things related to
     9      Q. And have you had any discussions with            9 suspicious order monitoring; is that fair?
    10 anyone regarding -- outside the presence of your        10      A. Yes.
    11 counsel regarding the Oxy Express?                      11      Q. And your testimony is that you don't
    12      A. No.                                             12 know -- today you don't -- sitting here, you don't know
    13      Q. So turning back to the DEA compliance           13 when the SOM team began?
    14 group, as it stands today, approximately how many       14      A. That's correct. I cannot recall.
    15 full-time employees are part of the DEA compliance      15      Q. Is it -- going back to the DEA compliance
    16 group?                                                  16 group, I know you had talked about certain things that
    17      A. Six or seven is my estimate.                    17 they were responsible for, but you couldn't recall
    18      Q. And do you have an understanding of how         18 everything.
    19 that has changed over time, if at all?                  19          Is it fair to say that the DEA compliance
    20      A. I don't think it's changed much over time.      20 group is responsible for any DEA reporting requirement?
    21      Q. So as far as you know, as far as the DEA        21          MR. O'CONNOR: Objection to form.
    22 compliance group has been in existence, approximately 22        A. Yes.
    23 six to seven full-time employees have been part of that 23 BY MR. KO:
    24 group? Is that accurate?                                24      Q. And those would include any year-end ARCOS

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     1 reports that Mallinckrodt has to submit to DEA; is that           1 Act. Do you recall that?
     2 accurate?                                                         2      A.    Yes.
     3           MR. O'CONNOR: Objection to form.                        3      Q.    Now, in addition to the statute --
     4      A.    Yes.                                                   4 obviously it's complex and has many layers to it.
     5 BY MR. KO:                                                        5           With respect to suspicious order
     6      Q.    And it would also be accurate to say that              6 monitoring in particular, is it accurate to say that
     7 the -- well, strike that.                                         7 Mallinckrodt received certain letters in the 2006 and
     8           The SOM team, you have testified, is                    8 2007 time period regarding its obligations under the
     9 independent from the DEA compliance group. So I want              9 CSA and in particular its obligations to design and
    10 to get an understanding of whether or not the DEA                10 implement the suspicious order monitoring system?
    11 compliance group has any involvement in SOM whatsoever 11                     MR. O'CONNOR: Objection to form.
    12 or if the SOM team runs completely independent of DEA            12      A.    We received a DEA letter 2007 -- 2007.
    13 compliance.                                                      13 The 2006 letter -- I don't believe we received a copy
    14           MR. O'CONNOR: Objection to form.                       14 of that until later, in 2007 or 2008.
    15 BY MR. KO:                                                       15 BY MR. KO:
    16      Q.    So there wasn't a question there, so I'll             16      Q.    Okay. I'm going to go ahead and hand you
    17 just ask the question.                                           17 a copy of what's been marked as Gillies Exhibit 2.
    18           Does the DEA compliance group have any                 18           [Exhibit Mallinckrodt-Gillies-002
    19 responsibility over the SOM team?                                19           marked for identification.]
    20      A.    There are DEA compliance members on the               20      Q.    And for the record, Gillies Exhibit 2 is
    21 SOM team.                                                        21 MNK-T1_000273575. And then I'm also going to hand you
    22      Q.    And which individuals are those?                      22 a copy of what's going to be marked as Gillies Exhibit
    23      A.    Karen Harper, Eileen Spaulding, and                   23 3.
    24 Michelle -- and I can't recall her last name.                    24           [Exhibit Mallinckrodt-Gillies-003

                                                       Page 51                                                                    Page 53
     1      Q. Are those the only three individuals that                 1          marked for identification.]
     2 are both part of DEA compliance and the SOM team?                 2      Q. And for the record, that ends in Bates
     3      A. That's my understanding.                                  3 270069.
     4      Q. And going back to the DEA compliance                      4          And let's start with the second exhibit --
     5 group, in addition to quota requests and communications           5 or excuse me -- Gillies Exhibit 2.
     6 with DEA regarding Mallinckrodt's quota, is it also               6      A. Okay.
     7 accurate to say the DEA compliance group has                      7      Q. And I see that there's a cover letter, and
     8 responsibility coordinating any audits done by DEA of             8 we can talk about that in a moment, but this is -- the
     9 Mallinckrodt facilities?                                          9 letter that you see attached to this e-mail is a
    10      A. Yes.                                                     10 September 27th, 2006, letter from the DEA; is that
    11         MR. O'CONNOR: Objection to form.                         11 accurate?
    12 BY MR. KO:                                                       12      A. Yes.
    13      Q. Is it also accurate to say that the DEA                  13      Q. And this -- it's signed by Joe Rannazzisi?
    14 compliance group is responsible for tracking                     14      A. Yes.
    15 Mallinckrodt's internal consumption of their quota               15      Q. By the way, did you know Joe Rannazzisi
    16 request?                                                         16 prior to the time that you joined Mallinckrodt?
    17         MR. O'CONNOR: Objection --                               17      A. No.
    18 BY MR. KO:                                                       18      Q. Do you know him now?
    19      Q. Or of the annual quota allocation?                       19      A. I know who he is.
    20         MR. O'CONNOR: Objection.                                 20      Q. But you don't have a personal relationship
    21      A. Yes.                                                     21 with him?
    22 BY MR. KO:                                                       22      A. I do not.
    23      Q. Earlier we were talking about                            23      Q. And in addition to the letter that you see
    24 Mallinckrodt's duties under the Controlled Substances            24 in -- that's reflected in Exhibit 2, there's another


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     1 letter that's in front of you that's marked as Gillies       1      A. I'm familiar with Eldon's name, but not
     2 Exhibit 3 that's dated December 27th, 2007; is that          2 Todd.
     3 correct?                                                     3      Q. And who is Eldon Henson, and what was his
     4      A. Yes.                                                 4 role at Mallinckrodt?
     5      Q. And are these the two letters that we just           5      A. I'm sorry. I don't know what his role
     6 discussed a moment ago that Mallinckrodt received            6 was.
     7 regarding its duties under the CSA?                          7      Q. Okay. Fair enough. And there are also
     8          MR. O'CONNOR: Objection to form.                    8 references, if you look on Pages 2 and 3 of this
     9      A. Yes.                                                 9 e-mail, to Vince Kaiman and Tim Wright.
    10 BY MR. KO:                                                  10          Do you know who those individuals are?
    11      Q. And throughout today we might be referring          11      A. I do not.
    12 to these letters. Is it okay if we refer to these as        12      Q. Now, if you look at the second page of
    13 the Rannazzisi letters?                                     13 this e-mail. Sorry, just stick on that exhibit.
    14      A. Yes.                                                14      A. This one? Okay.
    15      Q. Okay, great. So turning back to -- I'm              15      Q. Yeah. Thank you. So the second page of
    16 sorry to jump around, but turning back to Gillies           16 that e-mail -- I'm about two-thirds of the way down --
    17 Exhibit 2, I just want to make sure I understand your       17 there is an e-mail from Dirk Stevens to Eldon Hanson.
    18 testimony a moment ago.                                     18 Do you see that?
    19          You said that you don't believe that               19      A. Yes.
    20 Mallinckrodt received this letter immediately after it      20      Q. From December 13th?
    21 was dated September 27th, 2006. Is that correct?            21      A. Yes.
    22      A. That's correct.                                     22      Q. 10:45? And again, Eldon Hanson was a
    23      Q. And your testimony is that Mallinckrodt             23 Mallinckrodt employee; is that correct?
    24 received it at some point in time in 2007 or 2008?          24      A. Yes.

                                                         Page 55                                                                Page 57
     1      A. Correct.                                             1         Q.    And in that e-mail, he is being asked by
     2      Q. And I just want to clarify for the record.           2 Dirk Stevens, quote, do you have a diversion policy.
     3 If you look at the cover e-mail, you see Ms. Harper          3 Do you see that?
     4 sending this letter around. Is that accurate?                4         A.    Yes.
     5           MR. O'CONNOR: Objection to form.                   5         Q.    What is your understanding -- well, strike
     6      A. So this is from Karen, and the attachment            6 that.
     7 says DEA letter September 27th, 2006.                        7              With respect to Mallinckrodt's obligations
     8 BY MR. KO:                                                   8 under the CSA, and in particular its obligations to
     9      Q. So I just want to clarify for the record.            9 design and implement an SOM program, when did
    10 I want to make sure that it's clear.                        10 Mallinckrodt first memorialize in writing a policy with
    11           Is it accurate to say that Mallinckrodt           11 respect to these obligations?
    12 received or individuals at Mallinckrodt received this       12              MR. O'CONNOR: Object to form.
    13 letter in 2007?                                             13         A.    So Mallinckrodt always had an SOM program,
    14      A. The date of this is December 13th, 2007.            14 but I do not know the date of any formal document.
    15      Q. So yes or no? Is it accurate to say that            15 BY MR. KO:
    16 Mallinckrodt received the September 27th, 2006,             16         Q.    When you say that Mallinckrodt always had
    17 Rannazzisi letter at some point in 2007?                    17 an SOM program, can you -- do you have an understanding
    18      A. Yes.                                                18 of when it first began?
    19      Q. And by the way, there are some individuals          19         A.    I do not.
    20 that are referenced in this letter at Mallinckrodt,         20         Q.    And do you have -- I assume I know the
    21 including individuals by the name of Eldon Hanson and       21 answer to this, but when Mallinckrodt first implemented
    22 Todd Forthaus. Do you see that?                             22 an SOM program, do you know if there was any policy
    23      A. Yes.                                                23 memorialized in writing regarding that program at that
    24      Q. Do you know who they are?                           24 time?


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     1      A. I do not.                                              1 Mallinckrodt?
     2      Q. And turning to the top of the first page,              2      A. No.
     3 the Karen Harper e-mail to Bill Ratliff. There's an            3      Q. Do you know whether or not -- I -- well,
     4 occasion -- do you see -- about three lines down where         4 strike that.
     5 she indicates that, quote, she was forwarded policy E-9        5          Turning to this letter, there are a series
     6 for St. Louis and A-14 for WGTC regarding the same.            6 of statements being made with respect to a registrant's
     7      A. Okay.                                                  7 duties around the CSA. Is that accurate?
     8      Q. And for ease of reference, you can see                 8      A. Yes.
     9 the --                                                         9      Q. And in the second paragraph, there is a
    10      A. Okay.                                                 10 statement made by DEA that, quote, in addition to and
    11      Q. Obviously the exhibit is in front of you,             11 not in lieu of the general requirement under 21 U.S.C.
    12 but if you'd like to look at the big screen, it's there       12 823 that manufacturers and distributors maintain
    13 behind me as well.                                            13 effective controls against diversion, DEA regulations
    14          Do you have any understanding of what the            14 require all manufacturers and distributors to report
    15 security policy E-9 is?                                       15 suspicious orders of controlled substances, Title 21
    16      A. I do not.                                             16 CFR, 1301.74B.
    17      Q. Or do you have any understanding of what              17          Did I read that portion correctly?
    18 the A-14 for WGTC is?                                         18      A. That's what this letter states.
    19      A. I do not.                                             19      Q. And so is it accurate to say that
    20      Q. Is there any indication in that e-mail                20 Mallinckrodt knew that the obligation to report
    21 that Karen Harper is actually providing anyone with the       21 suspicious orders of controlled substances was an
    22 diversion policy requested in the previous e-mail we          22 additional requirement under the CSA as required by the
    23 looked at?                                                    23 CFRs?
    24      A. Could you say that again?                             24          MR. O'CONNOR: Objection to form.

                                                         Page 59                                                       Page 61
     1      Q. Let me ask it a different way. Do you          1      A. Yes.
     2 have any understanding whether Mallinckrodt as of      2 BY MR. KO:
     3 December 2007 had a written SOM policy?                3      Q. And moving on to the second part of that
     4      A. I'm unaware whether they did or did not.       4 sentence. The letter continues, quote -- well, strike
     5      Q. You can set that aside and look at Gillies     5 that.
     6 Exhibit 3.                                             6          The letter indicates that DEA regulations,
     7          And so this is the second Rannazzisi          7 quote,  require that a registrant design and operate a
     8 letter that Mallinckrodt received from DEA; is that    8 system to disclose to the registrant suspicious orders
     9 correct?                                               9 of controlled substances, end quote.
    10      A. Yes.                                          10          Did I read that correct -- portion of the
    11      Q. And there's a received stamp that             11 paragraph correctly?
    12 indicates that Mallinckrodt in fact received this at  12      A. Yes.
    13 least no later than January 4th, 2008. Is that        13      Q. And so in addition to the duty to maintain
    14 accurate?                                             14 effective controls against diversion, Mallinckrodt knew
    15      A. Yes.                                          15 that it had to design and operate a system to disclose
    16      Q. And this particular letter is specifically    16 to the registrant suspicious orders of controlled
    17 addressed to Mallinckrodt Hobart facility?            17 substances; is that accurate?
    18      A. Yes.                                          18      A. Yes.
    19      Q. And so the record is clear, there's no        19      Q. And moving on to the next sentence, it
    20 dispute that Mallinckrodt received this letter;       20 indicates that the regulation -- let me be clear.
    21 correct?                                              21          The next statement states, quote, the
    22      A. Correct.                                      22 regulation  clearly indicates that it is the sole
    23      Q. By the way, do you have an understanding 23 responsibility of the registrant to design and operate
    24 of who these Rannazzisi letters were circulated to at 24 such a system, end quote.


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     1          Did I read that correctly?                            1 prior to completing a sale to determine whether the
     2      A. Yes.                                                   2 controlled substances are likely to be diverted from
     3      Q. And so is it fair to say that Mallinckrodt             3 legitimate channels.
     4 knew as of the date of receiving this letter that the          4          Did I read that correctly?
     5 DEA expected the sole responsibility to design and             5      A. Yes.
     6 operate an SOM system to lie with the registrant -- in         6      Q. So again, is it fair to say that the DEA
     7 this case, Mallinckrodt?                                       7 expectation as of the date of this letter was that --
     8          MR. O'CONNOR: Objection to form.                      8 and Mallinckrodt in fact understood that their
     9 BY MR. KO:                                                     9 responsibilities do not end with merely filing a
    10      Q. Is that correct?                                      10 suspicious order report? Is that accurate?
    11      A. Yes.                                                  11          MR. O'CONNOR: Objection to form.
    12      Q. Now, moving on to the third paragraph.                12      A. Yes.
    13 The second sentence indicates, quote, filing a monthly        13 BY MR. KO:
    14 report of completed transactions, for example,                14      Q. In other words, Mallinckrodt must, as of
    15 excessive purchase report or high unit purchases, does        15 the date of this letter, conduct an independent
    16 not meet the regulatory requirement to report                 16 analysis of suspicious orders prior to completing a
    17 suspicious orders, end quote.                                 17 sale determine -- to determine whether the controlled
    18          Did I read that correctly?                           18 substances are likely to be diverted. Is that
    19      A. That's what it says.                                  19 accurate?
    20      Q. So is it fair to say that Mallinckrodt                20          MR. O'CONNOR: Objection.
    21 understood that simply filing a monthly excessive order       21      A. Yes.
    22 report would not meet the regulatory requirements under       22 BY MR. KO:
    23 the CSA?                                                      23      Q. So as of the date of this letter, it would
    24          MR. O'CONNOR: Objection to form.                     24 be accurate to say that if Mallinckrodt released an

                                                         Page 63                                                          Page 65
     1      A. When this letter received, that was the                1 order prior to completing a sale and without doing any
     2 industry standard prior.                                       2 sort of independent analysis would not be consistent
     3 BY MR. KO:                                                     3 with the standard set forth in this letter?
     4      Q. And I understand, but my question was just             4          MR. O'CONNOR: Objection to form.
     5 simply a yes-or-no question.                                   5      A. I'm sorry. Could you state that one more
     6           Is it fair to say that Mallinckrodt                  6 time?
     7 understood that simply filing a monthly excessive order        7 BY MR. KO:
     8 report would not meet the regulatory requirements under        8      Q. Sure. Would it be accurate to say that if
     9 the CSA as of the date of this letter?                         9 Mallinckrodt released an order prior to completing a
    10           MR. O'CONNOR: Objection to form.                    10 sale and without doing any sort of independent
    11      A. Yes.                                                  11 analysis, that would not be consistent with the
    12 BY MR. KO:                                                    12 standard set forth in this letter?
    13      Q. So if Mallinckrodt was sending monthly                13      A. No.
    14 reports to DEA after January 4th, 2008, that would not        14          MR. O'CONNOR: Same objection.
    15 be consistent with the standard set forth in this             15 BY MR. KO:
    16 letter; is that accurate?                                     16      Q. It would not be accurate to say that?
    17           MR. O'CONNOR: Objection to form.                    17      A. Correct.
    18      A. Yes.                                                  18      Q. And why is that?
    19 BY MR. KO:                                                    19      A. This is referring to suspicious orders.
    20      Q. Going on to the next sentence, the letter             20      Q. I see. I see what you're saying. Let me
    21 indicates, that quote, registrants are reminded that          21 rephrase my question.
    22 their responsibility does not end merely with the             22          So would it be accurate to say -- well,
    23 filing of a suspicious order report. Registrants must         23 strike that.
    24 conduct an independent analysis of suspicious orders          24          In the third sentence that we just read,

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     1 the DEA provides guidance, does it not, that                 1 quantities of one particular controlled substance
     2 registrants must conduct an independent analysis of          2 relative to others it orders?
     3 suspicious orders prior to completing a sale?                3          MR. O'CONNOR: Objection to form.
     4      A. Yes.                                                 4      A. So could you further define that?
     5      Q. So are you suggesting that that provision            5 BY MR. KO:
     6 only applies with respect to a suspicious order but not      6      Q. Well, is one purpose -- well, would you
     7 any other order?                                             7 agree with me that a pharmacy that orders 90 percent --
     8      A. Yes, that's what the regulation says.                8 for example, 90 percent of one particular drug relative
     9      Q. And what is your understanding of what               9 to others would warrant further investigation?
    10 constitutes a suspicious order?                             10          MR. O'CONNOR: Objection --
    11      A. So DEA defines it as size, normal                   11      A. So I'm not going to see that as the
    12 pattern -- and there's a third one. Yeah.                   12 manufacturer.
    13      Q. Well, it's actually -- it's later on in             13 BY MR. KO:
    14 this letter, so why don't we actually turn to that          14      Q. What do you mean by that?
    15 portion of this letter.                                     15      A. I'm not selling to pharmacies. We sell to
    16           The fourth paragraph down at the bottom of        16 the distributors and wholesalers who sell to the
    17 this page states the regulation specifically states         17 pharmacies. So I'm not going to see any other product,
    18 that suspicious orders include orders of an unusual         18 and we're only selling the generic controlleds to the
    19 size, orders deviating substantially from a normal          19 distributors and wholesalers.
    20 pattern, and orders of an unusual frequency, end quote.     20      Q. At a certain point in time Mallinckrodt
    21           Did I read that correctly?                        21 became aware and had access to information regarding
    22      A. Yes.                                                22 downstream transactions between its wholesale
    23      Q. So is it your understanding that a                  23 distributor customers and pharmacies and clinics; is
    24 suspicious order, among other things, constitutes those     24 that accurate?

                                                       Page 67                                                        Page 69
     1 elements?                                                    1 A. With pharmacies. Not all pharmacies.
     2      A. Yes.                                            2 Some pharmacies.
     3      Q. And so would it be accurate to say that         3      Q. So yes or no? At a certain point in time,
     4 one purpose of why Mallinckrodt designed and            4 Mallinckrodt became aware and had access to information
     5 implemented a suspicious order monitoring system is to  5 regarding downstream transactions between its wholesale
     6 identify orders of an unusual size?                     6 distributor customers and pharmacy and clinics; is that
     7      A. Yes.                                            7 accurate?
     8      Q. And also to identify orders that deviate        8          MR. O'CONNOR: Objection to form.
     9 substantially from a normal pattern?                    9      A. Could you restate that question or at
    10      A. Yes.                                           10 least just repeat it one more time?
    11      Q. And also Mallinckrodt designed and             11 BY MR. KO:
    12 implemented an SOM program to identify orders of an    12      Q. Sure. At a certain point in time,
    13 unusual frequency?                                     13 Mallinckrodt became aware and had access to information
    14      A. Yes.                                           14 regarding downstream transactions between its wholesale
    15      Q. Would you agree with me that one of the        15 distributor customers and pharmacies and clinics?
    16 purposes of identifying a suspicious order is also to  16          MR. O'CONNOR: Same objection.
    17 make sure that Mallinckrodt fills orders only for      17 BY MR. KO:
    18 legitimate scientific and medical means?               18      Q. Is that accurate?
    19          MR. O'CONNOR: Objection to form.              19      A. For some of them, yes.
    20      A. Yes.                                           20      Q. And I know that you just said a moment ago
    21 BY MR. KO:                                             21 that Mallinckrodt had no visibility beyond -- or I
    22      Q. Now, is it also fair to say that an            22 don't -- I'm not trying to take words out of your
    23 effective SOM program would also be able to identify   23 mouth, but you seemed to imply that Mallinckrodt did
    24 whether a pharmacy or clinic is ordering excessive     24 not know what was going on with respect to its drugs


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     1 after it went to the distributor.                                1 that's going to depend on what my answer is.
     2           That's not entirely accurate; is that                  2 BY MR. KO:
     3 correct?                                                         3      Q. Okay. Let's start with the manufacturers.
     4           MR. O'CONNOR: Objection to form.                       4      A. No.
     5       A. That wasn't your question, so that was not              5      Q. Your answer is no?
     6 my response. That's a completely different thing that            6      A. Yes.
     7 you're asking me now.                                            7      Q. Let's turn to the top of Page 2.
     8 BY MR. KO:                                                       8          Actually, before we get there, I also want
     9       Q. Okay. So I'll go back to my original                    9 to ask whether or not you would agree with me that an
    10 question, then.                                                 10 effective SOM program would also be able to identify
    11       A. Okay.                                                  11 whether or not a pharmacy or clinic is ordering from
    12       Q. Wouldn't it be reflective -- well, strike              12 multiple distributors with respect to the same
    13 that.                                                           13 controlled substance.
    14           Would you agree with me that an effective             14          MR. O'CONNOR: Objection to form.
    15 suspicious order monitoring program would be able to            15      A. That would be a factor to consider.
    16 identify whether a pharmacy or clinic is ordering               16 BY MR. KO:
    17 excessive quantities of a limited variety of controlled         17      Q. And in addition to a factor to consider,
    18 substances?                                                     18 would it be reflective of an effective SOM program for
    19           MR. O'CONNOR: Objection to form.                      19 a registrant to determine whether or not a pharmacy or
    20       A. I'm not going to see, as the manufacturer,             20 clinic is ordering the same controlled substance from
    21 all the products that they are or are not ordering.             21 multiple distributors?
    22 BY MR. KO:                                                      22          MR. O'CONNOR: Objection to form.
    23       Q. Yeah. Regardless of whether or not you                 23      A. It would be a factor to consider.
    24 can see, and we can talk -- discuss later about all the         24 BY MR. KO:

                                                             Page 71                                               Page 73
     1 pieces of information that a registrant potentially             Q. And I'm asking a yes-or-no question.
                                                                        1
     2 could have had -- any particular manufacturing           2      A. Oh, I'm sorry.
     3 registrant.                                              3      Q. Yeah. Yes or no, would it be reflective
     4          But for purposes of an SOM program -- you       4 of an effective SOM program for a registrant to
     5 have responsibilities with respect to the SOM program    5 determine whether or not a pharmacy or clinic is
     6 today, do you not?                                       6 ordering the same controlled substance from multiple
     7      A. Yes.                                             7 distributors?
     8      Q. And I'm simply asking whether or not you         8          MR. O'CONNOR: Objection to form.
     9 believe -- or you would agree with me that an effective  9      A. Yes.
    10 SOM program would be able to identify, regardless of    10          MR. O'CONNOR: Counsel, we're about an
    11 whether or not you think the manufacturer can or cannot 11 hour and 20 minutes in. Can we take a five- or
    12 identify the details of the downstream transaction --   12 10-minute break?
    13 would you agree that an effective SOM program would be 13           MR. KO: Sure. Sounds good.
    14 able to identify whether a pharmacy or clinic is        14          MR. O'CONNOR: Okay.
    15 ordering excessive quantities of a limited variety of   15          THE VIDEOGRAPHER: We are going off the
    16 controlled substances?                                  16 record at 10:22 AM.
    17          MR. O'CONNOR: Objection to form.               17          [A brief recess was taken.]
    18      A. Are you talking about my SOM program?           18          THE VIDEOGRAPHER: We are back on the
    19 BY MR. KO:                                              19 record at 10:40 AM.
    20      Q. I'm talking about an effective SOM --           20 BY MR. KO:
    21 program.                                                21      Q. Welcome back from the break. Just a few
    22      A. Okay.                                           22 more questions on Exhibit 3. You have it in front of
    23          MR. O'CONNOR: Same objection.                  23 you.
    24      A. Manufacturers or distributors? I mean,          24          At the top of Page 2, there's a statement

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     1 that says, quote, registrants that rely on rigid              1 A. I believe we were manufacturing opioids at
     2 formulas to define whether an order is suspicious may    2 least from 1996.
     3 be failing to detect suspicious orders. For example, a   3 BY MR. KO:
     4 system that identifies orders as suspicious only if the  4      Q. And did Mallinckrodt have an SOM program
     5 total amount of controlled substance ordered during one  5 since when it began manufacturing prescription opioids?
     6 month exceeds the amount ordered the previous month by   6      A. That's my understanding.
     7 a certain percentage or more is insufficient.            7      Q. But you don't have a recollection of
     8          Did I read that correctly?                      8 whether or not there was a written policy at the time
     9      A. Yes.                                             9 that first -- that Mallinckrodt first began
    10      Q. So would you agree with me that                 10 manufacturing prescription opioids; is that accurate?
    11 Mallinckrodt knew as of the date of this letter that    11      A. That's correct.
    12 rigid -- adherence to a rigid formula to define whether 12      Q. Now, with respect to the suspicious order
    13 an order is suspicious would be inadequate?             13 monitoring procedures, is it accurate to state that
    14          MR. O'CONNOR: Objection to form.               14 Mallinckrodt had at certain points a two-tiered system
    15      A. That's what the letter says, yes.               15 to identify suspicious orders?
    16 BY MR. KO:                                              16           MR. O'CONNOR: Objection to form.
    17      Q. So yes or no? Would you agree with me           17      A. Yes.
    18 that Mallinckrodt knew as of the date of this letter    18 BY MR. KO:
    19 that adherence to a rigid formula to identify whether   19      Q. And I understand and I believe that there
    20 an order is suspicious would be inadequate?             20 are three tiers now, but for some portion of when
    21          MR. O'CONNOR: Objection to form. Asked         21 Mallinckrodt had an SOM program, there were two tiers
    22 and answered.                                           22 with respect to identifying a suspicious order; is that
    23      A. Yes.                                            23 correct?
    24 BY MR. KO:                                              24           MR. O'CONNOR: Objection to form.

                                                          Page 75                                                    Page 77
     1       Q. Thank you. Now, we had discussed -- you              1      A. So I believe there's two tiers now.
     2 can set this aside, actually.                                 2 BY MR. KO:
     3       A. Okay.                                                3      Q. Oh, is that -- okay. Was there ever a
     4       Q. Earlier we had discussed whether or not              4 time that there was a three-tier system?
     5 Mallinckrodt had written policies with respect to its         5      A. Yes.
     6 SOM program.                                                  6      Q. And with respect to the two-tiered system,
     7            Do you recall that testimony?                      7 the first tier -- and correct me if I'm wrong -- but
     8       A. Yes.                                                 8 the first tier attempts to identify whether an order is
     9       Q. And I know you said you don't recall when            9 either peculiar or unusual; is that accurate?
    10 it first started, but at a certain point in time there       10           MR. O'CONNOR: Objection to form.
    11 were certain written policies that were drafted and          11      A. The Tier 1 of the program applies to the
    12 revised and circulated within Mallinckrodt; is that          12 big three plus one regarding oxy 15s and oxy 30s.
    13 correct?                                                     13 BY MR. KO:
    14       A. Yes.                                                14      Q. And that's the two-tier structure right
    15       Q. And when do you recall the first written            15 now that you're describing; correct?
    16 policy -- or when did Mallinckrodt first begin writing       16      A. That's correct.
    17 or drafting these written policies?                          17      Q. Let's talk about the 2008 to 2012 time
    18            MR. O'CONNOR: Objection to form.                  18 period.
    19       A. I don't have any recollection of the date.          19      A. Okay.
    20 BY MR. KO:                                                   20      Q. Did you have an understanding of whether
    21       Q. And you understand -- Mallinckrodt -- is            21 or not there were two or three tiers during that time
    22 it accurate to say that Mallinckrodt manufactured            22 period?
    23 opioids beginning in approximately 1996?                     23      A. In --
    24            MR. O'CONNOR: Objection to form.                  24           MR. O'CONNOR: Objection to form.

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     1     A. In early 2012, there was the three-tiered           1      Q. And you have -- in addition to not knowing
     2 system.                                                    2 exactly how many, you don't have any understanding of
     3 BY MR. KO:                                                 3 the general amount of suspicious orders that were
     4     Q. And so prior to --                                  4 reported to the DEA prior to 2008?
     5     A. And then September 2012 was a two-tiered            5      A. I don't. I just know that there were
     6 system.                                                    6 suspicious orders reported to the DEA.
     7     Q. Got it. Thank you. And so prior to 2012,            7      Q. From the period 2008 through 2011, do you
     8 was the SOM program -- the intent of the SOM program       8 have any understanding of how many suspicious orders
     9 was to have a two-tiered system?                           9 were reported to the DEA?
    10          MR. O'CONNOR: Objection to form.                 10      A. I do not.
    11     A. I don't know what that intent was.                 11      Q. I'm going to hand you a copy of what will
    12 BY MR. KO:                                                12 be marked as Gillies Exhibit 4 and --
    13     Q. Sure. Well, I was hoping not to go                 13          MS. GAFFNEY: 5.
    14 through each -- well, we will go through some of the      14 BY MR. KO:
    15 SOM policies, but I'm just hoping to get a general        15      Q. -- 5. And for the record I'll note that
    16 understanding of what your -- of the systems that         16 Gillies Exhibit 4 ends in Bates 1806623, and Exhibit 5
    17 Mallinckrodt had in place, but we can look at the         17 is actually the attachment which ends in 1806624.
    18 policies in a moment.                                     18          [Exhibit Mallinckrodt-Gillies-004
    19     A. Okay.                                              19          marked for identification.]
    20     Q. Now, do you have an understanding of how           20          [Exhibit Mallinckrodt-Gillies-005
    21 many orders Mallinckrodt has identified as being          21          marked for identification.]
    22 suspicious?                                               22      Q. So Mr. Gillies, does this document look
    23     A. I do not.                                          23 familiar to you at all?
    24     Q. You have no understanding of how many              24      A. I mean, I don't recall it, but --

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     1 orders Mallinckrodt has notified to the DEA at any         1     Q. Well, let's just take a look at the
     2 point in Mallinckrodt's history as to how many orders    2 first -- well, this -- for the record, this is an
     3 are suspicious?                                          3 e-mail that Karen Harper sends to you on April 25th,
     4      A. I know there has been suspicious orders,         4 2014. Is that accurate?
     5 and I know they've been identified to the DEA.           5       A. Yes.
     6      Q. But you have no understanding of how many        6       Q. And at the top of the e-mail she states,
     7 orders have been identified to the DEA?                  7 quote, 12-31-2003, the oldest SOM report to DEA that
     8      A. I do not.                                        8 was retrievable this evening attached. Given the
     9      Q. As you know, other depo -- other                 9 report number identity, we may be able to retrieve
    10 individuals have been deposed in this case, and Ms.     10 older information through IS, end quote.
    11 Harper has testified that prior to 2008, Mallinckrodt   11           Did I read that correctly?
    12 had identified approximately 10 or less suspicious      12       A. Yes.
    13 orders to the DEA.                                      13       Q. First off, IS is information systems;
    14          Does that sound familiar to you at all?        14 correct?
    15          MR. O'CONNOR: Objection to form.               15       A. Yes.
    16      A. It does not, but --                             16       Q. And that's a group at Mallinckrodt; right?
    17 BY MR. KO:                                              17       A. Yes.
    18      Q. Does it refresh your recollection at all        18       Q. And they were -- they had some
    19 that Mallinckrodt had identified only a small number of 19 responsibilities with respect to the SOM program?
    20 suspicious orders prior to 2008?                        20           MR. O'CONNOR: Objection to form.
    21          MR. O'CONNOR: Objection to form.               21 BY MR. KO:
    22      A. Again, I don't know how many there were         22       Q. Is that accurate?
    23 prior to that time.                                     23       A. I don't know what their role would have
    24 BY MR. KO:                                              24 been. This is our IT department, and so I don't know


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     1 if they were just pulling records for her.                   1 peculiar?
     2      Q. Sure. So that's helpful. So the IS group             2      A. Yes.
     3 referenced here is essentially the IT department at          3      Q. And if that algorithm was triggered, a
     4 Mallinckrodt; correct?                                       4 report was created? Is that accurate?
     5      A. That's correct. Yeah.                                5      A. Yes.
     6      Q. And does the IT department currently have            6      Q. And the reports that are referenced here
     7 a role with respect to retrieving information for            7 in this e-mail that were temporarily discontinued to be
     8 purposes of Mallinckrodt's SOM program?                      8 sent to the DEA, those are those peculiar order
     9      A. Yes.                                                 9 reports; is that accurate?
    10      Q. And they provide regular monthly reports            10      A. That's my understanding.
    11 to the SOM team; is that accurate?                          11      Q. And the e-mail goes on to state that the
    12          MR. O'CONNOR: Objection to form.                   12 SOM team is working on a revised algorithm system, and
    13      A. I don't know how regularly they provide             13 that -- well, first of all, you see that portion of the
    14 that information.                                           14 e-mail?
    15 BY MR. KO:                                                  15      A. Yes.
    16      Q. Now, this document indicates that the               16      Q. And the revised algorithm system is with
    17 earliest SOM report, at least as of 2014, that Ms.          17 respect to the peculiar order algorithm; is that
    18 Harper could find was from 2003. Is that accurate?          18 accurate?
    19      A. That's what it says. And it says we may             19      A. Yes.
    20 be able to retrieve older information through the IT        20      Q. And to be clear, Mallinckrodt
    21 department.                                                 21 distinguished between a peculiar order and a suspicious
    22      Q. And have you seen any suspicious order              22 order; is that accurate?
    23 reports prior to 2003?                                      23      A. Yes.
    24      A. Not that I can recall.                              24      Q. And the basic structure, at least as of

                                                         Page 83                                                        Page 85
     1      Q. Are you aware of any suspicious order                1 the time of this e-mail and as of the time that
     2 reports prior to 2003?                                       2 Mallinckrodt utilized peculiar orders -- the basic
     3      A. No.                                                  3 structure was if an order was determined to be
     4      Q. Now, in the next sentence down, Ms. Harper           4 peculiar, it would be elevated for further review to
     5 indicates to you, quote, 10-2008. SOM report                 5 determine whether or not it was suspicious for purposes
     6 submission to DEA local office is temporarily                6 of notifying the DEA; is that accurate?
     7 discontinued per direction of DEA. SOM team begins           7      A. Correct.
     8 work on revised algorithm system.                            8      Q. And so when this e-mail is discussing --
     9          Did I read that correctly?                          9 when Ms. Harper is discussing with you the fact that
    10      A. Yes.                                                10 these reports are being temporarily discontinued per
    11      Q. And what is your understanding of which             11 the direction of the DEA, what is your understanding of
    12 reports were being discontinued per the direction of        12 what Ms. Harper is referring to here?
    13 the DEA?                                                    13           MR. O'CONNOR: Objection to form.
    14      A. The peculiar order reports.                         14      A. She's referring to the reports that we
    15      Q. And is it accurate to say that those are            15 were sending to the DEA are no longer being sent to the
    16 the monthly reports that -- well, let's take a step         16 DEA per their direction.
    17 back.                                                       17 BY MR. KO:
    18          What are the peculiar order reports that           18      Q. And was -- and I guess I was unclear, and
    19 Mallinckrodt created prior to October of 2008?              19 I apologize for that. The direction of the DEA -- I
    20      A. So they would have been the algorithm               20 want to focus on that portion.
    21 reports to show any orders regarding the unusual size,      21           Is that in reference to the Rannazzisi
    22 pattern, et cetera.                                         22 letters that we were just discussing a moment ago?
    23      Q. So is it fair to say that Mallinckrodt had          23      A. Yes. The December 2007 letter.
    24 an algorithm to determine whether or not an order was       24      Q. Correct. And the portion of that letter

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     1 that discusses the concept of not sending monthly           1   Q. Now, further on in this e-mail, the next
     2 excessive order reports to DEA; correct?                 2 section down, Ms. Harper indicates 7-20-2010, DEA St.
     3      A. That's right. That was the industry              3 Louis visits St. Louis plant for a physical security
     4 standard, and then in that letter they said              4 inspection, and advises Mallinckrodt that DEA SOM
     5 discontinue.                                             5 expectation is that Mallinckrodt know their customer's
     6      Q. And that letter, to be clear, was dated          6 customer.
     7 December 27th and received in January of 2008; correct?  7         Did I read that correctly?
     8      A. That's the date stamp on here, yes.              8      A. Yes.
     9      Q. And this chronology indicates that               9      Q. So is it accurate to say that Mallinckrodt
    10 Mallinckrodt stopped sending the reports in October of  10 knew at least as of July 20th, 2010, that the DEA
    11 2008; correct?                                          11 expected Mallinckrodt to know their customer's
    12      A. That's what this indicates, but that's not      12 customer?
    13 what my recollection is, that we had stopped submitting 13         MR. O'CONNOR: Objection to form.
    14 these reports a lot earlier than this.                  14      A. So it's not part of the regulations, but
    15      Q. So would it be accurate to say that if          15 that's what DEA was advising us now, that they expected
    16 Mallinckrodt sent monthly reports at some point in time 16 us to know our customer's customer.
    17 between January of 2008 and October of 2008, that would 17 BY MR. KO:
    18 be inconsistent with the standard set forth in the      18      Q. So is it accurate to say that as of July
    19 December 27th, 2007, Rannazzisi letter; correct?        19 20th, 2010, Mallinckrodt knew that the DEA expected
    20         MR. O'CONNOR: Objection to form.                20 Mallinckrodt to know their customer's customer?
    21      A. Per the December 2007 letter, the DEA was       21         MR. O'CONNOR: Objection to form.
    22 advising registrants to stop sending those reports.     22      A. That's what the DEA in St. Louis advised
    23 BY MR. KO:                                              23 us.
    24      Q. So would it be accurate to say that if          24 BY MR. KO:

                                                        Page 87                                                        Page 89
     1 Mallinckrodt sent monthly letters to DEA between          1      Q. And further on in that paragraph, there's
     2 January 2008 and October 2008, that practice would be 2 also an indication that Mallinckrodt begins evaluating
     3 inconsistent with the standard set forth in the           3 the use of chargeback data for SOM. Do you see that
     4 December 27th, 2007, Rannazzisi letter; correct?          4 portion of the e-mail?
     5          MR. O'CONNOR: Objection to form.                 5      A. Yes.
     6      A. So to be accurate, those SOM reports. I           6      Q. And so at least as of July 2010,
     7 believe you used the term letter, so I just want to       7 Mallinckrodt -- is it fair to say that Mallinckrodt
     8 make sure that it was -- I don't want to be confused.     8 began contemplating use of chargeback data in
     9          So I think you're talking about the              9 connection with its suspicious order monitoring
    10 reports; correct?                                        10 program?
    11 BY MR. KO:                                               11      A. Yes.
    12      Q. Sure. So --                                      12      Q. And turning to the -- actually, turning to
    13      A. Okay.                                            13 the attachment of the e-mail, which as indicated by Ms.
    14      Q. And you're absolutely right. Thank you           14 Harper's cover e-mail to you was an SOM report. Do you
    15 for the clarification. So just so the record is          15 see that?
    16 perfectly clear, would it be fair to say that if         16      A. Yes.
    17 Mallinckrodt sent monthly reports to the DEA between 17          Q. And so is it fair to say that this is an
    18 January 2008 and October 2008 regarding any kind of 18 example of an SOM report that Mallinckrodt had created
    19 excessive order, that practice would be inconsistent     19 and apparently sent to the DEA in 2003?
    20 with the standard set forth in the December 27th, 2007, 20       A. That's what it appears to be.
    21 Rannazzisi letter; correct?                              21      Q. And do you have any understanding of how
    22          MR. O'CONNOR: Same objection.                   22 Mallinckrodt identified the suspicious orders that
    23      A. Yes.                                             23 appeared here?
    24 BY MR. KO:                                               24      A. Through the use of the algorithms that

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     1 they were utilizing.                                       1      Q. And turning back to your testimony earlier
     2      Q. So it's your testimony that Mallinckrodt           2 just a moment ago, when you were saying the customer
     3 utilized an algorithm as of 2003?                          3 service reps would sometimes review the order.
     4      A. Yes.                                               4          Do you know whether or not that review was
     5      Q. And separate and apart from the algorithm,         5 ever documented in any way?
     6 do you know whether or not Mallinckrodt utilized any       6      A. I do not, but they reviewed every order.
     7 other elements to identify a suspicious order at that      7      Q. And when you say they reviewed every
     8 time?                                                      8 order, are you saying that they reviewed every single
     9          MR. O'CONNOR: Objection to form.                  9 order ever entered into between Mallinckrodt and a
    10 Objection to form.                                        10 wholesaler distributor customer?
    11      A. The -- every order was being reviewed by a        11      A. I'm saying that they reviewed every one of
    12 customer service rep. So in addition to the               12 these orders that had the peculiar order report.
    13 algorithms, every order was reviewed by customer          13      Q. I see. So outside of the peculiar order
    14 service.                                                  14 algorithm system, was there a separate system or
    15 BY MR. KO:                                                15 protocol for a customer service rep to identify an
    16      Q. And how do you know that? Is that what            16 order as being potentially peculiar?
    17 you were told by counsel?                                 17          MR. O'CONNOR: Objection to form.
    18          MR. O'CONNOR: Objection. Instruct you            18      A. Not that I'm aware of.
    19 not to answer what we discussed.                          19 BY MR. KO:
    20 BY MR. KO:                                                20      Q. So in other words, the customer service
    21      Q. Earlier you said --                               21 rep or individual that would review an order is doing
    22          MR. O'CONNOR: (Inaudible) privilege.             22 so only after it is identified as peculiar by a certain
    23 BY MR. KO:                                                23 algorithm; is that accurate?
    24      Q. Earlier you said that you did not recall          24          MR. O'CONNOR: Objection to form.

                                                      Page 91                                                     Page 93
     1 ever seeing an SOM program prior to a certain time         1  A. That's my understanding.
     2 period. Is that accurate?                               2 BY MR. KO:
     3          MR. O'CONNOR: Objection. Form.                 3     Q. And so earlier we had talked about a
     4     A. I didn't recall seeing -- I believe the          4 multitiered structure or a two-tiered structure, and we
     5 question was a written report, so I didn't recall       5 had identified or we had discussed the concept of first
     6 seeing a written report.                                6 an order being triggered pursuant to an algorithm and
     7 BY MR. KO:                                              7 then subsequently being identified as peculiar.
     8     Q. So if you've never seen a written report,        8          Do you recall that discussion?
     9 how did you gain an understanding of what the SOM       9     A. Yes.
    10 program was like prior to when Mallinckrodt ever had a 10     Q. And after that review, then an order
    11 written report?                                        11 was -- or excuse me.
    12     A. So I was advised by another employee.           12          After that report was created, the order
    13     Q. And which employee?                             13 would then be analyzed to determine whether or not it
    14     A. Karen Harper.                                   14 was suspicious; right?
    15     Q. And when did she advise you of that?            15     A. Correct.
    16     A. January of this year.                           16     Q. And I'm just trying to get an
    17     Q. So prior to January of 2019, did you ever       17 understanding of when the customer service rep would
    18 have an understanding of what the SOM program was like 18 review the order, and it would be after the order was
    19 prior to when Mallinckrodt had a written report -- or  19 identified as peculiar; correct?
    20 written policy? Excuse me.                             20     A. That's my understanding.
    21          MR. O'CONNOR: Objection. Form.                21     Q. And they would not review -- just so the
    22     A. Outside of what she might have discussed        22 record is clear, they would not review every order
    23 with me in this e-mail, no.                            23 prior to any identification of the order being
    24 BY MR. KO:                                             24 peculiar; is that correct?


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     1          MR. O'CONNOR: Objection to form.                    1          MR. O'CONNOR: Objection.
     2      A. Correct.                                             2 BY MR. KO:
     3 BY MR. KO:                                                   3      Q. So again, as of April 2014, Eileen, a
     4      Q. And so going -- just looking back at this            4 member of the SOM team, is identifying to Karen, also a
     5 document, the orders that appear here -- it's your           5 member of the SOM team, that the earliest SOM report
     6 testimony that it's your belief these orders were            6 that Mallinckrodt has access to is as of 2003; is that
     7 identified pursuant to whatever algorithm was in place       7 accurate?
     8 as of 2003; correct?                                         8          MR. O'CONNOR: Objection to form.
     9      A. That's my understanding.                             9      A. I'm sorry. Could you restate that one
    10      Q. And these orders then would not have been           10 more time?
    11 identified through any other process other than the         11 BY MR. KO:
    12 peculiar order algorithm that was in place; correct?        12      Q. Sure. As of April 2014, Eileen, a member
    13      A. Not that I'm aware of.                              13 of the SOM team, is identifying to Karen, also a member
    14      Q. You can set that aside. I'm going to hand           14 of the SOM team, that the earliest SOM report that
    15 you a copy of what's going to be marked as Gillies          15 Mallinckrodt had access to is as of 2003. Is that
    16 Exhibit --                                                  16 accurate?
    17          MS. GAFFNEY: 6.                                    17          MR. O'CONNOR: Same objection.
    18 BY MR. KO:                                                  18      A. She's saying the attached report is from
    19      Q. -- 6. And for the record, this is --                19 there.
    20 ends in Bates 7026341.                                      20 BY MR. KO:
    21          [Exhibit Mallinckrodt-Gillies-006                  21      Q. Is there any reference to a SOM report
    22          marked for identification.]                        22 prior to 2003?
    23      Q. And this is a letter from Eileen Spaulding          23      A. Not in this e-mail, no.
    24 to Karen Harper dated April 24th, 2014, and you said        24      Q. And Ms. Spaulding also indicates that

                                                         Page 95                                                       Page 97
     1 earlier that Eileen is a member of the SOM team; is          1 there -- she does recall having an SOM system in place
     2 that correct?                                                2 starting in 2001. Is that accurate?
     3      A.   She is.                                            3 A. Yes.
     4      Q. And she's also a member of the DEA              4      Q. And do you have any reason to dispute the
     5 compliance group?                                       5 veracity of this e-mail?
     6      A. She is.                                         6      A. No.
     7      Q. And similarly, Karen Harper is also a           7         MR. O'CONNOR: Objection to form.
     8 member of the DEA compliance group and the SOM team?    8 BY MR. KO:
     9      A. Yes.                                            9      Q. Have you seen any documents that suggest
    10      Q. And Eileen indicates to Karen that, quote,     10 an SOM system in place prior to 2001?
    11 I can recall having a suspicious order monitoring      11      A. Not that I can recall.
    12 system in place of some type with the start of         12      Q. Have you seen any documents that indicate
    13 distribution activities from Hobart 2001, end quote.   13 an SOM report prior to 2003?
    14          Did I read that correctly?                    14      A. Not that I can recall.
    15      A. Yes.                                           15      Q. You can set that aside. Now, is it
    16      Q. So -- and let me continue. However, the        16 accurate to state that Mallinckrodt made substantial
    17 attached is the earliest SOM report that I have in my  17 changes to its SOM policy between the 2008 to 2011 time
    18 e-mail system. At this time the reports were being     18 period?
    19 generated monthly. The attached report is for December 19         MR. O'CONNOR: Objection to form.
    20 2013 orders that were reviewed.                        20      A. We were always looking to enhance the
    21          And I believe she means to reference          21 program.
    22 December 2003, but we can go over that later. But did  22 BY MR. KO:
    23 I read that portion of the e-mail correctly?           23      Q. So is it accurate to state that during
    24      A. Yes.                                           24 the 2008 through 2011 time period, Mallinckrodt made


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     1 substantial revisions to its SOM program?                1document, this indicates, does it not, that the
     2          MR. O'CONNOR: Objection to form.               2 suspicious order monitoring team start date was March
     3      A. So there were changes made.                     3 28th, 2008?
     4 BY MR. KO:                                              4      A. That's what contained on that line, but
     5      Q. And would you agree with me that there          5 later it says it's an upgrade to Mallinckrodt's
     6 were substantial changes?                               6 existing SOM program, so if there's an existing SOM
     7          MR. O'CONNOR: Objection to form.               7 program, then there's got to be team members that are
     8      A. I don't know that I would characterize it       8 working on that program.
     9 as substantial.                                         9      Q. Well, I understand the difference
    10 BY MR. KO:                                             10 between -- well, I understand your point about a
    11      Q. How would you characterize it?                 11 program, but the fact that there is a program in place,
    12      A. That there were changes made to the SOM        12 does that necessarily mean that there was a team in
    13 program with the more experience that they had and the 13 place as well?
    14 more information they got.                             14      A. Yes.
    15      Q. And the changes were made with the intent      15      Q. And have you seen any documents predating
    16 to improve and enhance the system, as you said;        16 March 28th, 2008, that reflect an official team to the
    17 correct?                                               17 suspicious order monitoring system that Mallinckrodt
    18      A. Yeah, to enhance the system. Correct.          18 had?
    19      Q. I'm going to hand you a copy of what's         19           MR. O'CONNOR: Objection to form.
    20 going to be marked as Gillies Exhibit 7.               20      A. So there were team members.
    21          [Exhibit Mallinckrodt-Gillies-007             21 BY MR. KO:
    22          marked for identification.]                   22      Q. So is it your testimony today that were
    23      Q. And for the record, this is a document         23 team members of the suspicious order monitoring team
    24 titled suspicious order monitoring team charter, with  24 prior to March 2008?

                                                     Page 99                                                   Page 101
     1 Bates ending in 496062.                                  1     A. Yes.
     2          So I know earlier we had discussed whether     2      Q. And who were they?
     3 or not you were aware of when Mallinckrodt first began  3      A. I don't know the names of who was
     4 its SOM team.                                           4 involved, but we had an algorithm system. We had the
     5          Does this document accurately reflect that     5 customer service reps. Karen Harper. DEA compliance
     6 the SOM team began on March 28th of 2008?               6 was part of that SOM team.
     7          MR. O'CONNOR: Objection to form.               7      Q. And how do you know that there was --
     8      A. I'm sorry. Could you repeat the question?       8 well, first of all, we've established that you haven't
     9 I'm finished reading this document now.                 9 seen any documents that reflect an SOM team prior to
    10 BY MR. KO:                                             10 March 2008; is that accurate?
    11      Q. Sure. Does this document accurately            11          MR. O'CONNOR: Objection to form.
    12 reflect that the SOM team began on March 28th, 2008? 12        A. A document that lists team members?
    13          MR. O'CONNOR: Objection to form.              13 Correct.
    14      A. No.                                            14 BY MR. KO:
    15 BY MR. KO:                                             15      Q. And so how do you have knowledge regarding
    16      Q. Have you -- at the very beginning of this      16 the composition of an SOM team prior to March of 2008?
    17 document -- first of all, it's titled suspicious order 17      A. Because there was an SOM program.
    18 monitoring team charter; is that accurate?             18      Q. Other than -- and you learned that there
    19      A. Yes.                                           19 was an SOM program through your conversations with
    20      Q. Do you recall -- is there a team charter       20 Karen Harper; is that accurate?
    21 in place currently for the SOM team?                   21      A. Yes.
    22      A. I don't know that there -- the procedure       22      Q. And you have not seen any documents
    23 is called a charter or anything, so --                 23 reflecting an actual SOM program prior to 2008; is that
    24      Q. And with respect to this particular            24 accurate?


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     1          MR. O'CONNOR: Objection to form.                     1 referring to this team as outlined in this charter?
     2      A. No.                                                   2       A. Yeah, I believe that was your earlier
     3 BY MR. KO:                                                    3 question, to clarify that we had a team previous to
     4      Q. You have seen documents reflecting an SOM             4 this based on the SOM program. So from this team.
     5 program prior to 2008?                                        5       Q. Separate and apart from this document --
     6      A. I mean, you just showed me a document that            6 let's pretend that the document doesn't exist -- how
     7 had a peculiar order report, and this came from the SOM       7 long was Ms. Harper the team leader of the suspicious
     8 program.                                                      8 order monitoring program team at Mallinckrodt?
     9      Q. And separate and apart from whether or not            9           MR. O'CONNOR: Objection to form.
    10 there was an SOM report, did you review or have any          10       A. So I don't know all the dates. I'm sorry.
    11 understanding in the documents you reviewed in               11 BY MR. KO:
    12 connection with this deposition of the team members          12       Q. Do you know -- do you have any
    13 that were part of that SOM program?                          13 understanding of whether or not she was the team leader
    14      A. No.                                                  14 prior to 2008?
    15      Q. And do you have an understanding of                  15           MR. O'CONNOR: Objection to form.
    16 whether or not there was any written policy governing        16       A. Yes.
    17 the SOM program prior to 2008 at Mallinckrodt?               17 BY MR. KO:
    18          MR. O'CONNOR: Objection to form.                    18       Q. And how did you gain that understanding?
    19      A. No.                                                  19       A. From Karen.
    20 BY MR. KO:                                                   20       Q. And did she tell you how long she was the
    21      Q. So at least we can agree, for purposes of            21 team leader prior to 2008?
    22 this document, it indicates that the team's start date       22       A. She did not.
    23 for this particular suspicious order monitoring team is      23       Q. And how about after 2011? Did you have
    24 as of March 2008; is that accurate?                          24 any conversations with her about how long she was a

                                                       Page 103                                                              Page 105
     1      A. For this particular team, yes.                        1 team leader of the SOM team after 2011?
     2      Q. And the team leader is Karen Harper; is               2      A. I did not.
     3 that accurate?                                                3      Q. Who is the team leader currently of the --
     4      A. That's what this document says.                       4 of Mallinckrodt's SOM program?
     5      Q. And is it your -- has Karen Harper always             5          MR. O'CONNOR: Objection to form.
     6 been the team leader of the suspicious order monitoring       6      A. Don Lohman.
     7 team at Mallinckrodt?                                         7 BY MR. KO:
     8         MR. O'CONNOR: Objection to form.                      8      Q. And how long has he been the team leader?
     9      A. No.                                                   9      A. Since sometime in 2011.
    10 BY MR. KO:                                                   10      Q. And was Ms. Harper -- did she continue to
    11      Q. And during what periods of time was she              11 be a member of the SOM team after 2011?
    12 the team leader of the SOM team?                             12      A. Yes.
    13      A. So on this team, from that date until 2011           13      Q. And you can actually set that document
    14 time frame.                                                  14 aside. I'm going to hand you a copy of what will be
    15      Q. So the record is clear, your testimony is            15 marked as Gillies Exhibit 8.
    16 that Karen Harper was the team leader of the SOM             16          MS. GAFFNEY: 8.
    17 program from approximately March of 2008 to 2011?            17          [Exhibit Mallinckrodt-Gillies-008
    18      A. For this team. Some of the members could             18          marked for identification.]
    19 have changed through that time, though.                      19 BY MR. KO:
    20      Q. Was there another suspicious order                   20      Q. And for the record, this ends in Bates
    21 monitoring team between the 2008 and 2011 time period?       21 7053963. And this also reflects some notes from a
    22      A. Not that I'm aware of.                               22 Hobart meeting with DEA Albany on SOM and quota between
    23      Q. So I'm just trying to get an                         23 DEA and Mallinckrodt.
    24 understanding. When you say of this team, you're             24          And Mr. Gillies, I'm happy to allow you to


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     1 review other portions of this document if you'd like,            1 that accurate to say?
     2 but I just want to direct you to certain portions of             2           MR. O'CONNOR: Objection to form.
     3 it.                                                              3      A.   I don't know.
     4            First of all, at the top of this e-mail               4 BY MR. KO:
     5 there's a list of people who attended this meeting at            5      Q.   You have no recollection of what -- well,
     6 both Mallinckrodt and DEA; is that accurate?            6 strike that.
     7      A. Yes.                                            7          So it's your understanding that there was
     8      Q. And both Mr. Lohman and Ms. Harper were in      8 an update to the SOM program in March of 2012;
     9 attendance?                                             9 accurate?
    10      A. That's what this states.                       10      A. Yes.
    11      Q. As well as Ms. Spaulding?                      11      Q. Do you have under -- any understanding of
    12      A. Yes.                                           12 what provisions of the SOM program were updated during
    13      Q. Now, I want to go down to the portion of       13 that time?
    14 these notes at the bottom of the first page regarding  14      A. There was an algorithm change.
    15 SOM. Do you see that?                                  15      Q. And what did that algorithm change consist
    16      A. Yes.                                           16 of?
    17      Q. And it appears that Mr. Lohman had some        17      A. I believe the algorithm had a , and it
    18 interactions with the DEA regarding Mallinckrodt's SOM 18 was updated to a      .
    19 program; is that fair?                                 19      Q. And when you say , can you please
    20      A. Yes.                                           20 describe to the court --    relative to what?
    21      Q. And turning to Page 2 of these notes,          21      A. I cannot recall.
    22 there was a question apparently asked by the DEA, how  22      Q. Let's actually set this document aside.
    23 many orders have been deemed suspicious? Do you see 23 And I'll hand you a copy of what's previously marked as
    24 that?                                                  24 Stewart Exhibit 1.

                                                            Page 107                                                      Page 109
     1       A.    Yes.                                                 1     A. Okay.
     2       Q.    And the answer that either Mr. Lohman or             2     Q. Which for the record, it ends in Bates
     3 someone in attendance at Mallinckrodt gave was none.             3 299558. This is a short e-mail exchange, so go ahead
     4 It was explained that this updated SOM program went              4 and take a look at it.
     5 into place on 3-1-12 and no orders have been determined          5     A. Okay.
     6 to be suspicious since that time.                                6     Q. Let me know when you're done.
     7            Did I read that correctly?                            7     A. Okay.
     8       A.    Yes.                                                 8     Q. So this e-mail exchange dated April 1st,
     9       Q.    Is it accurate to state then that the                9 2008, involves, among others, Karen Harper, Jim Rausch,
    10 updated SOM program did not become effective at                 10 and Bill Ratliff; is that correct?
    11 Mallinckrodt until March 1st, 2012, according to this           11     A. Yes.
    12 document?                                                       12     Q. And who was Jim Rausch?
    13            MR. O'CONNOR: Objection to form.                     13     A. He was one of the customer service reps.
    14       A.    I mean, without reading this whole                  14     Q. And did he have responsibilities with
    15 document, I'm not sure that's what that says, but --            15 respect to Mallinckrodt's SOM program?
    16 BY MR. KO:                                                      16     A. Yes.
    17       Q.    Okay. And let me just ask you. Do you               17     Q. And what were those responsibilities?
    18 have an understanding of whether or not the SOM program         18     A. He was reviewing the orders.
    19 was updated in March of 2012?                                   19     Q. And was he reviewing -- when you say
    20       A.    There was an update during that time                20 orders, is he reviewing peculiar orders in particular?
    21 frame.                                                          21     A. Yes.
    22       Q.    And that update, among other things,                22     Q. And peculiar orders that are triggered
    23 changed the structure from a peculiar order                     23 under the then-existing algorithm utilized by
    24 classification to an unusual order classification; is           24 Mallinckrodt; correct?


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     1      A. Correct.                                               1 hired by Mallinckrodt, former DEA employee.
     2      Q. Bill Ratliff is also mentioned here. Who               2      Q. And was he an outside contractor retained
     3 is he?                                                         3 to advise specifically on SOM obligations?
     4      A. He was the former head of security for                 4      A. Yes.
     5 Mallinckrodt.                                                  5      Q. And I believe he was also retained to
     6      Q. And what responsibilities did he have with             6 advise on other Mallinckrodt DEA obligations such as
     7 respect to the SOM program?                                    7 any responsibilities with respect to quota. Is that
     8      A. He was part of the SOM team.                           8 accurate?
     9      Q. And what were his responsibilities?                    9      A. I don't know that.
    10      A. I can't recall.                                       10      Q. Now, Mr. Ratliff indicates that as of
    11      Q. And do you know how long he was a member              11 April 1st, 2008, there is a need to strengthen
    12 of the SOM team?                                              12 Mallinckrodt's suspicious order identification system.
    13      A. While he was employed.                                13 Do you see that?
    14      Q. While he was employed at Mallinckrodt?                14         MR. O'CONNOR: Objection to form.
    15      A. Yeah. But I do not know what his start                15      A. That's what you've highlighted there, that
    16 date was at Mallinckrodt.                                     16 they had the conference call with Sapienza to
    17      Q. Is it your understanding that he was a                17 strengthen the system.
    18 member of the SOM team throughout the duration of his         18 BY MR. KO:
    19 employment?                                                   19      Q. So is it accurate to state that as of
    20      A. That's my understanding.                              20 April of 2008, individuals within the SOM team at
    21      Q. And what about Mr. Rausch? How long was               21 Mallinckrodt felt the need to strengthen Mallinckrodt's
    22 he part of the SOM team?                                      22 suspicious order monitoring program?
    23      A. I do not know what his dates were.                    23         MR. O'CONNOR: Objection to form.
    24      Q. Now, we can go over some of the details of            24      A. I think the team was always looking to

                                                          Page 111                                                   Page 113
     1 this e-mail if you'd like, but is this -- is it                1 enhance the program.
     2 accurate to state that this is an e-mail that reflects         2 BY MR. KO:
     3 the practice we were describing a moment ago or earlier        3 Q. And is it accurate to state that as of
     4 today regarding Mallinckrodt sending monthly reports to  4 April 2008, individuals in the SOM team specifically
     5 DEA?                                                     5 felt the need to strengthen Mallinckrodt's suspicious
     6          MR. O'CONNOR: Objection to form.                6 order monitoring program?
     7      A. That's how I understand this reference.          7          MR. O'CONNOR: Objection to form. Asked
     8 BY MR. KO:                                               8 and answered.
     9      Q. In other words, as of April of 2008,             9       A. Yes.
    10 Mallinckrodt, and in particular Jim Rausch, is sending  10 BY MR. KO:
    11 monthly peculiar order reports to DEA; is that correct? 11       Q. Now, do you have any understanding of
    12      A. Yes.                                            12 whether or not Mallinckrodt resumed -- well, strike
    13      Q. And the DEA tells Mr. Ratliff and               13 that.
    14 Mallinckrodt to stop sending those letters; correct?    14          Once Mallinckrodt stopped sending monthly
    15      A. That's what referenced in here, yes.            15 reports to DEA, was there any communications with the
    16      Q. And in the second paragraph of this             16 DEA that Mallinckrodt had regarding which orders were
    17 e-mail, Mr. Ratliff indicates I advised that we have a  17 either peculiar or suspicious?
    18 conference call planned with Frank Sapienza on Friday   18          MR. O'CONNOR: Objection to form.
    19 to strengthen our suspicious order identification       19       A. Possibly.
    20 system, end quote.                                      20 BY MR. KO:
    21          Did I read that correctly?                     21       Q. Do you recall seeing any documentation or
    22      A. Yes.                                            22 did you talk with anyone regarding any type of reports
    23      Q. First of all, who's Frank Sapienza?             23 that Mallinckrodt sent following its decision to stop
    24      A. He was an outside contractor that was           24 sending monthly reports to the DEA in April of 2008?


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     1         A. So my understanding is that it was April             1 excessive order reports to the DEA; correct?
     2 of 2008 that we stopped sending them, not October that          2      A.   Whatever that time frame is from April of
     3 was referenced in this previous document you showed me.         3 2008 to 2012, yes.
     4 And then in 2012, we started sending reports to the DEA         4      Q.   So there was -- during that time period,
     5 again.                                                          5 Mallinckrodt did not send any type of monthly excessive
     6         Q. So that's helpful. So there was a period             6 order report to DEA; correct?
     7 of time in which reports were not sent to the DEA; is           7      A.   Correct.
     8 that accurate?                                                  8      Q.   And when Mallinckrodt began to send
     9         A. Yes.                                                 9 monthly reports again to the DEA, what happened that --
    10         Q. And that period of time was from mid-2008           10 or what happened to reflect the understanding that
    11 through 2012; correct?                                         11 Mallinckrodt would then be resuming delivery of
    12         A. From April 2008 till some time in 2012.             12 order -- monthly order reports to DEA?
    13         Q. And do you have a general understanding of          13           MR. O'CONNOR: Objection to form.
    14 when in 2012 that practice resumed?                            14      A.  So there's a privilege here.
    15         A. I don't.                                            15         MR. O'CONNOR: In that case, I would
    16         Q. And in 2012, what did those reports                 16 object and instruct the witness not to answer to the
    17 consist of?                                                    17 extent it would require revealing communications with
    18         A. I don't recall. But I believe we've given           18 counsel on the basis of attorney-client privilege.
    19 those reports to you guys. So I just don't recall what         19 BY MR. KO:
    20 they were.                                                     20      Q. So is your complete answer covered by the
    21         Q. And when you say given those reports to             21 privilege?
    22 you guys, you mean that your counsel has produced those        22      A. On this question, yes.
    23 documents in this litigation?                                  23      Q. So during the 2012 time period when
    24         A. Yes. Sorry.                                         24 Mallinckrodt began resuming sending reports to the DEA,

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     1      Q.     That's okay. And were those -- strike               1 was that when you were part of -- was that after you
     2 that.                                                           2 joined Mallinckrodt?
     3            Do you have any understanding of why there           A. It either started right before I joined or
                                                                       3
     4 was -- why Mallinckrodt decided not to send any reports  4 right after I joined.
     5 to DEA during that approximate three-and-a-half-year     5      Q. So then it's safe to say approximately in
     6 time period?                                             6 the summer of 2012 was when Mallinckrodt resumed
     7          MR. O'CONNOR: Objection to form.                7 sending monthly reports to DEA?
     8      A. So this would have been in response to the       8      A. That's my understanding.
     9 December 2007 letter where DEA advised stop sending the  9      Q. And -- but you don't know what those
    10 reports.                                                10 reports consist of?
    11 BY MR. KO:                                              11      A. It wasn't part of my role on the SOM team,
    12      Q. But eventually Mallinckrodt resumed their       12 so no, I don't recall what they consist of.
    13 practice of sending some sort of report to DEA, as you  13      Q. And separate and apart from your role on
    14 said, in 2012; right?                                   14 the SOM team, you didn't review any of those reports or
    15      A. That's correct.                                 15 gain an understanding of what those reports consisted
    16      Q. So what was it about those reports that         16 of in preparation for your deposition today?
    17 satisfied Mallinckrodt sufficient enough to send        17      A. Again, I believe I was shown the
    18 letters again to the DEA? Or reports. Strike that.      18 documents, but I just can't recall.
    19          MR. O'CONNOR: Objection to form.               19      Q. And when you say you were shown the
    20 BY MR. KO:                                              20 documents, what documents were you specifically shown
    21      Q. Let me make sure the record is -- poor          21 in this context?
    22 question. Let me ask it again.                          22      A. Would have been copies of these reports.
    23          There was a three-and-a-half-year time         23      Q. And you have no recollection of what those
    24 period in which Mallinckrodt did not send monthly       24 reports consisted of right now?


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     1      A. I do not.                                            1      Q. And the first -- one of the documents that
     2      Q. Yeah, you can set that aside. Thank you.             2 she is referencing is in fact this SOM compliance
     3      A. Okay.                                                3 procedure policy; correct?
     4      Q. Sorry. Bear with us. Some technical                  4      A. This controlled substance SOM procedure?
     5 difficulties.                                                5      Q. Yes, the attachment.
     6      A. That's all right.                                    6      A. Yes. Okay. Yeah.
     7          [Exhibit Mallinckrodt-Gillies-010                   7      Q. So is it accurate to say -- well, let's
     8          marked for identification.]                         8 take a step back.
     9      Q. I'm going to hand you a copy of what's               9          You had indicated earlier that you had
    10 going to be marked as Gillies Exhibit 10. And for the       10 reviewed certain documents in preparation for this
    11 record, this is an April 8th, 2008, e-mail between          11 deposition today and that you had seen some written
    12 Karen Harper and Bill Ratliff ending in Bates 273892        12 policies; correct?
    13 with an attachment.                                         13      A. Yes.
    14          So earlier today we were discussing                14      Q. Did you review this written policy?
    15 whether or not Mallinckrodt had written policies            15      A. No.
    16 governing its SOM program.                                  16      Q. You did not? Okay. Is it accurate --
    17          Do you recall that?                                17 regardless of whether or not you reviewed this
    18      A. Yes.                                                18 particular one, is it accurate to state that this is a
    19      Q. And you said that you had no recollection           19 draft of Mallinckrodt's SOM policy?
    20 of when or whether you've seen any of the written           20      A. That's what it appears to be, a draft.
    21 policies with respect to its SOM program.                   21      Q. And this draft is dated -- well, this
    22          Do you recall that?                                22 draft doesn't have a date, but it's circulated on April
    23      A. Prior to a certain date, was your                   23 1st, 2008; correct?
    24 question, so --                                             24      A. The date on the e-mail is April -- is that

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     1      Q. Right. And is that -- so this document               1 6th or 8th?
     2 reflects, as I alluded to earlier, an e-mail from Ms.        2       Q. Yeah, I believe it's April 8th. So --
     3 Harper to Mr. Ratliff attaching an SOM draft policy; is      3       A. Okay.
     4 that accurate to say?                                        4       Q. Thank you for that clarification. So this
     5      A. I'm sorry. Can I have a moment to read               5 first draft of Mallinckrodt's SOM program is circulated
     6 this?                                                        6 as of April 8th, 2008; correct?
     7      Q. Sure.                                                7       A. Yes.
     8      A. Okay. I'm sorry. Go ahead.                           8       Q. And in this particular draft policy, you
     9      Q. Does the attachment contained in this                9 see the reference to peculiar order and suspicious
    10 exhibit -- the attachment that is titled DEA compliance     10 order?
    11 procedure, controlled substance suspicious order            11       A. Yes.
    12 monitoring -- does this reflect a draft SOM policy of       12       Q. And is there any indication in this
    13 Mallinckrodt?                                               13 particular draft regarding any algorithm of how a
    14      A. Yes.                                                14 peculiar order is determined by Mallinckrodt?
    15      Q. And in the cover e-mail, there is a                 15       A. Can you restate that, or repeat the
    16 reference from Ms. Harper to Mr. Ratliff that she's         16 question?
    17 attaching it for his review; correct?                       17       Q. Sure. Sure. I'll actually rephrase the
    18      A. Yes.                                                18 question.
    19      Q. And that she's making a start or she's              19          As of April 8th, 2008, is it accurate to
    20 making a first pass at a certain document. Is that          20 say that Mallinckrodt did not memorialize a particular
    21 accurate?                                                   21 algorithm for purposes of defining a peculiar order?
    22          MR. O'CONNOR: Objection to form.                   22          MR. O'CONNOR: Objection to form.
    23      A. Yes.                                                23       A. Not in this document.
    24 BY MR. KO:                                                  24 BY MR. KO:


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     1      Q. And do you have any understanding of                1      Q.     And with respect to the supersedes date,
     2 whether or not a peculiar order algorithm was               2 there's no document that this particular draft is
     3 memorialized in any way outside of this document as of      3 superseding, so that also indicates that this is
     4 April of 2008?                                              4 Mallinckrodt's first pass at a written SOM policy;
     5          MR. O'CONNOR: Objection to form.                   5 correct?
     6      A. I know there was an algorithm, but I'm              6      A.     It says no.
     7 unaware of any report.                                      7      Q.     Okay. Great. You can set that aside.
     8 BY MR. KO:                                                  8            MR. O'CONNOR: Counsel, can we take a
     9      Q. In other words, just so the record is               9 short break and then --
    10 clear, as far as you know, as of April of 2008 there       10            MR. KO: Sure.
    11 was no separate document that governed the definition      11            MR. O'CONNOR: It's been about an hour,
    12 of what constitutes a peculiar order?                      12 and then do lunch --
    13          MR. O'CONNOR: Objection to form.                  13            MR. KO: Sure. That's fine.
    14      A. Okay -- that was a different question that         14            MR. O'CONNOR: -- after a short break?
    15 you just asked me. So I have no recollection of that.      15            MR. KO: Okay.
    16 BY MR. KO:                                                 16            THE VIDEOGRAPHER: We are going off the
    17      Q. And for purposes of this document, there's         17 record at 11:46 AM.
    18 no algorithm that's set forth in terms of what             18         [A brief recess was taken.]
    19 constitutes a peculiar order; correct?                     19         THE VIDEOGRAPHER: We are back on the
    20      A. Not in this document.                              20 record at 11:59 AM.
    21      Q. And there -- as far as you know, you've            21 BY MR. KO:
    22 not reviewed any other documents during this time          22     Q. Welcome back from the break. In front of
    23 period that reflect a written policy memorializing what    23 you you have what has previously been marked as Stewart
    24 constitutes a peculiar order; is that accurate?            24 Exhibit 13, which I'll represent for the record is

                                                     Page 123                                                            Page 125
     1         MR. O'CONNOR: Objection to form.               1 titled DEA compliance procedure, controlled substance
     2      A. Not that I can recall.                         2 suspicious order monitoring, ending in Bates 268911.
     3 BY MR. KO:                                             3          So feel free to look through this if you'd
     4      Q. And other than this draft SOM policy,          4 like in detail, but I just have a few questions about
     5 would Mallinckrodt have any other type of written      5 this that hopefully you can answer without going
     6 document that would define the algorithm used for      6 through all the doc -- or throughout all the language
     7 defining a peculiar order?                             7 in it. But again, feel free to go ahead if you need
     8      A. I don't know the answer to that question.      8 to.
     9      Q. Now, at the top of this page, in the top       9          So this -- the date of this is May 13th,
    10 right-hand corner there's an indication of effective  10 2008; correct?
    11 date and supersede date, and in fact, on top of that, 11       A. Yes.
    12 revision.                                             12       Q. And this appears to be a Draft 2; is that
    13         Do you see those?                             13 accurate?
    14      A. Yes.                                          14       A. That's what it says -- Draft 2.
    15      Q. And as we discussed earlier, there's no       15       Q. And did you review this particular draft
    16 effective date for this because it's a draft, among   16 written policy in connection with preparing for this
    17 other reasons, but do you see where it says Revision 17 deposition today?
    18 Number 1?                                             18       A. No.
    19      A. Yes.                                          19       Q. And for this particular draft there is --
    20      Q. So would it be fair to say that this is       20 consistent with the one that we just looked at from
    21 the SOM team's first pass at a written SOM policy? 21 April, there are definitions of peculiar orders and
    22         MR. O'CONNOR: Objection to form.              22 suspicious orders. Do you see that?
    23      A. Yes.                                          23       A. Yes.
    24 BY MR. KO:                                            24       Q. And as far as the peculiar order is

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     1 defined, there's no indication of an algorithm in that       1 period that covers?
     2 particular definition; is that accurate?                     2      A. I know it was in the material that I
     3       A. It doesn't say algorithm, but meets an              3 reviewed, but I don't recall.
     4 internal established criteria.                               4      Q. Do you have an understanding of whether or
     5       Q. Is there any indication in this document            5 not Mallinckrodt had any kind of formal documentation
     6 of an algorithm or a specific algorithm that                 6 or record retention policy with respect to SOM
     7 Mallinckrodt is utilizing for purposes of defining a         7 documents and reports during the 2008 to 2011 time
     8 peculiar order?                                              8 period?
     9           MR. O'CONNOR: Objection to form.                   9          MR. O'CONNOR: Objection to form.
    10       A. No mention of algorithm.                           10      A. My recollection is yes.
    11 BY MR. KO:                                                  11 BY MR. KO:
    12       Q. So is it accurate to say that as of May            12      Q. And what is that recollection based on?
    13 13th, 2008, there was no algorithm that is mentioned at     13      A. Based on the -- what I learned preparing
    14 least for purposes of the draft SOM policy?                 14 for this deposition.
    15           MR. O'CONNOR: Objection to form.                  15      Q. And that -- and what you learned was
    16       A. It's not mentioned in this document.               16 through review of certain documents that reflected SOM
    17 BY MR. KO:                                                  17 documents and reports; is that accurate to say?
    18       Q. And turning to the last page of this               18      A. Yes.
    19 document that I believe you were just at, there is a --     19      Q. And I'm just trying to get an
    20 there's an indication that the security director and        20 understanding of what that specifically consisted of,
    21 DEA compliance should be responsible for maintaining a      21 because you're telling me that you reviewed certain
    22 file for record retention of suspicious order               22 things.
    23 monitoring documents and reports.                           23          So what did you review?
    24           Do you see that portion of the draft              24          MR. O'CONNOR: Objection to form, and to

                                                        Page 127                                                       Page 129
     1 policy?                                                      1 the extent we're talking about the collection of
     2      A. Yes.                                                 2 documents that were selected by counsel for his review,
     3      Q. And do you have any understanding of                 3 I'm going to instruct him not to answer. We've been
     4 whether or not Mallinckrodt did in fact keep some sort       4 pretty indulgent on individuals, but we're not getting
     5 of file for record retention of SOM documents and            5 into the full selection of documents.
     6 reports?                                                     6 BY MR. KO:
     7      A. Yes.                                                 7      Q. Do you want me to repeat my question or
     8      Q. And in what type of -- what type of                  8 rephrase?
     9 retention policy did Mallinckrodt utilize to maintain        9          MR. O'CONNOR: Do you want to ask a more
    10 these types of documents and reports?                       10 tailored question?
    11      A. I don't recall.                                     11          MR. KO: Sure.
    12      Q. So -- well, I'm having trouble                      12          MR. O'CONNOR: Because otherwise he's
    13 understanding. So you believe that Mallinckrodt             13 standing --
    14 maintains a record retention policy with respect to SOM     14          MR. KO: Sure.
    15 documents and reports, but you don't know -- well,          15 BY MR. KO:
    16 strike that. Let's take it one at a time.                   16      Q. What documents did you review to help
    17           So Mallinckrodt -- it's your understanding        17 inform you that Mallinckrodt had a formal document
    18 that Mallinckrodt maintains a record retention policy       18 retention policy with respect to its SOM documents and
    19 with respect to SOM documents and reports?                  19 records from the 2008 through 2011 time period?
    20      A. Yes.                                                20          MR. O'CONNOR: You can answer at a high
    21      Q. And how do you know that?                           21 level.
    22      A. I believe we provided you guys in this              22      A. Okay. There were documents provided to me
    23 matter a number of these documents.                         23 in preparation for providing this deposition.
    24      Q. Do you have any understanding of what time          24 BY MR. KO:


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     1      Q. Yeah, I understand the documents were                1 very high level.
     2 provided to you, and I'm asking you which documents did      2      A.   My recollection was it was just the
     3 you review to help inform you that Mallinckrodt had a        3 categories of documents that were provided to you guys
     4 formal documentation or document retention policy with       4 from the peculiar order reports.
     5 respect to its SOM program in the 2008 through 2011          5 BY MR. KO:
     6 time period?                                                 6      Q.   Other than --
     7     A. So there were e-mails and policies,                   7     A. And there were other documents, too, that
     8 procedures, and a list of documents that were provided       8 were provided to you guys that I reviewed.
     9 to you in this matter.                                       9      Q.   But to be clear, did any of these
    10      Q. And which -- let's take the policies and            10 documents that you review suggest that Mallinckrodt had
    11 procedures. Which policies and procedures are you           11 some sort of formal document or retention policy with
    12 referring to?                                               12 respect to Mallinckrodt SOM reports or documents during
    13      A. I don't recall.                                     13 the 2008-2011 time period?
    14      Q. And let's take the e-mails. Which                   14      A.  I don't recall --
    15 e-mails -- were there e-mails that actually indicated       15         MR. O'CONNOR: Objection to form.
    16 that there was a formal document retention policy with      16      A. I don't recall a document that says that.
    17 respect to SOM records and documents from the 2008 and 17 BY MR. KO:
    18 2011 time period?                                           18      Q.   You can set that one aside.
    19     A. I --                                                 19          [Exhibit Mallinckrodt-Gillies-009
    20        MR. O'CONNOR: Again, I'm going to object.            20          marked for identification.]
    21 We're not going to get into individual document by          21      Q. I'm going to hand you a copy of what's --
    22 document everything he reviewed.                            22 we're going a little bit out of order, but this is
    23        MR. KO: I understand that.                           23 Gillies Exhibit 9. And for the record, this ends in
    24        MR. O'CONNOR: I'll instruct the witness              24 Bates 419993.

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     1 not to answer on the basis of attorney-client                1       And so Mr. Gillies, is it accurate to say
     2 privilege.                                               2 that this document reflects a Draft 3 published June
     3 BY MR. KO:                                               3 2nd, 2008, of Mallinckrodt's SOM policy?
     4      Q. So were there -- without discussing the          4      A. Yes.
     5 details of the specific e-mails, is it your testimony    5      Q. And similar to the question I asked with
     6 that you reviewed e-mails that suggested that            6 respect to the prior Draft 2 from May. In the peculiar
     7 Mallinckrodt had a formal document retention policy      7 order definition, there's no indication of an algorithm
     8 with respect to SOM documents and reports in the 2008    8 that Mallinckrodt is utilizing to define a peculiar
     9 and 2011 time period?                                    9 order; is that correct?
    10      A. I don't recall that.                            10      A. Again, I'd have to go through this to make
    11      Q. So you don't recall seeing any e-mails          11 sure there's no reference to that.
    12 that reflect -- so just so the record is clear, yes or  12      Q. Sure. Well, let me just ask you a narrow
    13 no, do you recall reviewing e-mails from the 2008 and   13 question.
    14 2011 time period that reflect a document retention      14      A. Okay.
    15 policy with respect to SOM documents and records?       15      Q. On the definitions page at the bottom of
    16      A. No.                                             16 the first page.
    17      Q. And then just the last part of your             17      A. Okay, I'm sorry.
    18 answer, you said that you reviewed certain e-mails and  18      Q. The definition appears to be similar to
    19 policies and procedures and other documents provided to 19 the previous two drafts we reviewed; correct?
    20 our side.                                               20      A. Yes.
    21          Can you generally describe what that third     21      Q. And in that particular definition of a
    22 category consisted of without getting into the details  22 peculiar order, there's no reference to what the
    23 of what was selected by counsel?                        23 algorithm Mallinckrodt would utilize to define a
    24          MR. O'CONNOR: Again, you can respond at a 24 peculiar order; correct?

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     1      A. Correct. Correct.                                       1      Q. And the portion of this policy that states
     2      Q. Now, going back to the top of this e-mail,              2 that it is fundamental for the DEA registrant to
     3 in the purpose section, the second sentence states,             3 understand the normal and expected transactions
     4 quote, DEA cannot, will not tell a DEA registrant if an         4 typically conducted by those customer -- what is your
     5 order is legitimate and/or if an order should be                5 understanding of what those transactions consist of?
     6 shipped.                                                        6      A. So I --
     7          Did I read that correctly?                             7           MR. O'CONNOR: Objection to form.
     8      A. Yes.                                                    8      A. I interpret this between Mallinckrodt and
     9      Q. And it continues to say it is fundamental               9 the customer.
    10 for sound operations that DEA registrants take                 10 BY MR. KO:
    11 reasonable measures to identify their customers,               11      Q. So is it your understanding that the,
    12 understand the normal and expected transactions                12 quote, normal and expected transactions, end quote, are
    13 typically conducted by those customer, and consequently        13 transactions between Mallinckrodt and its customers?
    14 identify those transactions that are suspicious in             14      A. That's how I read this.
    15 nature.                                                        15      Q. And so in order -- is it your testimony
    16          Did I read that correctly?                            16 then that Mallinckrodt's suspicious order monitoring
    17      A. Yes.                                                   17 system was only designed to identify the orders that
    18      Q. Now, with respect to that second -- or the             18 were suspicious as between Mallinckrodt and its
    19 last sentence that I just read, is it accurate to say          19 distributors?
    20 that Mallinckrodt has memorialized in this particular          20           MR. O'CONNOR: Objection to form.
    21 draft the understanding that it should know their              21      A. That's what the regulation is, yes.
    22 customers in connection with implementing an SOM               22 BY MR. KO:
    23 program?                                                       23      Q. And do you believe that -- well, let's
    24          MR. O'CONNOR: Objection to form.                      24 fast-forward to today's version of Mallinckrodt's SOM

                                                       Page 135                                                         Page 137
     1      A. Yes.                                                    1 program.
     2 BY MR. KO:                                                      2          Doesn't Mallinckrodt's current iteration
     3      Q. And would you also agree with me that this              3 of the SOM program try and understand where
     4 particular language reflects an understanding by                4 Mallinckrodt pills are going after the transaction
     5 Mallinckrodt that they would need to know their                 5 occurs between Mallinckrodt and the distributor?
     6 customers' transactions that they enter into as well;           6          MR. O'CONNOR: Objection to form.
     7 correct?                                                        7      A. After the transaction between Mallinckrodt
     8          MR. O'CONNOR: Objection to form.                       8 and its customer? I just want to make sure I
     9      A. It says identify those transactions that                9 understood your question correctly.
    10 are suspicious in nature.                                      10 BY MR. KO:
    11 BY MR. KO:                                                     11      Q. The question is doesn't Mallinckrodt's
    12      Q. And so would you agree with me that this               12 current iteration of its SOM program try and understand
    13 language reflects an understanding by Mallinckrodt that        13 where Mallinckrodt pills are going after the
    14 they would need to know the details of the customers'          14 transaction between Mallinckrodt and the distributor?
    15 transactions regarding Mallinckrodt opioids?                   15      A. Yes.
    16          MR. O'CONNOR: Objection to form.                      16          MR. O'CONNOR: Same objection.
    17      A. Between Mallinckrodt and the customer?                 17 BY MR. KO:
    18 BY MR. KO:                                                     18      Q. And so in other words, Mallinckrodt's
    19      Q. No, between Mallinckrodt's customer and a              19 current iteration of its SOM program tries to
    20 pharmacy and/or clinic that the wholesale distributor          20 understand knowledge of Mallinckrodt's customer's
    21 is dealing with.                                               21 customer; is that accurate?
    22          MR. O'CONNOR: Same objection.                         22          MR. O'CONNOR: Objection to form.
    23      A. No.                                                    23      A. Yes, we're going above and beyond what the
    24 BY MR. KO:                                                     24 regulation calls for here in trying to accomplish that.


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     1 BY MR. KO:                                                  1      A. So in our anti-diversion efforts, this is
     2      Q. And turning back to the purpose statement           2 one of those times that we were going above and beyond
     3 of this particular draft that's dated June of 2008.         3 what was called for in the regulations.
     4          Is it your testimony that you don't                4 BY MR. KO:
     5 believe this draft policy reflects an understanding of      5      Q. Well, that's not the question I asked.
     6 Mallinckrodt to try and know its customer's customer?       6      A. I'm sorry.
     7          MR. O'CONNOR: Objection --                         7      Q. Is it your test --
     8      A. No, there was no regulation at that time.           8      A. I misunderstood your question.
     9 BY MR. KO:                                                  9      Q. Sure. Is it your testimony today that you
    10      Q. I understand that there was no regulation.         10 believe that it would be appropriate to not follow the
    11 I'm just talking specifically about this document.         11 advice of the DEA to know your customer's customer as
    12      A. Okay. So my interpretation of this                 12 of July 2010?
    13 document is between Mallinckrodt and its customer --       13          MR. O'CONNOR: Objection to form.
    14 the wholesaler distributor.                                14      A. I'm telling you there's no regulation that
    15      Q. Understood. And are you aware of any --            15 requires us to do this, but we do do it.
    16 earlier we had discussed that document that had a          16 BY MR. KO:
    17 chronology that Ms. Harper summarized for you.             17      Q. I understand what your testimony is with
    18          Do you recall that document?                      18 respect to whether or not there is a regulation, but my
    19          MR. O'CONNOR: Objection to form.                  19 question is simply whether or not you believe it would
    20      A. Are you talking about the one that ends in         20 be appropriate for Mallinckrodt to not follow the
    21 6623? I'm sorry. Is that --                                21 advice of the DEA regarding its advice that you should
    22 BY MR. KO:                                                 22 know your customer's customer.
    23      Q. Yes.                                               23          MR. O'CONNOR: I'm going to object to form
    24      A. Okay. I just want to make sure we're on            24 and asked and answered. This is the third time.

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     1 the same page.                                              1   A. So I have a legal --
     2      Q. Sure.                                            2 BY MR. KO:
     3      A. Okay.                                            3      Q. You can answer.
     4      Q. So we had discussed that you had agreed          4      A. I have a legal question.
     5 that Mallinckrodt knew at least as of July 2010 that it  5      Q. Why don't you answer -- try and answer the
     6 had an obligation to know its customer's customer?       6 question first.
     7         MR. O'CONNOR: Objection to form.                 7          MR. O'CONNOR: If you believe questions
     8      A. So we didn't have an obligation to know          8 that concerns privilege, then we can go off the record
     9 our customer's customer, but we were being informed by   9 and talk about it.
    10 the DEA in St. Louis that that's something we should be 10 BY MR. KO:
    11 looking at.                                             11      Q. Let --
    12 BY MR. KO:                                              12      A. Yes, I actually -- I do believe there's a
    13      Q. So as of -- we had discussed how as of          13 legal issue that is problematic.
    14 July 2010 you had been advised by the DEA that you      14          MR. O'CONNOR: Okay.
    15 should know your customer's customer; correct?          15      A. I just want to get a clarification.
    16      A. Yes, but there's still no regulation.           16          MR. O'CONNOR: Then I'd ask that we either
    17      Q. I understand --                                 17 move off the question or we can take a break.
    18      A. Okay.                                           18      A. It should be really quick.
    19      Q. -- that your testimony is that there's no       19 BY MR. KO:
    20 regulation or you believe that there's no obligation,   20      Q. Yeah, let's not take a break.
    21 but would it be appropriate, Mr. Gillies, if            21      A. Okay.
    22 Mallinckrodt did not follow the advice of DEA at the    22      Q. You can discuss it with your counsel over
    23 time?                                                   23 the lunch break. We can go back on it.
    24         MR. O'CONNOR: Objection to form.                24      A. Okay.

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     1      Q. Do you recall seeing any documents or               1 do you recall seeing anything prior to June of 2008
     2 reviewing any documents that suggest that the DEA had       2 that reflects a written memorialization of the
     3 advised Mallinckrodt of knowing their customer's            3 algorithm utilized by Mallinckrodt?
     4 customer in the 2008 time period?                           4          MR. O'CONNOR: Objection to form.
     5      A. No.                                                 5      A. I can't recall that.
     6      Q. Do you recall seeing any documents other            6 BY MR. KO:
     7 than the document that's in front of you which              7      Q. You can set this one aside.
     8 indicates Ms. Harper's comments to you regarding DEA        8      A. Okay.
     9 advice regarding knowledge of customer's customer --        9      Q. We'll move on to Gillies -- now back on
    10 strike that. Let me ask again.                             10 track. Gillies Exhibit 11.
    11          Prior to 2010, have you seen any documents        11          [Exhibit Mallinckrodt-Gillies-011
    12 that reference an obligation or advice by the DEA          12          marked for identification.]
    13 regarding Mallinckrodt knowing their customer's            13      Q. And for the record, this is titled DEA
    14 customer?                                                  14 compliance procedure controlled substance suspicious
    15      A. Prior to this time frame?                          15 order monitoring, Draft 4, ending in Bates 296382.
    16      Q. (Nodding "yes.")                                   16          So Mr. Gillies, this particular document
    17      A. No.                                                17 reflects in the top right-hand corner that it is Draft
    18      Q. And then going back to the Draft 3 that we         18 4, published July 8th, 2008; correct?
    19 were discussing a moment ago.                              19      A. Correct.
    20      A. Okay.                                              20      Q. And so this appears to be the fourth
    21      Q. Now, I know that we had discussed -- first         21 iteration of the documents that we've been going over;
    22 of all, you agree with me that this is a draft;            22 correct?
    23 correct?                                                   23      A. Yes.
    24      A. It says Draft 3.                                   24      Q. And by the way, do you have any

                                                       Page 143                                                         Page 145
     1      Q. And if you look, for example, like on Page          1 understanding of -- well, the originator of this
     2 4, which we'll turn to here, there are still question       2 document is Karen Harper. Do you see that?
     3 marks and blanks with respect to what to include in         3      A. Yes.
     4 this particular draft; correct?                             4      Q. And I'll represent to you that in the
     5      A. Yes, I see those now.                               5 previous three versions that we looked at she was also
     6      Q. And in that particular section at the top           6 the originator.
     7 of Page 4, I believe there is a reference to an             7          Do you have any understanding of who Ms.
     8 algorithm to try and define a particular peculiar           8 Harper circulated these draft policies to?
     9 order.                                                      9      A. I do not.
    10           Do you see that portion of draft policy?         10      Q. Do you have any understanding of whether
    11      A. Yes.                                               11 or not these draft procedures were circulated to anyone
    12      Q. So is it accurate to say that this                 12 outside of the DEA compliance team?
    13 particular draft is the first time that Mallinckrodt       13      A. I believe -- yes.
    14 tries to incorporate reference to an algorithm into its    14      Q. And who outside of the DEA compliance team
    15 written draft SOM policy?                                  15 were these draft procedures circulated to?
    16           MR. O'CONNOR: Objection to form.                 16      A. Bill Ratliff.
    17      A. So I don't recall whether there was                17      Q. And correct me if I'm wrong, but I believe
    18 anything written prior to this, but --                     18 you told me that he was part of the DEA compliance
    19 BY MR. KO:                                                 19 team, or was he not?
    20      Q. So is it fair to say that --                       20          MR. O'CONNOR: Objection to form.
    21      A. But we did have an algorithm.                      21      A. I did not say that.
    22      Q. I understand that you testified at length          22 BY MR. KO:
    23 that you believe there was an algorithm, but in terms      23      Q. He was just part of the SOM team?
    24 of an actual algorithm being memorialized in writing,      24      A. That's correct.

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                                                               Page 146                                                     Page 148
     1       Q. So Bill Ratliff was never part of the DEA                  1 the 222 forms to make sure that what the customer
     2 compliance team?                                                    2 address and the ship to address in our records and
     3       A. I didn't say that either.                                  3 stuff matched. That was one of the SOM steps for bulk.
     4       Q. I see.                                                     4 BY MR. KO:
     5       A. I'm not aware of that.                                     5      Q. Okay. So that -- to be clear, the address
     6       Q. Understood.                                                6 verification form was a feature unique to the bulk SOM
     7    A. But he was security, and then you had DEA                     7 program? Is that your testimony?
     8 compliance.                                                         8      A. Yeah, for the 222s. Yes. Uh-huh.
     9       Q. Understood. Other than Mr. Ratliff, are                    9      Q. Through the 222 forms?
    10 you aware of anyone else that these draft DEA                      10      A. Correct.
    11 compliance procedures would have been circulated to?               11      Q. And at any time in Mallinckrodt's history,
    12       A. I'm unaware of who else they went to.                     12 are you aware of whether or not there was a separate
    13       Q. Now, in the scope section of this                         13 bulk SOM program?
    14 particular draft, there's a reference to the fact that             14          MR. O'CONNOR: Objection to form and
    15 this particular draft applies -- I'll just read it so              15 scope.
    16 the record is clear.                                               16      A. Again, I'm unaware of a separate one, so
    17           Scope, applies internally to Covidien                    17 the SOM program that I'm aware of included both.
    18 customer service group, information services group, DEA            18 BY MR. KO:
    19 compliance, and security for monitoring of controlled              19      Q. I see. So as far as your understanding,
    20 substance orders received electronically or manually,              20 Mallinckrodt's SOM program governed both its bulk
    21 bulk or finished dosage products, for all active                   21 product and its dosage products; correct?
    22 accounts, new or established, from order placement to              22      A. Correct.
    23 shipment.                                                          23      Q. And at least for purposes of this draft
    24           Did I read that correctly?                               24 procedure, it seems to make clear that the SOM program

                                                     Page 147                                                    Page 149
     1      A. Yes.                                            1 is both for bulk and finished dosage products; correct?
     2      Q. So focusing on the portion that indicates       2      A. Correct.
     3 bulk or finished dosage products, what is the           3      Q. For Mallinckrodt's current SOM program, is
     4 difference -- can you explain to the court what the     4 there any sort of distinction or delineation made
     5 difference is between the two?                          5 between Mallinckrodt bulk and dosage products with
     6      A. Bulk -- the bulk products are at our St.        6 respect to SOM?
     7 Louis facility. These are the manufacturing, and the    7          MR. O'CONNOR: Objection to form.
     8 finished dosage products is at our Hobart facility for  8      A. No.
     9 the actual manufacturing of the tablets.                9 BY MR. KO:
    10      Q. So in other words, is it fair to say that      10      Q. Now, turning to the next page, Page 2 of
    11 Hobart is where Mallinckrodt converts the actual       11 this particular policy, again we see definitions of
    12 product into a pill, for example? Is that correct?     12 both peculiar and suspicious orders. Do you see that?
    13      A. Correct.                                       13      A. Yes.
    14      Q. And the St. Louis facility is where            14      Q. So is it accurate to say that this
    15 Mallinckrodt processes and manufactures the raw        15 particular draft has a definition of a peculiar order
    16 product; correct?                                      16 that's consistent with the others, and it does not
    17      A. Correct.                                       17 specifically identify the peculiar order algorithm; is
    18      Q. And so do you have any understanding           18 that correct?
    19 whether or not Mallinckrodt ever had a separate SOM 19             MR. O'CONNOR: Objection to form.
    20 program with respect to its bulk product relative to   20      A. Yes.
    21 its dosage products?                                   21 BY MR. KO:
    22         MR. O'CONNOR: Objection to form.               22      Q. And so is it accurate to state that as of
    23      A. I don't believe it was separate, but as it     23 July 8th, 2008, Mallinckrodt had not incorporated an
    24 applied to bulk, there were address verifications from 24 algorithm into its SOM policy? Is that accurate?


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                                                           Page 150                                                       Page 152
     1           MR. O'CONNOR: Objection to form.                      1       Q. So you don't have an understanding of
     2      A. No.                                                     2 what -- your testimony is that you don't have an
     3 BY MR. KO:                                                      3 understanding of what that algorithm consisted of, but
     4      Q. For purposes of the written policies that               4 you believe that there was an algorithm that was
     5 Mallinckrodt was attempting to create, is it accurate           5 utilized at the time?
     6 to say that there is no definition of -- or there's no          6       A. That's correct.
     7 indication in this document of a specific algorithm             7       Q. And separate and apart from whether or not
     8 that's utilized for purposes of identifying a peculiar          8 there was an algorithm utilized, for purposes of this
     9 order?                                                          9 particular document, the algorithm is not spelled out
    10           MR. O'CONNOR: Objection to form.                     10 in this particular draft policy; correct?
    11      A. Sorry. I'm going to have to read this                  11       A. Correct.
    12 document to see whether that's an accurate statement or        12       Q. You can set that one aside.
    13 not.                                                           13       A. Okay.
    14 BY MR. KO:                                                     14       Q. And I'll hand you a copy of what's going
    15      Q. Sure.                                                  15 to be marked as Gillies Exhibit 12.
    16      A. So --                                                  16          [Exhibit Mallinckrodt-Gillies-012
    17           MR. KO: And while you go over that                   17          marked for identification.]
    18 document, maybe we can -- we can shoot for like a 12:45        18       Q. And for the record, Gillies Exhibit 12
    19 break for lunch. Is that good?                                 19 is -- ends in Bates 4154292.
    20           MR. O'CONNOR: Sounds good.                           20          And Mr. Gillies, this is -- this
    21           MR. KO: Okay.                                        21 particular draft procedure is dated November 4th, 2009;
    22      A. So there's no mention of algorithm in this             22 correct?
    23 document.                                                      23       A. Correct.
    24 BY MR. KO:                                                     24       Q. And unlike -- well, first of all, have you

                                                        Page 151                                                     Page 153
     1      Q. So as of July 8th, 2008, is it accurate to         1 reviewed a procedure like this before?
     2 state that Mallinckrodt had not yet incorporated an        2      A. Yes.
     3 algorithm into its suspicious order monitoring draft       3      Q. And this particular procedure, unlike the
     4 policy?                                                    4 ones that we were going over a moment ago with respect
     5          MR. O'CONNOR: Objection to form.                  5 to SOM algorithms or criteria in particular, this one
     6      A. It's not listed in this policy.                    6 governs the new and existing customer account setups
     7 BY MR. KO:                                                 7 and ongoing reviews; is that accurate to say?
     8      Q. So is it -- and my question was different.         8      A. That's what this subject is, yes.
     9      A. Okay.                                              9      Q. And if we go on, the purpose of this
    10      Q. As of July -- yes or no -- as of July 8th,        10 document -- one of the purposes of this document is to
    11 2008, is it accurate to state that Mallinckrodt had not   11 establish a procedure outlining the process for
    12 yet incorporated an algorithm into its suspicious order 12 monitoring new controlled substance customer accounts
    13 monitoring draft policy?                                  13 and ongoing review of existing controlled substance
    14          MR. O'CONNOR: Same objection.                    14 customer accounts.
    15      A. So again, as I stated earlier, the word           15         You see that?
    16 algorithm is not in here, but when it refers to           16      A. Yes.
    17 established criteria, then I believe that to be the       17         MR. O'CONNOR: Objection.
    18 algorithm even though the word algorithm is not in this 18 BY MR. KO:
    19 document.                                                 19      Q. So did Mallinckrodt have -- prior to
    20 BY MR. KO:                                                20 November of 2009, are you aware of any written policies
    21      Q. And what was your understanding of what           21 or procedures governing the process for monitoring new
    22 the established criteria was as of July 8th, 2008?        22 and existing customer accounts of Mallinckrodt?
    23      A. I don't recall the algorithm, but there is        23      A. I can't recall.
    24 a reference down here to       . I don't recall.          24         MR. O'CONNOR: Objection to form and

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     1 scope.                                                    1 and procedures in place with respect to its duties
     2 BY MR. KO:                                                2 under the Controlled Substances Act?
     3      Q. Does the current iteration of                     3      A. Yes.
     4 Mallinckrodt's SOM program have any written policy or     4      Q. And one of those policies and procedures
     5 procedure related to new and existing customer            5 is reflected by this draft policy; correct?
     6 accounts?                                                 6          MR. O'CONNOR: Objection to form.
     7          MR. O'CONNOR: Same objections.                   7      A. Again, I'd have to read this entire
     8      A. I can't recall.                                   8 document, but --
     9 BY MR. KO:                                                9 BY MR. KO:
    10      Q. Are you aware, in addition to -- so              10      Q. Well, let's take a step back to the
    11 obviously this is -- well, if you look at Page 3 of      11 question I asked before.
    12 this document, there are some question marks --          12      A. Okay.
    13      A. Sure.                                            13      Q. You had indicated that there were certain
    14      Q. -- with respect to what the policy should        14 policies and procedures in place with respect to
    15 say. So this reflects that this is a draft; correct?     15 Mallinckrodt's duties under the CSA; correct?
    16      A. I don't see draft on this document, so I'd       16      A. Yes.
    17 be speculating.                                          17      Q. And what did those policies and procedures
    18      Q. Would you agree with me that a document          18 consist of other than those governing its SOM
    19 that includes some question marks would not be a final   19 obligations?
    20 or formal policy?                                        20      A. Security.
    21          MR. O'CONNOR: Objection to form.                21      Q. Anything else?
    22      A. I don't believe it would be.                     22      A. Not that I can recall.
    23 BY MR. KO:                                               23      Q. Do you know whether or not Mallinckrodt
    24      Q. And I know I asked you about prior to this       24 had any policies and procedures with respect to its

                                                     Page 155                                                    Page 157
     1 time period, but following November of 2009, do you      1 customer audit programs?
     2 recall seeing any written policies or procedures         2           MR. O'CONNOR: Objection to form.
     3 governing existing customer accounts or new customer 3           A. Yes, I think we did.
     4 accounts?                                                4 BY MR. KO:
     5      A. Yes.                                             5       Q. And was there ever a time when
     6      Q. And when -- approximately when were those 6 Mallinckrodt had a policy or procedure with respect to
     7 policies in place?                                       7 specific customer accounts that it had deemed to be
     8      A. I don't recall the dates.                        8 potentially suspicious?
     9      Q. At some point after 2009, though; correct?       9           MR. O'CONNOR: Objection to form.
    10      A. That's my recollection.                         10       A. I don't recall that.
    11      Q. And approximately how many policies have 11 BY MR. KO:
    12 you either reviewed or has Mallinckrodt implemented 12           Q. Okay. Fair enough. You can set this one
    13 since 2009?                                             13 aside, and I want to -- before breaking for lunch,
    14          MR. O'CONNOR: Objection to form and            14 let's just go over one more document.
    15 scope.                                                  15       A. Okay.
    16      A. My recollection is that there's several         16       Q. This will be Gillies Exhibit 13.
    17 that I reviewed.                                        17           [Exhibit Mallinckrodt-Gillies-013
    18 BY MR. KO:                                              18           marked for identification.]
    19      Q. So in addition to -- well, Mallinckrodt         19       Q. For the record, this ends in Bates
    20 had certain policies and procedures with respect to its 20 4154297. And this particular document is dated
    21 SOM program, as we discussed; correct?                  21 November 4th, 2009.
    22      A. Correct.                                        22           Do you see that, Mr. Gillies?
    23      Q. And in addition to those policies and           23       A. Yes.
    24 procedures, did Mallinckrodt also have other policies   24       Q. And this -- the subject of this particular

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     1 policy is identification and review of peculiar orders,     1   A. Correct.
     2 controlled substance suspicious order monitoring         2 BY MR. KO:
     3 program.                                                 3      Q. And this particular algorithm or formula
     4           Did I read that correctly?                     4 that is being utilized -- does this refresh your
     5      A. Yes.                                             5 recollection at all as to how long prior to November
     6      Q. And Karen Harper continues to be the             6 2009 Mallinckrodt may have been utilizing this formula?
     7 originator of this document?                             7          MR. O'CONNOR: Objection to form.
     8      A. Yes.                                             8      A. No.
     9      Q. And turning your attention to the second         9          MR. KO: Okay. We can take a break for
    10 page of this document, there's a reference to the       10 lunch.
    11 algorithm or criteria that we were discussing           11          MR. O'CONNOR: Sounds good.
    12 previously; correct?                                    12      A. May I take this document so I can ask that
    13      A. Yes.                                            13 legal question?
    14      Q. And the specific definition of a peculiar       14          MR. KO: You can -- let's --
    15 order as defined by this policy is an order that is     15          MR. O'CONNOR: We can go off the record.
    16        the average amount of product ordered during the 16          MR. KO: Yeah, we can go off the record.
    17 previous 18 months by DEA reporting class; correct?     17          THE VIDEOGRAPHER: We are going off the
    18      A. Yes.                                            18 record at 12:47 PM.
    19      Q. So is it accurate to say that as of             19          [A recess was taken.]
    20 November 2009 -- or strike that.                        20          THE VIDEOGRAPHER: We are back on the
    21           Is it accurate to say that November 2009      21 record at 1:37 PM.
    22 is the first time there is mention of a specific        22 BY MR. KO:
    23 algorithm that will be utilized to determine whether or 23      Q. Welcome back from lunch, Mr. Gillies.
    24 not an order is peculiar in an SOM written policy?      24      A. Thank you.

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     1          MR. O'CONNOR: Objection to form.                  1      Q. Before we broke, we were discussing
     2      A. No.                                                2 Exhibit 13, and I just had a couple follow-up questions
     3 BY MR. KO:                                                 3 before we move on to the next exhibit.
     4      Q. Did you recall seeing any other documents          4           Can you turn to the top of Page 3? And at
     5 prior that predate November of 2009 that memorialize       5 the top of Page 3 there's a reference to -- there's a
     6 the written -- or that memorialize the algorithm that      6 Number 4, and there's a reference to reviewing the
     7 Mallinckrodt was going to utilize for purposes of          7 order based on the criteria. Do you see that?
     8 defining a peculiar order?                                 8      A. Number 4, yes.
     9      A. Yes, I believe there was a document that           9      Q. And then there's some language that says,
    10 you showed me earlier. Wasn't there a reference to the 10 quote, we should probably rephrase this to something
    11 algorithm in that?                                        11 like place the order in appropriate hold status while
    12      Q. For purposes of -- I see what you're              12 being evaluated, end quote.
    13 saying, but for purposes -- I'm just asking for           13           Did I read that correctly?
    14 purposes of defining a peculiar order in the draft        14      A. Yes.
    15 written policy, is this the first time you see a          15      Q. And so does that -- does this language
    16 reference made to an algorithm?                           16 indicate that this version is still in draft form?
    17      A. Okay. In that particular definition?              17      A. I don't know that, but I think it's fair
    18      Q. Correct.                                          18 to say that.
    19      A. Yes.                                              19      Q. So this particular document dated
    20      Q. And in the prior drafts that we had seen,         20 11-4-2009 regarding Mallinckrodt's controlled substance
    21 there was no mention to the specific algorithm that was 21 suspicious order monitoring program appears to be a
    22 being utilized for purposes of defining a peculiar        22 draft; is that fair to say?
    23 order; correct?                                           23      A. Yes.
    24          MR. O'CONNOR: Objection to form.                 24      Q. You can set that one aside. And I'm going

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     1 to now hand you a copy of what will be marked as              1 order history?
     2 Gillies Exhibit --                                            2      A. Yes.
     3           [Exhibit Mallinckrodt-Gillies-014                   3          MR. O'CONNOR: Objection.
     4           marked for identification.]                         4 BY MR. KO:
     5      Q. This is one document, which for the record            5      Q. And do you have any understanding of why
     6 is a cover e-mail and an attachment, and the cover            6 this change occurred with respect to Mallinckrodt's
     7 e-mail is Bates MNK-T1_0000264240.                            7 peculiar order algorithm?
     8           And then the attachment ends in 264260,             8      A. It's my understanding under the        that
     9 and I'll represent for the record and for counsel there       9 there were too many hits on the algorithm, and our
    10 are a series of attachments to this cover e-mail, and        10 outside DEA consultant advised that if you have too
    11 this, for efficiency purposes, is just one of the            11 many hits hitting your peculiar order report and none
    12 attachments that's referenced in the e-mail.                 12 of them are, you should change it to focus a little bit
    13      A. Okay.                                                13 more on those that could truly be peculiar.
    14      Q. First let's turn to the policy -- the                14 BY MR. KO:
    15 draft policy ending in 260.                                  15      Q. And this outside DEA consultant, was that
    16           This particular policy is dated October            16 Mr. Sapienza?
    17 29th, 2010; correct?                                         17      A. Sapienza. Yeah.
    18      A. Yes.                                                 18      Q. Sapienza? Okay. And other than Mr.
    19      Q. And again, this is a policy that governs             19 Sapienza, did Mallinckrodt obtain any other advice with
    20 Mallinckrodt's SOM program; is that accurate?                20 respect to changing the algorithm from       to ?
    21      A. Yes.                                                 21      A. Not that I'm --
    22      Q. And in the prior version that we were --             22          MR. O'CONNOR: Object -- I'm just going to
    23 if you go to the -- if you turn to Page 2 of this            23 object to the extent that involves any attorney-client
    24 policy.                                                      24 communications.

                                                         Page 163                                                        Page 165
     1       A. What -- I'm sorry. Which one? The                    1      A. Not that I'm aware of, other than their
     2 current one you just gave me?                                 2 experience with the previous algorithm and then the
     3       Q. Yeah, the one I just gave you.                       3 information they got from the consultant.
     4       A. Oh, okay. Okay.                                      4 BY MR. KO:
     5       Q. Sorry. I was just giving your counsel an             5      Q. And so in addition to changing the formula
     6 extra copy.                                                   6 from       to     the average amount, the time period
     7       A. Oh, okay.                                            7 that's reviewed is decreased from 18 months to 12
     8       Q. Page 2 of this policy has a reference to             8 months as well; correct?
     9 peculiar order like the other ones; correct?                  9      A. Yes.
    10       A. Yes.                                                10      Q. And so again, just so the record is clear,
    11       Q. And here you have a definition of a                 11 your testimony is that the intent behind doing this was
    12 peculiar order as being one that is, quote, controlled       12 to minimize the amount of peculiar order reports that
    13 substance order that meets an internal established           13 were being produced?
    14 criteria of    the average amount of product ordered         14           MR. O'CONNOR: Objection to form.
    15 during the previous 12 months by DEA reporting class.        15      A. From the experience of reviewing the
    16          Did I read that correctly?                          16 previous algorithm reports, it was -- there were too
    17       A. Yes.                                                17 many hits on the system, and an outside consultant said
    18       Q. And so in the prior version we just looked          18 if there's too many, then it's -- and none of them were
    19 at, the peculiar order algorithm was      the average        19 turning out to be suspicious, that we needed to tighten
    20 amount of product ordered during the prior 18 months by      20 that up a little bit.
    21 DEA reporting class; correct?                                21 BY MR. KO:
    22       A. Correct.                                            22      Q. And the reason why you moved down from 18
    23       Q. So does this policy reflect a revision in           23 months to 12 months and up from          to     is to, as you
    24 the peculiar order algorithm to      the prior 12-month      24 say, tighten up the amount of orders that were reported


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     1 under the peculiar order standard?                             1 regarding its SOM program; correct?
     2      A.   That were hitting the report; correct.               A. That's what I said, yes.
                                                                      2
     3      Q.   Now, turning to the cover e-mail that                Q. At the beginning of this e-mail, Ms.
                                                                      3
     4 attaches this particular document, there's an e-mail    4 Harper states Howard, please revise the QSP order
     5 from Karen Harper to Howard Davis dated November 18th,  5 monitoring document incorporating recent program
     6 2010. Do you see that?                                  6 enhancements with recent activities.
     7      A. Yes.                                            7          Do you see that portion of the e-mail?
     8      Q. Do you know who Howard Davis is?                8      A. I do.
     9      A. He was another outside consultant that we       9      Q. And do you have an understanding of what
    10 hired on a contract basis.                             10 QSP order monitoring document is referring to?
    11      Q. And was he another outside consultant that     11      A. No.
    12 Mallinckrodt hired on a contract basis to specifically 12      Q. Do you have any reason to believe that Ms.
    13 advise Mallinckrodt regarding its suspicious order     13 Harper is not asking Mr. Davis to revise the SOM policy
    14 monitoring program?                                    14 that we were just looking at that's included as an
    15         MR. O'CONNOR: Objection to form.               15 attachment to this exhibit?
    16      A. I believe that to be the main reason.          16          MR. O'CONNOR: Objection to form.
    17 BY MR. KO:                                             17      A. Again, I'm unfamiliar with what she's
    18      Q. Do you have any understanding of what          18 referring to as the QSP order monitoring document and
    19 other reasons he may have been retained for?           19 this attached document. I don't see a reference to
    20      A. I can't recall the details in the contract     20 that QSP, so I don't know.
    21 specifically whether there were other items that he    21 BY MR. KO:
    22 would assist on.                                       22      Q. Fair enough.
    23      Q. And separate and apart from the contract,      23      A. Okay.
    24 do you have any understanding of what services Howard  24      Q. Do you have -- sure. Do you have any

                                                          Page 167                                                     Page 169
     1 Davis provided when he was retained as an outside              1 understanding of whether or not Mr. Davis was ever
     2 consultant outside of advice he gave on Mallinckrodt's         2 specifically asked to revise a Mallinckrodt suspicious
     3 SOM program?                                                   3 order monitoring policy?
     4         MR. O'CONNOR: Objection to form.                       4      A. No.
     5      A. Not sure I'm understanding the question.               5      Q. Let me quickly hand you a copy of what's
     6 Work outside of work he was doing for Mallinckrodt?            6 going to be marked as Gillies Exhibit 15.
     7 BY MR. KO:                                                     7          [Exhibit Mallinckrodt-Gillies-015
     8      Q. No, I'm only talking about with respect to             8          marked for identification.]
     9 work he did for Mallinckrodt.                                  9      Q. And I apologize. I do believe this
    10      A. Okay.                                                 10 exhibit has been referenced in other documents, but for
    11      Q. So let me rephrase. Because in response               11 purposes of today we'll just go ahead and call it
    12 to my question a moment ago, you were referencing the         12 Gillies Exhibit 15. And it reflects a November 2nd,
    13 contract.                                                     13 2010, memorandum from Howard Davis to Karen Harper
    14      A. Uh-huh.                                               14 ending in Bates 269399.
    15      Q. And I don't mean to put you through a                 15          Mr. Gillies, does this document look
    16 memory test of what the contract may or may not have          16 familiar to you?
    17 said. I'm just simply asking you do you recall whether        17      A. Yes.
    18 or not Mallinckrodt utilized Mr. Davis for any other          18      Q. Is this a document that you reviewed in
    19 purpose outside of advising Mallinckrodt regarding its        19 preparation for this deposition today?
    20 suspicious order monitoring program?                          20          MR. O'CONNOR: You can answer generally
    21      A. Not that I can recall.                                21 whether you've reviewed it.
    22      Q. So it's fair to say that the primary                  22      A. Yes.
    23 reason why Mallinckrodt retained Mr. Davis was to             23 BY MR. KO:
    24 advise -- was for Mr. Davis to advise Mallinckrodt            24      Q. And in this document, Mr. Davis makes

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     1 reference to a certain document titled Mallinckrodt        1 long he was actually retained?
     2 standard operating procedure SOPC hyphen six --            2          MR. O'CONNOR: Objection to form.
     3      A. Yes.                                               3       A. My belief was less than a year.
     4      Q. -- comp 3.0. Do you see that?                      4 BY MR. KO:
     5      A. I'm sorry. That's C hyphen -- where are            5       Q. Less than a year?
     6 you at that you're referencing? Because you said a         6          By the way, do you know who Mr. Davis is?
     7 six, and I don't see a six, and I just want to make        7       A. I know who he is now.
     8 sure. Is the six the S that's there?                       8       Q. You didn't know him -- did you know him --
     9      Q. Sure. I may have misspoke.                         9 at the time you joined Mallinckrodt in 2012, did you
    10      A. Okay. I'm sorry.                                  10 know of Howard Davis?
    11      Q. Let me be clear.                                  11       A. I did not.
    12      A. Okay.                                             12       Q. I'm going to hand you a copy of what's
    13      Q. So the record is clear, Mr. Davis states,         13 going to be marked as or has been marked as Gillies
    14 quote, reference is made to Mallinckrodt standard         14 Exhibit 16.
    15 operating procedure SOPC-S comp 3.0 --                    15          [Exhibit Mallinckrodt-Gillies-016
    16      A. Okay. Thank you.                                  16          marked for identification.]
    17      Q. -- entitled identification and review of          17       Q. And I just have a few questions about
    18 peculiar orders.                                          18 this.
    19      A. Okay.                                             19          For the record, this is a document ending
    20      Q. Did I read that correctly?                        20 in Bates 264275, and it is the global controlled
    21      A. Yes.                                              21 substance compliance procedure as of January 4th, 2011.
    22      Q. Is it fair to say that Mr. Davis is               22          And you see, Mr. Gillies, that this is --
    23 referencing the standard operating procedure referenced   23 continues to be another version of the -- of
    24 as part of Exhibit 14 that we just looked at a moment     24 Mallinckrodt's SOM policy; is that fair to say?

                                                     Page 171                                                   Page 173
     1 ago?                                                       1    A. Yes.
     2      A. Yes.                                             2      Q. And it's dated January 4th, 2011?
     3      Q. And you understood both in your review of        3      A. Yes.
     4 this memorandum and in your preparations that Mr. Davis  4      Q. And for this particular draft or version,
     5 did indeed review certain SOM procedures and policies    5 the peculiar order definition remains the same as the
     6 of Mallinckrodt; correct?                                6 previous version we looked at; correct?
     7      A. Correct.                                         7      A. Correct.
     8      Q. And this memorandum reflects his review          8      Q. So just so the record is clear, as of
     9 and advice to Karen Harper regarding this particular     9 January of 2011, the peculiar order algorithm utilized
    10 SOM policy; correct?                                    10 by Mallinckrodt was a criteria reflecting
    11          MR. O'CONNOR: Objection to form.               11 the average amount of the product ordered during the
    12      A. Yes.                                            12 previous 12 months by DEA reporting class; correct?
    13 BY MR. KO:                                              13      A. Yes.
    14      Q. That's all the questions I have on that.        14      Q. You can set that one aside.
    15 Set that one aside.                                     15         I'm now going to hand you a copy of what
    16          By the way, do you have any understanding      16 will be marked as Gillies Exhibit 17, which for the
    17 of how long Mr. Davis was retained as an outside        17 record is a cover e-mail from April 7th, 2011, ending
    18 consultant for Mallinckrodt?                            18 in Bates 264199.
    19      A. A short time, was my recollection, and his      19         [Exhibit Mallinckrodt-Gillies-017
    20 contract was not renewed.                               20         marked for identification.]
    21      Q. And do you -- I'm trying to get an              21      Q. And an attachment ending in 264199.
    22 understanding of what you mean by short time. Do you    22         MR. KO: Here you go. You can have it.
    23 recall whether or not it was half a year? Are you       23         MR. O'CONNOR: Thanks.
    24 talking a year? Do you have any understanding of how    24      A. Okay.

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     1 BY MR. KO:                                                1 revisions to this particular document; correct?
     2      Q. Just a few questions on this as well.             2      A. She's asking her to clean up the format.
     3 Turn to the attachment.                                   3      Q. Okay. Fair enough.
     4      A. Yeah, I'm sorry. What did you say the             4      A. Okay.
     5 number on the attachment was?                             5      Q. In the April -- in the corresponding April
     6      Q. The attachment ended in Bates 264200.             6 7th e-mail from Eileen to Karen --
     7      A. Okay. Thanks.                                     7      A. Okay.
     8      Q. I may have misspoke. Yeah, you're right.          8      Q. -- Eileen appears to make some additions
     9 The cover e-mail ends in 199.                             9 to the document; is that correct?
    10      A. Okay.                                            10      A. I'm sorry. I didn't read that part.
    11      Q. The attachment ends in 200.                      11 So -- yes.
    12      A. I just wanted to make sure we were looking 12            Q. So does this e-mail reflect that the
    13 at the same document.                                    13 attachment ending in Bates 200 is a draft written
    14      Q. Yeah. Thank you for that clarification.          14 policy of Mallinckrodt's SOM program?
    15          So this is another version or draft of          15      A. Again, it doesn't say draft on here. So
    16 Mallinckrodt's SOM written policy dated March 28th, 16 she could have been making some enhancements to an
    17 2011; correct?                                           17 actual policy.
    18      A. Yes.                                             18      Q. I understand that. But as it relates to
    19      Q. And by this, just so the record is clear,        19 this particular -- I have a specific question with
    20 I'm referring to the document ending in Bates 200.       20 respect to this policy --
    21          And turning to the next page, again you         21      A. Okay.
    22 see a definition of peculiar order; correct?             22      Q. -- that's attached to this particular
    23      A. Yes.                                             23 e-mail.
    24      Q. And the definition of a peculiar order           24      A. Right.

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     1 remains unchanged from the prior two versions; correct?   1     Q. This document that ends in Bates 200
     2       A. Correct.                                        2 appears to be a draft SOM policy of Mallinckrodt;
     3       Q. So as of March 28th, 2011, the formula          3 correct?
     4 utilized by Mallinckrodt to determine whether or not an  4      A. I don't know that.
     5 order was peculiar was to determine whether or not the   5      Q. So I'll represent to you that this
     6 order was               the average amount of product    6 attachment that is referenced in Eileen's e-mail to
     7 ordered during the previous 12 months by DEA reporting   7 Karen is in fact the attachment that's part of this
     8 class; correct?                                          8 e-mail.
     9       A. Correct.                                        9      A. Okay.
    10       Q. And going back to the cover e-mail ending      10      Q. And so with that representation, would you
    11 in 199, I believe there's a reference made to a --      11 agree with me that the policy dated March 28th, 2011,
    12           MR. KO: Thanks, Andrew.                       12 ending in dash 200 is a draft version of Mallinckrodt's
    13 BY MR. KO:                                              13 SOM policy, or is it your belief -- or you can't answer
    14       Q. Well, let me ask it this way. So there's       14 that question?
    15 a -- this is an e-mail exchange between Eileen          15      A. Well, again, I'll stick with my original
    16 Spaulding and Karen Harper from the March and April of 16 answer, which is no, it could be revisions to an
    17 2011 time period; correct?                              17 existing policy. So I don't know that to be a draft.
    18       A. Yes.                                           18 I guess that's what I'm saying.
    19       Q. And is it fair to say that Karen is asking     19          So if I knew this to be a draft, fine, but
    20 Eileen to make some revisions to this particular        20 I don't know this to be a draft, so these could be
    21 policy? Correct?                                        21 revisions she made to an existing policy.
    22       A. Could you repeat your question?                22      Q. Fair enough.
    23       Q. Sure. In the underlying e-mail dated           23      A. Okay.
    24 March 30th, 2011, Karen is asking Eileen to make some   24      Q. Do you know -- have you seen -- in any of

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     1 the review of your documents in preparation for this         1  A. Yes.
     2 deposition, have you ever seen an SOM written policy in  2      Q. And it indicates that she is senior
     3 this time period of March 28th, 2011, that reflects a    3 manager of controlled substance compliance; correct?
     4 formal written policy of Mallinckrodt?                   4      A. Yes.
     5           MR. O'CONNOR: Objection to form.               5      Q. And earlier I know you had said that you
     6       A. This may have been one of the documents         6 were unaware of whether or not there was controlled
     7 that I reviewed, and it appears to me to be a formal     7 substance compliance group. Does this refresh your
     8 written policy.                                          8 recollection at all that there was in fact such a group
     9 BY MR. KO:                                               9 at Mallinckrodt?
    10       Q. But in the cover e-mail, there are some        10      A. So I'm going to take this that the DEA
    11 changes being made; is that fair?                       11 compliance and the controlled substance compliance are
    12       A. That's fair.                                   12 the same.
    13       Q. And so all I'm asking is that for this         13      Q. Okay. Fair enough. So is it your
    14 particular document ending in dash 200, that appears to 14 understanding that there were certain times at
    15 be a draft policy because Eileen and Karen are making   15 Mallinckrodt where the DEA compliance group was also
    16 some slight changes to it; is that correct?             16 referred to as the controlled substance compliance
    17       A. No, that's not my testimony. My testimony      17 group?
    18 is that I don't know this to be a draft, and this could 18      A. So my recollection is I only knew that
    19 be a formal policy in play that has some revisions made 19 group as DEA compliance.
    20 to it. That's --                                        20      Q. And you have no recollection of whether or
    21       Q. Sure. Fair enough. Do you recall seeing        21 not there was an actual or formal group called the
    22 a formal policy during the March 2011 time period       22 controlled substance compliance group at Mallinckrodt?
    23 regarding Mallinckrodt's SOM program?                   23         MR. O'CONNOR: Objection to form.
    24       A. Again, I may have reviewed this policy.        24      A. I'm unaware of that, and from looking at

                                                        Page 179                                                   Page 181
     1      Q. And is it your testimony that Mallinckrodt           1 this title I believe them to be the same.
     2 did in fact have a formal written policy as of 2011          2 BY MR. KO:
     3 regarding its SOM program?                                   3      Q. And do you have any understanding -- or
     4          MR. O'CONNOR: Objection to form.                    4 did you review any documents that predate August 2011
     5      A. That's my understanding.                             5 that may have referenced a controlled substance
     6 BY MR. KO:                                                   6 compliance group?
     7      Q. And who informed you that the particular             7      A. So some of the previous documents that you
     8 version that you may have looked at was in fact the          8 showed me had that same title -- or that same name
     9 formal policy regarding Mallinckrodt's SOM program?          9 after Karen's title, so the answer to your question is
    10      A. I didn't say anybody did. I said that I             10 yes.
    11 may have reviewed this during that period and made that     11      Q. But -- and your testimony is that you
    12 conclusion on my own.                                       12 believe them to be essentially synonymous; is that
    13      Q. I see. We can set that one aside.                   13 correct?
    14      A. Okay.                                               14      A. That's correct.
    15      Q. We will now go over what's been marked as           15      Q. And for this particular document, if you
    16 Gillies Exhibit 18. Excuse me.                              16 look at the top of Page 2, the definition of peculiar
    17          [Exhibit Mallinckrodt-Gillies-018                  17 order is again set forth. Do you see that?
    18          marked for identification.]                        18      A. Yes.
    19      Q. And for the record, this ends in Bates              19      Q. And as with the previous three versions
    20 259166, and this is titled Mallinckrodt suspicious          20 that we have looked at, the definition of a peculiar
    21 order monitoring procedure dated August 8th, 2011.          21 order remains unchanged. Is that accurate?
    22          On this particular document, the                   22      A. Yes.
    23 originator continues to be Karen Harper. Do you see         23      Q. So as of August 8th, 2011, so the record
    24 that?                                                       24 is clear, Mallinckrodt utilized a peculiar order


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     1 algorithm which identified a peculiar order as one        1 suspicious orders. Is that fair to say?
     2 being an order that was               the average amount 2       A. Yes.
     3 of product ordered by -- or ordered during the previous 3        Q. And the change -- is it accurate to say
     4 12 months by DEA reporting class; correct?                4 that this document reflects a description of how
     5      A. Yes.                                              5 Mallinckrodt is moving from a peculiar order
     6      Q. Set that one aside. Move on to what's             6 classification or system to an unusual order system?
     7 going to be marked as Gillies Exhibit 19. And this        7          MR. O'CONNOR: Objection to form.
     8 document ends in Bates 571916.                            8      A. Yes.
     9          [Exhibit Mallinckrodt-Gillies-019                9 BY MR. KO:
    10          marked for identification.]                     10      Q. And in this document, there's an
    11      Q. So earlier today we had discussed the fact       11 indication that, quote, target date for go live for the
    12 that Mallinckrodt had a two-tier or sometimes            12 unusual order detection system is March 1st, 2012.
    13 three-tier structure in identifying suspicious orders;   13          Did I read that correctly?
    14 correct?                                                 14      A. Yes.
    15      A. Correct.                                         15      Q. Do you have any reason to dispute that the
    16      Q. And in all of the documents that we just         16 unusual order detection system was in fact implemented
    17 looked at and all the policies, the definition of a      17 at some point in early 2012?
    18 peculiar order -- or excuse me -- the tier system in     18      A. I think that's accurate.
    19 identifying a suspicious order included an initial       19      Q. And can you explain to the court what the
    20 determination of whether or not an order was peculiar; 20 difference is between -- or can you explain to the
    21 correct?                                                 21 court why there was a change made to the unusual order
    22      A. Correct.                                         22 system?
    23      Q. And at some point in time Mallinckrodt           23          MR. O'CONNOR: Objection to form.
    24 moved to a definition -- or strike that.                 24      A. No.

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     1            At some point in time Mallinckrodt removed       1 BY MR. KO:
     2 the definition of a peculiar order for purposes of          2      Q. You don't have an understanding of why
     3 identifying a suspicious order; is that accurate?           3 Mallinckrodt changed from a peculiar order system to an
     4            MR. O'CONNOR: Objection to form.                 4 unusual system?
     5       A. I'm not aware of that.                             5          MR. O'CONNOR: Objection to form.
     6 BY MR. KO:                                                  6      A. I believe them to be synonymous.
     7       Q. You have no recollection of whether or not         7 BY MR. KO:
     8 Mallinckrodt had moved to a definition of an unusual        8      Q. So was this just a matter of changing
     9 order for purposes of identifying a suspicious order?       9 terminology?
    10       A. I'm sorry. Yes.                                   10          MR. O'CONNOR: Objection to form.
    11       Q. And that occurred in generally the late           11      A. That's my understanding.
    12 2011, early 2012 time period; correct?                     12 BY MR. KO:
    13       A. Yes.                                              13      Q. And here there's a reference made I
    14       Q. And this particular document -- it's not          14 believe for the first time to the three-tier system
    15 in the same format as all those other policies, but        15 that you were alluding to earlier. Do you see
    16 it's titled modifications to procedures for                16 reference to that?
    17 identification and review of unusual orders. Correct?      17      A. I do.
    18       A. Yes.                                              18      Q. And can you describe what those three
    19       Q. And it appears to be dated December 8th,          19 tiers were?
    20 2011?                                                      20      A. Tier 1 was the big three distributors plus
    21       A. Yes.                                              21 H.D. Smith, oxycodone 15s, and oxycodone 30s.
    22       Q. And there's a description -- we don't need        22          Tier 2 were the other distributors and all
    23 to go over in detail, but there's a description of how     23 their products plus the big three and H.D. Smith's
    24 the then-existing algorithm worked for identifying         24 other products.


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     1         And then Tier 3 were new SKUs outside of           algorithm designed to restrict increases over time that
                                                                    1
     2 those products, and that was used for a short time and   2 will apply to orders from all other customers of SKUs
     3 then incorporated into the other two tiers.              3 identified by DEA as particularly subject to diversion
     4      Q. Okay. And approximately how long was this        4 and abuse.
     5 three-tier system utilized?                              5           Did I read that correctly?
     6      A. I believe approximately three to six             6      A. Yes.
     7 months, maybe.                                           7      Q. Do you know whether or not that particular
     8      Q. In the 2012 time period?                         8 tier was ever utilized in connection with
     9      A. Yes.                                             9 Mallinckrodt's SOM program?
    10      Q. And turning back to this document, there        10      A. I mean, the tier continues right on the
    11 actually is a reference made underneath the general     11 second page. So if I could just --
    12 section we were just looking at about the tiers. Do     12      Q. Fair enough. And take your time to read
    13 you see that -- Tier 1?                                 13 that. I'll let you review that.
    14      A. Yes.                                            14      A. All right, thanks. Okay. So can you
    15      Q. And then there's Tier 2 and 3 later on?         15 repeat your question now?
    16      A. Could have read this. Right --                  16      Q. Sure. Was the description contained in
    17      Q. In Tier 1 -- and I appreciate the response      17 this particular exhibit regarding Tier 2 ever utilized
    18 that you gave, but Tier 1 seems to reflect what you had 18 or memorialized in a Mallinckrodt SOM policy?
    19 just described; correct?                                19           MR. O'CONNOR: Objection to form.
    20      A. Yes.                                            20      A. I believe, yes.
    21      Q. In other words, Mallinckrodt was trying to      21 BY MR. KO:
    22 design an SOM program that would focus on oxy 15s and 22        Q. And approximately when was that?
    23 oxy 30s; correct?                                       23      A. The same time frame.
    24      A. Correct.                                        24      Q. And was it --

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     1           MR. O'CONNOR: Objection to form.                   1      A. Oh. December 2011. Yeah, so again, the
     2       A. Correct.                                            2 date on this is December 2011, and my understanding is
     3 BY MR. KO:                                                   3 that this procedure went into play in March of 2012.
     4       Q. And in particular -- strike that.                   4      Q. And in fact, the procedure outlined here
     5           In addition, Mallinckrodt was also trying          5 with respect to Tier 2 and Tier 3 -- is it your
     6 to design an SOM program that was specifically focused       6 testimony that those tiers were in fact utilized as of
     7 on ABC, Cardinal, McKesson, and H.D. Smith; correct?         7 March of 2012?
     8           MR. O'CONNOR: Objection to form.                   8      A. Yes.
     9       A. Yes.                                                9      Q. You can set that document aside. I'm
    10 BY MR. KO:                                                  10 going to hand you what's just been marked as Gillies
    11       Q. And earlier you had said the big three             11 Exhibit 20.
    12 plus H.D. Smith. These are the four distributors that       12          [Exhibit Mallinckrodt-Gillies-020
    13 were customers of Mallinckrodt that it was focusing on      13          marked for identification.]
    14 for purposes of its SOM program at this time; correct?      14      Q. And this document ends in Bates 2357607,
    15       A. Correct.                                           15 and it is titled identification and an investigation of
    16           MR. O'CONNOR: Objection to form.                  16 unusual orders of controlled substances and reports of
    17 BY MR. KO:                                                  17 suspicious orders of controlled substances. Do you see
    18       Q. And in your description that you gave a            18 that?
    19 moment ago regarding Tiers 2 and 3, that seems to be a      19      A. Yes.
    20 little different than what's referred to in this            20      Q. There's no date on this particular
    21 particular document.                                        21 document, but there is a reference in the top
    22       A. Okay.                                              22 right-hand corner that says that it's new. Do you see
    23       Q. And here -- in particular, this document           23 that?
    24 indicates that Tier 2 is, quote, an enhanced standard       24      A. I do.

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     1      Q. And I know you said earlier that you've              1       A. That's my understanding.
     2 reviewed some SOM policies in preparation for this           2       Q. We can set that one aside. I'm going to
     3 deposition.                                                  3 hand you now a copy of what will be marked as Gillies
     4          Do you recall reviewing this SOM policy?            4 Exhibit 21, which is a cover e-mail from Eileen to
     5      A. I believe I did.                                     5 Karen Harper dated September 20th, 2012, together with
     6      Q. And is this the policy -- so a moment ago            6 an attachment that begins on Bates 7728782.
     7 we were talking about the unusual order system, the          7          [Exhibit Mallinckrodt-Gillies-021
     8 target date for that system to go live as of March of        8          marked for identification.]
     9 2012.                                                        9       Q. So before -- we can look at the cover
    10          Does this particular policy reflect the            10 e-mail in a moment, but looking at the policy itself,
    11 new revised system that Mallinckrodt implemented at         11 this appears to be another written policy of
    12 that time?                                                  12 Mallinckrodt's SOM program; is that correct?
    13          MR. O'CONNOR: Objection to form.                   13       A. Yes.
    14      A. I believe it did.                                   14       Q. And there's no date, similar to the one we
    15 BY MR. KO:                                                  15 just looked at, but the cover e-mail for this
    16      Q. And in this particular document there are           16 particular attachment is from September of 2012;
    17 definitions made to unusual order and suspicious order.     17 correct?
    18 Do you see that?                                            18       A. Yes.
    19      A. Yes.                                                19       Q. So in September of 2012 Mallinckrodt is
    20      Q. And similar to some of the prior policies           20 making revisions to its SOM policy; correct?
    21 that we were discussing earlier today that first            21       A. Correct.
    22 determined whether an order was peculiar and then           22       Q. And in the definitions section, there
    23 subsequently analyzed for whether or not the order was      23 is -- you see that there is a reference to Tiers 1 and
    24 suspicious, here we have a multitiered approach as well     24 2 but not Tier 3?

                                                      Page 191                                                     Page 193
     1 that distinguishes between an unusual order and a            1   A. Correct.
     2 suspicious order; correct?                               2       Q. And so earlier when we had discussed the
     3          MR. O'CONNOR: Objection to form.                3 period of time in which there was a three-tiered
     4      A. Yes.                                             4 structure and it moved back to a two-tiered structure,
     5 BY MR. KO:                                               5 is it your recollection that by September of 2012
     6      Q. And an unusual order is one -- well, let         6 Mallinckrodt had a two-tiered structure to identify
     7 me read it so that the record is clear.                  7 whether an order was unusual?
     8          An unusual order. An order received by          8       A. Yes.
     9 Mallinckrodt directly from a customer for a Schedule II  9       Q. And so is it fair to say from March of
    10 through V controlled substance product which exceeds    10 2012 through September of 2012, Mallinckrodt utilized a
    11 the internal limit set by the application of the        11 three-tiered structure to analyze whether an order was
    12 three-tiered system of specifically-created algorithms  12 unusual?
    13 defined in this policy.                                 13       A. Yes.
    14          Did I read that correctly?                     14       Q. And after moving back to two tiers to
    15      A. Yes.                                            15 define an unusual order, has there been any point in
    16      Q. And that three-tiered system is defined         16 time from 2012 to present in which Mallinckrodt
    17 later on in 4.3 through 4.5 of the definitions,         17 utilized anything other than a two-tiered structure to
    18 correct, on the first page?                             18 determine whether or not an order was unusual?
    19      A. Oh. Okay. Yes.                                  19          MR. O'CONNOR: Objection to form.
    20      Q. So in other words, if through analysis of       20       A. Not that I'm aware of.
    21 Tiers 1 through 3 an order is triggered as being        21 BY MR. KO:
    22 unusual, it would warrant further investigation to      22       Q. And if we examine the -- this particular
    23 determine whether or not an order was suspicious        23 draft, there is no reference made to suspicious order.
    24 sufficient to notify the DEA; correct?                  24 Do you see that?


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     1       A. Well, I mean, under 4.1 it says unusual               1 made to both the average number of orders and the
     2 orders will be reported to DEA upon discovery as               2 average number of volume. Do you see that?
     3 suspicious orders in accordance with the CFR.                  3      A. Yes.
     4       Q. Okay. Fair enough. I guess I meant to                 4      Q. So in order to trigger this algorithm
     5 say in the prior version there was a clear definition          5 referenced in Tier 2, did the order have to be both
     6 of an unusual order and a clear definition of                  6              the average number of orders and
     7 suspicious order; correct?                                              the average of volume in order to trigger the
     8       A. Okay. Yes.                                            8 unusual orders algorithm set forth in this policy?
     9       Q. And in this version the definition for                9          MR. O'CONNOR: Objection to form.
    10 suspicious order is removed; correct?                         10      A. So the way I read 4.3, yes.
    11          MR. O'CONNOR: Objection to form.                     11 BY MR. KO:
    12       A. Correct. I do not see that definition.               12      Q. And prior -- it's fair to say that prior
    13 BY MR. KO:                                                    13 to two thousand -- September of 2012, Mallinckrodt did
    14       Q. And in the two-tiered system that now                14 not utilize or did not investigate into the total
    15 comprises the unusual orders algorithm, do you have an        15 average volume of a product that was ordered during a
    16 understanding of why that change was made from three          16 prior time period?
    17 tiers back down to two?                                       17          MR. O'CONNOR: Objection to form.
    18       A. It was my understanding that the third               18      A. I'm not aware of that.
    19 tier was incorporated into the Tier 2.                        19 BY MR. KO:
    20       Q. And so in other words -- well, how was it            20      Q. Did you ever see reference to any written
    21 incorporated?                                                 21 SOM policy prior to September of 2012 that incorporated
    22       A. It's my understanding that there were few,           22 historical overview of the average volume of a product
    23 if any, that fell into that Tier 3 category, and that         23 ordered by a particular customer?
    24 if it were to -- if that category or that instance were       24          MR. O'CONNOR: Objection to form.

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     1 to happen, it would now be picked up by Tier 2.                1  A. Not that I can recall.
     2      Q. I see. And so when you say that there              2 BY MR. KO:
     3 were few, if any, that fell into the Tier 3 category,      3      Q. And in this document, the Tier 1 sets
     4 that was the Tier 3 category that was in existence from    4 forth a tier devoted to oxy 15s and oxy 30s by certain
     5 March of 2012 through September of 2012?                   5 distributors; correct?
     6      A. That's right. So this would have been an           6      A. Yes.
     7 enhancement to that based on the experience over the       7      Q. And --
     8 previous six months.                                       8      A. Similar to the previous.
     9      Q. And with respect to Tier 2, the standard           9      Q. Right. And there was -- well, explain to
    10 algorithm is referenced as follows.        the average    10 the court why it was important for Mallinckrodt to
    11 number of orders of a product during the previous 18      11 focus on oxy 15s and oxy 30s and set that apart for
    12 months by the customer, and, B,        the average volume 12 purposes of its SOM policy.
    13 of product ordered during the previous 18 months by the 13            MR. O'CONNOR: Objection to form.
    14 customer.                                                 14      A. These were our largest customers.
    15         Did I read that correctly?                        15 BY MR. KO:
    16      A. Yes.                                              16      Q. And by largest customers you mean ABC,
    17      Q. And so what's different about this                17 McKesson, Cardinal, and H.D. Smith?
    18 particular algorithm is that there's an increase in the   18      A. Yes.
    19 time period; is that correct?                             19      Q. And what about with respect to oxy 15s and
    20      A. Yes.                                              20 oxy 30s? Were -- was that the primary -- or did those
    21      Q. From 12 months to 18 months?                      21 prescription opioids reflect the majority of drugs
    22      A. Correct.                                          22 manufactured by Mallinckrodt during this time?
    23      Q. And there's -- what I want to understand          23      A. I don't know that to be the case.
    24 and make sure I have correct is that there's reference    24      Q. Is it accurate to state that following the

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     1 August 2011 meeting that we had discussed before with      1 as particularly subject to diversion and abuse, end
     2 the DEA, the DEA was particularly concerned about          2 quote.
     3 diversion of oxy 15s and oxy 30s of -- manufactured by     3          Did I read that correctly?
     4 Mallinckrodt; correct?                                     4      A. Yes.
     5          MR. O'CONNOR: Objection to form.                  5      Q. Were there any other drugs that the --
     6      A. I don't know that that characterizes the           6 prior to 2012 that the DEA had informed Mallinckrodt of
     7 meeting accurately. From my recollection, they were        7 being subject to diversion and abuse?
     8 telling us that they were concerned about oxy 15s and      8          MR. O'CONNOR: Objection to form.
     9 oxy 30s, and I don't know that they qualified it saying    9      A. Not that I'm aware of.
    10 that it was just Mallinckrodt oxy 15s or 30s.             10 BY MR. KO:
    11 BY MR. KO:                                                11      Q. Do you know whether or not the DEA had
    12      Q. Fair enough. Mallinckrodt manufactures            12 informed Mallinckrodt that the methadone that it was
    13 oxy 15s and oxy 30s; correct?                             13 manufacturing was subject to diversion and abuse?
    14      A. That's correct.                                   14          MR. O'CONNOR: Objection to form.
    15      Q. And Mallinckrodt has been manufacturing           15      A. No.
    16 those products for -- since at least the mid-2000s;       16 BY MR. KO:
    17 correct?                                                  17      Q. You have no knowledge of that, or you
    18      A. That's my understanding.                          18 believe --
    19      Q. And when you said a moment ago that --            19      A. I'm not aware of that.
    20 when you were talking about your recollection of what     20      Q. You're not aware of that? Okay. In
    21 the DEA said, that was through your review of             21 addition to oxy 15s and oxy 30s, Mallinckrodt
    22 documents; correct?                                       22 manufactured other prescription opioids; correct?
    23      A. Correct.                                          23      A. Correct.
    24      Q. In other words, I mean, you weren't at the        24      Q. Including from the hydrocodone and

                                                     Page 199                                                       Page 201
     1 meeting?                                                   1 hydromorphone molecules?
     2      A. I was not.                                         2      A. Yes.
     3      Q. That predates your --                              3      Q. And do you recall prior to 2012 whether or
     4      A. It does.                                           4 not the DEA had any communications with Mallinckrodt
     5      Q. -- employment with Mallinckrodt; correct?          5 regarding whether or not these products were subject to
     6      A. Correct.                                           6 diversion and abuse?
     7      Q. And so going back to this document, there          7      A. No.
     8 is obviously a specific reference made to oxy 15s and      8      Q. No, you don't have any recollection of
     9 oxy 30s; correct?                                          9 those communications?
    10      A. Yes.                                              10      A. I do not. Yes.
    11      Q. And so why was it the case that                   11      Q. But you don't know whether or not they
    12 Mallinckrodt had designated a specific tier in its SOM    12 happened one way or the other?
    13 policy for oxy 15s and oxy 30s?                           13      A. I have no recollection of that being
    14      A. As we had previously in the policies, I           14 discussed --
    15 believe it came from the discussion with DEA.             15      Q. Got it.
    16      Q. So as a result of DEA's -- is it fair to          16      A. -- prior to this time frame.
    17 say as a result of DEA's increased scrutiny on oxy 15s    17      Q. And what about following September 2012?
    18 and oxy 30s, Mallinckrodt decided to designate those      18 Did Mallinckrodt have any discussions with DEA
    19 particular drugs as part of its SOM written policy?       19 regarding the diversion and abuse potential of any
    20          MR. O'CONNOR: Objection to form.                 20 hydrocodone or hydromorphone products?
    21      A. As a separate tier, yes.                          21      A. I became aware of that.
    22 BY MR. KO:                                                22      Q. During what time period?
    23      Q. And this particular document indicates            23      A. Post-September 2012 time frame.
    24 that, quote, these products have been identified by DEA   24      Q. And when approximately?

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     1      A.    Sometime after September of 2012. So               Q. And do you recall for what time period
                                                                      1
     2 October, November time frame. Late 2012.                2 these discussions covered?
     3      Q. So shortly after?                               3     A. So my recollection is late 2012 into early
     4      A. Shortly after. Yeah.                            4 2013.
     5      Q. I see. So fair to say that in the fall of       5     Q. And do you recall any discussions with the
     6 2012, Mallinckrodt communicated with the DEA regarding  6 DEA regarding the abuse and diversion potential of
     7 the diversion and abuse potential of its hydrocodone    7 hydrocodone and hydromorphone following early 2013?
     8 and hydromorphone products?                             8     A. I have no recollection of any specific
     9      A. Again, not -- it wasn't Mallinckrodt. It        9 discussions on that.
    10 was just you need to start looking at hydrocodone too. 10     Q. Here is a copy of what's going to be
    11          So they didn't say we have a problem with     11 marked as Gillies Exhibit 22.
    12 Mallinckrodt hydrocodone; it's we're seeing a problem  12         [Exhibit Mallinckrodt-Gillies-022
    13 with hydrocodone now too.                              13         marked for identification.]
    14      Q. I understand.                                  14     Q. And for the record, this document ends in
    15      A. Okay. I just want to make sure I'm             15 Bates 7476261, and it is entitled identification
    16 understanding your question, because --                16 investigation reports of controlled substances
    17      Q. Sure. And that's a fair clarification of       17 suspicious orders, effective date October 18th, 2012.
    18 the record.                                            18         Do you recall reviewing this document in
    19      A. Okay.                                          19 preparation for this deposition today?
    20      Q. Mallinckrodt did in fact manufacture           20     A. No.
    21 certain hydrocodone and hydromorphone products;        21     Q. For this particular -- let me take a step
    22 correct?                                               22 back.
    23      A. Correct.                                       23         Did you review any written policies
    24      Q. And it's your testimony today -- is it an      24 regarding Mallinckrodt's SOM procedure in preparation

                                                          Page 203                                                   Page 205
     1 accurate reflection of your testimony that Mallinckrodt        1 for your deposition today?
     2 communicated with the DEA regarding the abuse and              2      A. I believe I did.
     3 diversion potential of hydrocodone and hydromorphone           3      Q. Which ones?
     4 products in general?                                           4          MR. O'CONNOR: I'm going to object.
     5      A.    Yes.                                                5 Again, we're not going to get into the specific
     6      Q.    You can set that one aside.                         6 selection of documents on the basis of work product and
     7           And by the way, with respect to                      7 attorney-client privilege.
     8 hydrocodone and hydromorphone, did those discussions           8 BY MR. KO:
     9 about the abuse and diversion potential of those               9      Q. Did review of those documents help refresh
    10 products -- how long did they last?                           10 your recollection at all as to Mallinckrodt's SOM
    11           MR. O'CONNOR: Objection to form.                    11 policies over time?
    12      A.    I don't know what you mean by the timing           12          MR. O'CONNOR: Objection to form.
    13 of that. You mean like a five-minute meeting or over a        13 Objection to the extent you're asking him to confirm
    14 certain amount of time?                                       14 which documents.
    15 BY MR. KO:                                                    15 BY MR. KO:
    16      Q.    Yeah.                                              16      Q. And I'm not. I'm simply asking whether or
    17      A.    So I'm sorry.                                      17 not review of certain SOM written policies that you
    18      Q.    Fair enough. Did you -- when you began             18 claim you have reviewed help refresh your recollection
    19 having discussions with the DEA about the hydro --            19 regarding SO -- Mallinckrodt's SOM system.
    20 about the abuse and diversion potential of                    20      A. Yes.
    21 hydromorphone and hydrocodone, how -- do you recall how       21      Q. And which specific documents did you
    22 many meetings with the DEA Mallinckrodt had on this           22 review?
    23 topic?                                                        23          MR. O'CONNOR: Again, same objection.
    24      A.    Several, at least.                                 24 Instruct the witness not to answer.


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     1          MR. KO: Okay. Well, and I'll note for             1 of the questions that I want to ask about this.
     2 the record that that's an improper instruction, because    2          This is -- this document reflects that you
     3 anything that refresh the witness's recollection in        3 are part of the SOM leadership team; correct?
     4 terms of preparing for this deposition certainly is not    4      A. Yes.
     5 subject to the privilege.                                  5      Q. And was this the first document that you
     6          MR. O'CONNOR: We can address that issue           6 became -- or the first SOM policy that you became
     7 later.                                                     7 involved in after you joined Mallinckrodt?
     8 BY MR. KO:                                                 8          MR. O'CONNOR: Objection to form.
     9      Q. So just so the record is clear, Mr.                9      A. I don't think so.
    10 Gillies, you did review specific written policies         10 BY MR. KO:
    11 regarding Mallinckrodt's SOM program; correct?            11      Q. So prior to this date you had reviewed
    12      A. Yes.                                              12 some other drafts or policies; correct?
    13      Q. And do you recall approximately how many          13      A. Yes.
    14 you reviewed?                                             14      Q. And for this particular version of the SOM
    15      A. I do not.                                         15 policy, there is a definition of suspicious order. Do
    16      Q. Was it more than five?                            16 you see that -- in 4.1?
    17      A. No.                                               17      A. Yes.
    18      Q. So you reviewed -- was it more than three?        18      Q. And there's no -- the definition of an
    19      A. I don't know how many I did, but I don't          19 unusual order is removed; correct?
    20 believe it was more than five.                            20      A. Yes.
    21      Q. And for what time period did those                21          MR. O'CONNOR: Objection to form.
    22 policies span?                                            22 BY MR. KO:
    23      A. Yeah. I don't recall.                             23      Q. But regardless of the names of the
    24      Q. But you reviewed no more than five written        24 definition, the two-tiered structure for determining

                                                      Page 207                                                   Page 209
     1 policies for a time period you don't recall, is that       1 whether or not an order may potentially be suspicious
     2 accurate, in connection with preparing for this            2 remains the same from the prior version we looked at;
     3 deposition?                                                3 correct?
     4      A. Correct.                                           4      A. Yes.
     5      Q. And you don't recall reviewing -- as we            5      Q. And going back to the SOM leadership team,
     6 discussed earlier, you don't recall reviewing this         6 we see that it's comprised of Don Lohman, you, John
     7 particular one; correct?                                   7 Gillies, Gail Tetzlaff, who you I believe referred to
     8      A. During my preparation for this deposition?         8 before, and Karen Harper.
     9      Q. Yes.                                               9      A. Correct.
    10      A. No.                                               10      Q. Do you see that?
    11      Q. How about outside of the preparation for          11      A. Uh-huh.
    12 the deposition, do you recall ever seeing any             12      Q. Was that the same leadership structure
    13 Mallinckrodt written SOM policies?                        13 that was in place when you joined Mallinckrodt in June
    14      A. Yes.                                              14 of 2012?
    15      Q. Which ones?                                       15          MR. O'CONNOR: Objection to form.
    16      A. I recall this one.                                16      A. Yes.
    17      Q. You do recall reviewing this one, then,           17 BY MR. KO:
    18 but not --                                                18      Q. And I believe you -- again, you referred
    19      A. But now I got the clarification, it wasn't        19 to Gail before, and you referred to the SOM leadership
    20 for this purpose.                                         20 team, but I want to understand clearly whether or not
    21      Q. And you recall --                                 21 this -- well, strike that.
    22      A. And I was employed by Mallinckrodt at this        22          Since 2012 to present, has the composition
    23 time.                                                     23 of the SOM leadership team changed at all?
    24      Q. Okay. We'll get -- that segues into a few         24      A. Yes.

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     1      Q. In what way has it changed?                        1      A. Correct.
     2      A. I believe we have an additional member or          2      Q. And why was this change made?
     3 two to the leadership team.                                3      A. An enhancement to the program. So we had
     4      Q. And who are they?                                  4 the      at one point, then we had the , and through
     5      A. I believe Jason Tilly is part of the               5 time we enhanced the program again, and it's always
     6 leadership team, and I believe there's one other party.    6 undergoing review, and at this point a change was made
     7 But I -- sorry. I can't remember their name.               7 to 2.5.
     8      Q. Okay. Fair enough. And do you recall               8      Q. And it's my understanding that the -- is
     9 when Mr. Tilly was added to the SOM leadership team?       9 it the case that the
    10      A. I don't recall the time frame.                                            order in volume is the current system
    11      Q. And how about the other individual who you        11 in place as well?
    12 don't recall? Do you have any understanding of when       12      A. That's correct.
    13 she or he was added to the team?                          13      Q. So is it accurate to say that from
    14      A. I believe we added another member sometime        14 November 2012 to present the algorithm to detect
    15 in late 2018.                                             15 suspicious order has not changed?
    16      Q. So recently?                                      16           MR. O'CONNOR: Objection to form.
    17      A. Recently. Uh-huh.                                 17      A. That's my understanding.
    18      Q. So fair to say from 2012 through 2018 the         18 BY MR. KO:
    19 composition of the SOM leadership team were the four      19      Q. And just so the record is clear, the -- in
    20 individuals listed here and Mr. Tilly at some point?      20 this particular document, the special attention on oxy
    21          MR. O'CONNOR: Object to form.                    21 15s and 30s distributed by Mallinckrodt's major
    22      A. Yes.                                              22 customers remains to be in the policy; correct?
    23 BY MR. KO:                                                23      A. Correct.
    24      Q. You can set that aside. I'm now going to          24      Q. And in the current iteration of the SOM

                                                    Page 211                                                       Page 213
     1 hand you a copy of what will be marked as -- or what       1 policy, does that Tier 1 still exist?
     2 has been marked as Gillies Exhibit 23.                     2      A. In this policy?
     3          [Exhibit Mallinckrodt-Gillies-023                 3      Q. I'm sorry.
     4          marked for identification.]                       4      A. I'm sorry.
     5      Q. For the record, this ends in Bates                 5      Q. Yeah, I'm sorry if I confused you. In the
     6 5620500.                                                   6 current iteration of Mallinckrodt's SOM policy today,
     7          And this is a document titled                     7 is there still special attention given to oxy 15s and
     8 identification, investigation, and reports of              8 oxy 30s?
     9 controlled substances suspicious orders, effective date    9          MR. O'CONNOR: Objection to form.
    10 November 1st, 2012. Do you see that?                      10      A. Yes.
    11      A. Yes.                                              11 BY MR. KO:
    12      Q. And it appears to supersede the prior             12      Q. And is there still special attention given
    13 version that we just looked at from October 18th, 2012?   13 to oxy 15s and 30s distributed by ABC, McKesson,
    14      A. Yes.                                              14 Cardinal, and H.D. Smith?
    15      Q. And I just have a quick question on this          15          MR. O'CONNOR: Objection to form.
    16 document.                                                 16      A. Yes.
    17      A. Uh-huh.                                           17 BY MR. KO:
    18      Q. Here in Tier 2, there's an adjustment made        18      Q. Okay. Thank you. You can set that aside.
    19 to the algorithm. Is that accurate?                       19          MR. O'CONNOR: Should we take a break?
    20      A. Yes.                                              20          MR. KO: Yeah, sure.
    21      Q. And the specific adjustment that is made          21          THE VIDEOGRAPHER: We are going off the
    22 is from -- down from       to                 of the      22 record at 2:46 PM.
    23 previous 18-month average number of orders in volume;     23          [A brief recess was taken.]
    24 correct?                                                  24          THE VIDEOGRAPHER: We are back on the

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     1 record at 3:06 PM.                                      1      Q. And no more than that additional one;
     2 BY MR. KO:                                              2 correct?
     3     Q. Welcome back from the break. This is the         3          In other words, have you seen -- outside
     4 home stretch, at least with respect to my questioning, 4 of the document that postdates August 17th, 2015, have
     5 Mr. Gillies, so thank you for your patience today.      5 you seen any other additional SOM written policies
     6     A. Yes.                                             6 other than that version?
     7     Q. I'm going to hand you -- or you have in          7          MR. O'CONNOR: Objection to form.
     8 front of you a copy of what's been marked as Gillies    8      A. My recollection is that there might be two
     9 Exhibit --                                              9 after this.
    10          MS. GAFFNEY: 24.                              10 BY MR. KO:
    11 BY MR. KO:                                             11      Q. But you don't have an understanding of
    12     Q. -- 24. And for the record, this document        12 when those effective -- when the effective dates of
    13 ends in Bates 511246, and it is titled identification, 13 those written policies were; correct?
    14 investigation, and reports of controlled substances    14      A. That's correct.
    15 suspicious orders, and the effective date is August    15      Q. Now, turning to this particular document,
    16 17th, 2015, in the top right-hand corner.              16 I just have a few questions on this.
    17          Do you see that, Mr. Gillies?                 17      A. Yes.
    18          [Exhibit Mallinckrodt-Gillies-024             18      Q. Here we have an identification of who is
    19          marked for identification.]                   19 on the SOM team but not any names. Do you see that in
    20     A. Yes.                                            20 Section 4.5?
    21     Q. Did you review this particular policy in        21      A. I do.
    22 preparation for your deposition today?                 22      Q. And there is also an indication of a
    23     A. No.                                             23 senior data analyst being part of the team.
    24     Q. And this particular document seems to           24      A. Yes.

                                                       Page 215                                                       Page 217
     1 indicate that it's superseding a prior version dated      1      Q. You see that? And does that refresh your
     2 March 7th, 2013. Do you see that?                         2 recollection at all that there were, in addition to Mr.
     3       A. Yes.                                             3 Tilly and perhaps the other individual who you don't
     4       Q. Do you recall whether or not you reviewed        4 recall was added in 2018, does that refresh your
     5 the March 7th, 2013, SOM policy?                          5 recollection as to an additional member of the SOM team
     6       A. I don't recall as we sit here.                   6 as of 2015?
     7       Q. And do you know whether or not                   7      A. Yes.
     8 Mallinckrodt's current SOM policy is -- well, strike      8      Q. And who was this particular individual?
     9 that.                                                     9      A. Jen Buist.
    10          Do you have any understanding of whether        10      Q. And she currently is still with
    11 or not this version that we're looking at is             11 Mallinckrodt; correct?
    12 Mallinckrodt's current SOM written policy?               12      A. No.
    13       A. I do not.                                       13      Q. Did she recently leave Mallinckrodt?
    14       Q. Do you know -- have you seen recently           14      A. No.
    15 Mallinckrodt's written SOM policy?                       15      Q. When did she leave Mallinckrodt?
    16       A. I believe I've seen one more recent than        16      A. Several years ago.
    17 this.                                                    17      Q. Do you have an approximate time -- do you
    18       Q. And do you know what approximate effective 18 have a general understanding of the approximate time
    19 date that particular document has?                       19 period in which she left?
    20       A. I do not.                                       20      A. 2015 is my recollection.
    21       Q. But it's your understanding that there may      21      Q. So maybe around the time of this --
    22 be one that postdates August 17th, 2015; is that         22 effective date of this document?
    23 correct?                                                 23         MR. O'CONNOR: Objection to form.
    24       A. I believe there is.                             24      A. I don't know the exact time.

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     1 BY MR. KO:                                                  1   Q. Got it. And who is that individual that
     2      Q. Fair enough. Who took over or who was            2 plays the role of the new position that you don't
     3 Jennifer's predecessor?                                  3 recall the title of?
     4      A. I don't know that she had had a                  4      A. Yes. It's a -- I believe I identified her
     5 predecessor, and I don't know that this position --      5 earlier today, but I only recall her first name.
     6 that this position exists. So --                         6 Rochelle.
     7      Q. In other words, you don't know if -- prior       7      Q. I see. And generally speaking, what are
     8 to Jennifer being the SOM data analyst and being on the 8 her responsibilities?
     9 SOM leadership team, that position was not in existence 9       A. One of her responsibilities is going to be
    10 at Mallinckrodt? Is that your testimony?                10 reviewing any chargeback data that we may have on
    11          MR. O'CONNOR: Objection to form.               11 pharmacies of concern, doing some record reviews, and
    12      A. I'm sorry. Your question is confusing me,       12 there's other things in her job description, but I
    13 because you said the predecessor, right, to Jen? I'm    13 don't recall them all, so -- but she is part of the SOM
    14 sorry. Go ahead.                                        14 team.
    15 BY MR. KO:                                              15      Q. With respect to the chargebacks, what is
    16      Q. Yeah. No, and I can see I was confusing         16 your understanding of what the chargeback data
    17 because I was initially going to ask who took over for  17 consisted of or consists of today?
    18 Jen, but I also wanted to get an understanding --       18          MR. O'CONNOR: Objection to form and
    19      A. Okay.                                           19 scope.
    20      Q. -- of who was in place, if anyone, before       20      A. It would be pharmacy, name, distributor
    21 Jen.                                                    21 that distributes to the pharmacy, and what Mallinckrodt
    22      A. Yeah.                                           22 product is involved in the chargeback.
    23      Q. So I apologize. So the record is clear,         23 BY MR. KO:
    24 was there a senior data analyst for the SOM program     24      Q. Is it accurate to also say that the

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     1 prior to Jennifer?                                          1 chargeback data reveals a -- the pharmacy or clinic
     2      A. So -- I don't believe so, but Jen's time            2 that purchases the Mallinckrodt controlled substance or
     3 goes back to 2011.                                          3 Mallinckrodt pharmaceutical from a distributor?
     4      Q. And what were Jennifer's roles and                  4          MR. O'CONNOR: Objection to form.
     5 responsibilities as a senior data analyst for the SOM       5      A. Yes.
     6 team?                                                       6 BY MR. KO:
     7      A. She reviewed the peculiar, unusual reports          7      Q. And Mallinckrodt is currently utilizing
     8 that were produced twice a day. She was one of the          8 that chargeback data in connection with its SOM
     9 analysts that reviewed those.                               9 program; correct?
    10      Q. And the purpose of her review was to               10      A. Correct.
    11 determine whether or not the peculiar or unusual order     11      Q. And Mallinckrodt has in the past utilized
    12 would be suspicious sufficient to notify the DEA;          12 the chargeback data in connection with its SOM program;
    13 correct?                                                   13 correct?
    14      A. Correct.                                           14      A. Correct.
    15      Q. And after Jennifer left in the 2015 time           15      Q. And I believe Mallinckrodt began utilizing
    16 period, who took over for her as a senior data analyst?    16 this information as early as 2010. Is that accurate to
    17      A. I think that position went away and a new          17 state?
    18 position was created.                                      18      A. Yes.
    19      Q. I see. And what was that new position?             19      Q. And Mallinckrodt has been paying
    20      A. I don't recall what the new position is.           20 distributors chargeback amounts pursuant to agreements
    21      Q. Does that new position currently exist as          21 it has with the distributors for as long as -- well,
    22 part of the SOM leadership team that you're a part of?     22 strike that.
    23      A. Part of the SOM team. I don't believe              23          Do you have an understanding of when
    24 part of the leadership team.                               24 Mallinckrodt first entered into an agreement with a


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     1 distributor whereby Mallinckrodt would pay chargeback          1 exist in any way in Mallinckrodt's SOM program today?
     2 amounts to its customers?                                      2      A. I don't believe it does.
     3          MR. O'CONNOR: Objection to scope.                     3      Q. So would it be fair to say that the
     4      A. No.                                                    4 current iteration of Mallinckrodt's SOM program
     5 BY MR. KO:                                                     5 contains the first two tiers mentioned in this
     6      Q. Do you have any recollection of whether                6 document?
     7 that was before or after 2005?                                 7      A. Yes.
     8          MR. O'CONNOR: Same objection.                         8      Q. So at some point in time the third tier
     9      A. No.                                                    9 was removed, but you don't recall when?
    10 BY MR. KO:                                                    10      A. Correct.
    11      Q. Turning back to this document. Here we                11      Q. All right. You can set that one aside.
    12 have -- I know we have talked about the difference            12 So your counsel just received his wish, and probably
    13 between two tiers and three tiers.                            13 yours too. That was the last policy that we're going
    14      A. Uh-huh.                                               14 to go over today.
    15      Q. But here we have a reference to three                 15      A. I can feel the air-conditioning kicking on
    16 tiers. Do you see that?                                       16 already.
    17      A. Yes.                                                  17      Q. I'm going to hand you a copy of what has
    18      Q. And I know -- so earlier you said that you            18 been marked as Gillies Exhibit 25.
    19 believe that beginning in 2012 Mallinckrodt had               19          [Exhibit Mallinckrodt-Gillies-025
    20 utilized just the two-tier system; correct?                   20          marked for identification.]
    21      A. Correct.                                              21      Q. And I just have a few quick questions
    22      Q. So does this refresh your recollection at             22 about this.
    23 all that Mallinckrodt actually moved back to a                23          For the record, this is an e-mail dated
    24 three-tier system at some point in time?                      24 March 10th, 2009, from Wendy "Slab" to Karen Harper,

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     1      A. I see it there. My recollection was we                 1 ending in Bates 263874, and containing an attachment
     2 were -- had two tiers, but there is a third tier listed        2 that begins at 875.
     3 here.                                                          3          Do you know who Wendy "Slab" is?
     4      Q. And currently as it stands now, however,               4      A. I don't recall who she is. And I do
     5 there is just a two-tier system; correct?                      5 believe you pronounce it Wendy Slaby.
     6      A. That's my understanding.                               6      Q. Wendy Slaby. Thank you.
     7      Q. And when did -- how long has                           7      A. Uh-huh.
     8 Mallinckrodt's two-tier system been in effect?                 8      Q. This appears to be a flowchart of how a
     9      A. I'm sorry. I don't know. I thought it                  9 peculiar order -- or excuse me.
    10 was from September of 2012, so clearly there was a            10          This appears to be a flowchart of how a
    11 change, according to this document.                           11 suspicious order is identified after it is identified
    12      Q. Sure. And so it's fair to say that as of              12 as a peculiar order. Is that fair to say?
    13 August 17th, 2015, Mallinckrodt is utilizing a                13      A. I'm sorry. Could you say that one more
    14 three-tier structure to determine whether or not an           14 time?
    15 order is suspicious?                                          15      Q. Yeah. It was a bad question. Let me ask
    16      A. That's what it says at this time.                     16 again.
    17      Q. And with respect to the third tier,                   17          Earlier we had discussed the concept of a
    18 there's a reference made to a monthly limit placed on a       18 multitiered structure for which Mallinckrodt first
    19 customer based on customer bill-to address for a              19 identified a particular order and then did continued
    20 particular SKU for a particular amount.                       20 analysis to determine whether or not it was suspicious
    21          Did I read that correctly?                           21 sufficient to notify the DEA; correct?
    22      A. Yes.                                                  22      A. Correct.
    23      Q. And as far as you understand the current              23      Q. And this document appears to be a
    24 iteration of Mallinckrodt's SOM program, does that tier       24 flowchart reflecting that process. Is that fair to


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     1 say?                                                       1 reference made to the filing of a peculiar order report
     2      A. Yes.                                               2 with annotation. Do you see that?
     3      Q. And you don't need to count all the boxes,         3      A.    Yes.
     4 but there appear to be several boxes of analyses that      4      Q.    And I believe that peculiar order
     5 Mallinckrodt is undergoing to determine whether or not     5 report -- the intention was to file that report and
     6 the order should ship or whether or not the order          6 document the reasons for why a CSR manager believed the
     7 should be notified to the DEA. Is that fair to say?        7 report was suspicious or not. Is that accurate?
     8      A. Yes.                                               8           MR. O'CONNOR: Object to form.
     9      Q. And the date of this e-mail attaching this         9      A.    No, I think the way you phrased the
    10 flowchart is from March of 2009; correct?                 10 question, my answer would be no.
    11      A. Correct.                                          11 BY MR. KO:
    12      Q. So at least as of the date of this e-mail,        12      Q.    Okay. Do you recall ever seeing any
    13 this appears to be a flowchart that Mallinckrodt is       13 peculiar order reports with annotations from customer
    14 trying to follow to determine whether or not an order     14 service rep managers in the 2008 or 2012 time period?
    15 is suspicious after it is identified as peculiar;         15      A.    No.
    16 correct?                                                  16      Q.    Have you seen any peculiar order reports
    17      A. Yes.                                              17 with annotations from any customer service represent
    18      Q. And just so I understand clearly, is it           18 manager ever in connection with Mallinckrodt's SOM
    19 accurate to state that this analysis only occurs after    19 policy?
    20 an order is identified as peculiar?                       20      A.    I don't recall seeing any.
    21      A. Yes.                                              21      Q.    You can actually set that document aside.
    22      Q. So none of these factors are examined if          22 That's all the questions I have on that.
    23 the peculiar order algorithm we've discussed before is    23           Now, earlier today we had discussed
    24 not triggered; correct?                                   24 Mallinckrodt's retention of Frank Sapienza and Howard

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     1      A. Correct.                                           1 Davis in connection with its CSA obligations in general
     2      Q. And with respect to some of these                  2 and its SOM obligations in particular.
     3 analyses -- for example, the annotate report with          3          Were there any other individuals or
     4 explanation -- do you see that?                            4 entities that Mallinckrodt retained to assist in
     5      A. Yes.                                               5 implementing its SOM program?
     6      Q. And apparently that was supposed to be             6      A. Yes.
     7 done by the customer service rep manager who reviews       7      Q. And who are these individuals or which
     8 the peculiar order report. Do you see that?                8 entities would these be?
     9      A. Yes.                                               9      A. I'll give you the entity, Buzzeo.
    10      Q. Do you have any understanding of whether          10      Q. And so in addition to Frank Sapienza and
    11 or not this annotated report was documented in any way?   11 Howard Davis and the entity Buzzeo, were there any
    12      A. I have no recollection of that.                   12 other individuals or entities that Mallinckrodt
    13      Q. Do you recall ever seeing any annotated           13 retained in connections with its duties to design and
    14 reports from CSR managers during the 2008 to 2012 time    14 implement a suspicious order monitoring program?
    15 period?                                                   15      A. Time frame?
    16      A. I do not recall that.                             16      Q. At any time.
    17      Q. Currently do CSR managers review certain          17      A. Okay. Including up to today?
    18 orders and annotate any kind of report with an            18      Q. Yes.
    19 explanation for why the order might be suspicious or      19      A. I believe the answer is yes.
    20 not?                                                      20      Q. Okay. And which other entities or
    21          MR. O'CONNOR: Objection to form.                 21 individuals?
    22      A. No.                                               22      A. I can't recall the entity, but I believe
    23 BY MR. KO:                                                23 there was at least one more company that we engaged for
    24      Q. And moving down this flowchart, there is a        24 this purpose.


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     1      Q. And approximately what time period was            1 advise Mallinckrodt regarding its SOM obligations?
     2 that from?                                                2      A. Yes.
     3      A. My recollection was the 2016 time frame.          3      Q. Well, let me ask again, because I don't
     4      Q. So fairly recently?                               4 think that was a yes-or-no question. But was -- for
     5      A. Yes.                                              5 what general purpose did Mallinckrodt retain Buzzeo
     6      Q. And do you have any -- I know you don't           6 for?
     7 recall the name of the entity, but do you recall what     7      A. To assist us in our SOM efforts.
     8 they were retained to do?                                 8      Q. And was there any particular aspect of the
     9      A. I do not, but it was another former DEA           9 SOM efforts that Buzzeo advised Mallinckrodt on?
    10 official.                                                10      A. Yes.
    11      Q. I see. So it was an individual that was          11      Q. And what were those aspects?
    12 retained?                                                12      A. Do I have a privilege?
    13      A. No, it was a company.                            13         MR. O'CONNOR: I mean, we can go off the
    14      Q. I see.                                           14 record.
    15      A. Yeah. But the individual that the company        15         MR. KO: Sure. Let's do it. Sure.
    16 dealt with was a former DEA official.                    16         MR. O'CONNOR: Yeah.
    17      Q. Got it. And do you have any recollection         17         MR. KO: We'll go off the record for a
    18 of what they were -- general recollection --             18 moment.
    19      A. I do not.                                        19         THE VIDEOGRAPHER: We are going off the
    20      Q. -- of what they were retained to do?             20 record at 3:30 PM.
    21      A. No.                                              21         [A brief recess was taken.]
    22      Q. Going back to Buzzeo. When were they             22         THE VIDEOGRAPHER: We are back on the
    23 retained, and for approximately how long?                23 record at 3:38 PM.
    24           MR. O'CONNOR: I'm going to object to --        24 BY MR. KO:

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     1 Buzzeo was retained in connection with this litigation    1     Q. So the question that I had asked prior to
     2 in 2018 in connection with suspicious order monitoring,  2 taking that short break was whether or not there was a
     3 and so John, I'm going to instruct you not to answer     3 particular aspect of the SOM efforts that Buzzeo
     4 with respect to anything beyond the fact of the          4 advised Mallinckrodt on, and I believe you said the
     5 engagement.                                              5 answer was yes, and then I had asked you what aspects,
     6 BY MR. KO:                                               6 and so I'll repeat that question now.
     7      Q. Okay. So can I --                                7          What aspects was Buzzeo retained to advise
     8      A. Okay.                                            8 Mallinckrodt on regarding Mallinckrodt's SOM efforts?
     9      Q. Can I accept that representation then made       9          MR. O'CONNOR: And I'm going to object on
    10 by your counsel? Is it accurate to say that             10 scope and attorney-client privilege with respect to the
    11 Mallinckrodt retained Buzzeo in connection with this    11 2018 engagement through outside counsel, but you can
    12 litigation in 2018?                                     12 answer with respect to other engagements.
    13      A. Okay. Yes.                                      13      A. So on the other engagements -- those were
    14      Q. Apart from the retention of Buzzeo for          14 not SOM engagements.
    15 purposes of this litigation in 2018, was Buzzeo         15 BY MR. KO:
    16 retained at any time prior to that by Mallinckrodt in   16      Q. So to be clear, in 2012, when you were
    17 connection with its SOM responsibilities?               17 saying earlier that Mallinckrodt had retained Buzzeo,
    18      A. Yes.                                            18 that was not in connection with any SOM efforts?
    19      Q. And when was that?                              19      A. That's correct. I misspoke if that's what
    20      A. My recollection is that we utilized them        20 I had said.
    21 as early as 2012.                                       21      Q. And in 2012 then what -- for what purpose
    22      Q. And for what purpose?                           22 was Buzzeo retained by Mallinckrodt for?
    23      A. For SOM purposes.                               23          MR. O'CONNOR: Object to scope, but you
    24      Q. Any specific purpose, or just generally to      24 can answer.


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     1      A. There were recordkeeping discussions that        1 managers, Mallinckrodt also employs customer service
     2 they were providing us advice on and reviewing           2 representatives; correct?
     3 security.                                                3     A. Correct.
     4 BY MR. KO:                                               4          MR. O'CONNOR: Same objections.
     5      Q. Recordkeeping discussions regarding what         5 BY MR. KO:
     6 records?                                                 6     Q. And generally speaking, what's your
     7      A. Records that we needed to maintain,              7 understanding  of what customer service
     8 biannual inventories, records that the DEA may ask for 8 representatives -- what function they perform?
     9 if they come and do an inspection.                       9          MR. O'CONNOR: Object to scope.
    10      Q. I see. And by security, what do you mean?       10     A. So the customer service reps review every
    11      A. The security practices at our Hobart            11 order that comes in and make sure that all the
    12 facility.                                               12 information is there, and --
    13      Q. Understood. And how long was their              13 BY MR. KO:
    14 retention during that 2012 time period?                 14     Q. And when you say every order, I just want
    15           MR. O'CONNOR: Object to scope.                15 to make sure I understand what you're saying when you
    16      A. My recollection is several months.              16 mean every order. Is this every order ever between
    17 BY MR. KO:                                              17 Mallinckrodt and any customer, or are you talking about
    18      Q. So other than -- so now that I                  18 every peculiar order or unusual order? What do you
    19 understand -- and thank you for the clarification       19 mean by every order?
    20 regarding their role in 2012.                           20     A. So --
    21           So other than Frank Sapienza and Howard       21          MR. O'CONNOR: Object to form.
    22 Davis and potentially this other entity that you don't  22     A. So the customer service reps review every
    23 recall, were there any other individuals or entities    23 order. I might not have been clear earlier. Customer
    24 that Mallinckrodt retained for purposes of assisting    24 service reps review every order. The customer service

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     1 Mallinckrodt with its SOM obligations?                   1 managers review those peculiar orders.
     2      A. No, not that I can recall.                       2 BY MR. KO:
     3      Q. Okay. Thank you. Now, you're familiar            3      Q. I see. And --
     4 with -- well, you are familiar with the compensation     4      A. So I apologize if I misspoke earlier
     5 structure of certain customer service reps and national 5 today. I might have used those terms synonymously when
     6 account managers at Mallinckrodt; correct?               6 you were asking me a certain question. But the reps
     7          MR. O'CONNOR: Object to form and scope. 7 review every order and the managers review the peculiar
     8      A. I don't recall their compensation                8 orders.
     9 packages.                                                9      Q. Okay. Thank you for that clarification.
    10 BY MR. KO:                                              10 And by every order, just so I understand clearly, you
    11      Q. Are you familiar with the term NAMs or          11 are referring to every order between Mallinckrodt and
    12 national account managers?                              12 one of its customers, the wholesale distributor;
    13      A. Yes.                                            13 correct?
    14      Q. Mallinckrodt employs certain national           14      A. That's correct.
    15 account managers; correct?                              15      Q. And with respect to national account
    16      A. Correct.                                        16 managers, their compensation is tied to the amount of
    17      Q. And they have responsibility with respect       17 Mallinckrodt prescription opioids they sell to
    18 to Mallinckrodt customers, including wholesale          18 customers; is that accurate?
    19 distributors; correct?                                  19          MR. O'CONNOR: Objection to scope and
    20          MR. O'CONNOR: Objection to scope and           20 form.
    21 form.                                                   21      A. I'm sorry. I don't know that.
    22      A. Yes.                                            22 BY MR. KO:
    23 BY MR. KO:                                              23      Q. You have no understanding of how national
    24      Q. And in addition to national account             24 account managers are compensated?


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     1      A. No, I do not.                                       1     Q. In addition to Heather White, do you
     2          MR. O'CONNOR: Same --                              2 recall anyone else at DEA you discussed DEA's
     3 BY MR. KO:                                                  3 investigation with?
     4      Q. Do you have any understanding of how                4     A. I believe Susan Baker was part of that
     5 customer service representatives are compensated?           5 team.
     6          MR. O'CONNOR: Same objection.                      6     Q. Was she also in the DEA Albany office?
     7      A. I do not.                                           7     A. She was out of the DEA New York office.
     8          MR. KO: And I'll just note for the record          8     Q. Other than Ms. Baker or Ms. White, do you
     9 to preserve it that I believe Mr. Gillies was supposed      9 recall discussing DEA's investigation of Mallinckrodt
    10 to be prepared to testify regarding any compensation to 10 that led to the memorandum of understanding with any
    11 any person or committee with any responsibility for any 11 other DEA individual?
    12 of the level of sales of controlled substances or          12     A. No, and this -- sorry. Maybe I
    13 opioid products, and so I believe we were expecting        13 misunderstood your question. This would have been pre
    14 testimony related to your understanding of that topic,     14 any negotiations on that agreement. So there were
    15 and I'll note for the record that it appears that Mr.      15 discussions about the investigation, but pre the
    16 Gillies is unprepared to testify on that topic.            16 negotiations, just to make it clear.
    17 BY MR. KO:                                                 17     Q. I understand.
    18      Q. In addition to national account managers           18     A. Okay?
    19 and customer service representatives, do you know any 19          Q. Okay. So the record is clear then, and
    20 other categories of employees at Mallinckrodt who were 20 the way I understand your testimony, is that you spoke
    21 involved in the marketing and sales of Mallinckrodt's      21 with Ms. White and Ms. Baker regarding the DEA's
    22 prescription opioids?                                      22 investigation of Mallinckrodt at some point after 2011
    23      A. I do not.                                          23 but before --
    24      Q. Now, earlier today we had talked about the         24     A. So --

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     1 memorandum of understanding entered into between            1      Q.    -- Mallinckrodt and DEA negotiated the
     2 Mallinckrodt and the DEA in 2017. Do you recall that?       2 memorandum of understanding? Is that accurate?
     3     A. Yes.                                                 3      A.    To be more clear, at some time after June
     4     Q. Were you involved at all in the                      4 of 2012.
     5 negotiations leading up to that memorandum of               5      Q.    Okay. And when did the negotiations that
     6 understanding?                                              6 led up to the memorandum of understanding begin between
     7     A. No.                                                  7 Mallinckrodt and DEA?
     8     Q. Do you have any understanding of when                8      A.    My recollection is that they were ongoing
     9 Mallinckrodt first became aware that it was being           9 for I think more than a year.
    10 formally investigated by the DEA?                          10      Q.    So at some -- safe to say that the
    11     A. September of 2011.                                  11 negotiations regarding the memorandum of understanding
    12     Q. And was that pursuant to a subpoena that            12 began at some time in 2016?
    13 Mallinckrodt received?                                     13      A.    I believe that's accurate.
    14     A. I don't know that.                                  14      Q.    And so your discussions with Ms. White and
    15     Q. And a moment ago you said you weren't               15 Ms. Baker regarding DEA's investigation occurred at
    16 involved at all in the negotiations leading up to the      16 some point between June of 2012 and before 2016?
    17 memorandum of understanding. But were you -- did you       17      A.    Correct.
    18 have any discussions with DEA regarding their              18      Q.    And in connection with the investigation,
    19 investigation that led to that memorandum of               19 do you know whether -- well, strike that.
    20 understanding?                                             20           In your discussions with Ms. White and Ms.
    21     A. Yes.                                                21 Baker, were you ever formally interviewed or did you
    22     Q. And who did you have those discussions              22 ever sit for any kind of formal interview with the DEA?
    23 with?                                                      23      A.    No.
    24     A. Heather White, DEA Albany.                          24      Q.    Are you aware of whether or not

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     1 Mallinckrodt had any interviews with any Mallinckrodt        1      A.   The meeting with the DEA where Susan Baker
     2 employee arising out of its investigation of                 2 and Heather White were present discussing their
     3 Mallinckrodt?                                                3 investigation.
     4      A.    So I'm sorry. Could you repeat that               4      Q.   I see. And you were present at that
     5 question?                                                    5 meeting as well?
     6      Q.    Sure. Are you aware of whether                    6      A.   I was.
     7 Mallinckrodt sat for any interviews -- or strike that.       7    Q. So in addition to Mr. Weustner, Mr.
     8           Are you aware of whether or not the DEA            8 Lohman, and yourself, were there any other Mallinckrodt
     9 had any interviews with any Mallinckrodt employee            9 employees that were present at the meeting?
    10 arising out of the DEA's investigation of Mallinckrodt?     10      A.   Not that I can recall.
    11      A. No.                                                 11      Q.   And from the DEA's side, other than Ms.
    12      Q. And do you have knowledge of whether or             12 Baker and Ms. White, were there any other DEA officials
    13 not that is in fact the case, or are you saying you         13 there?
    14 don't recall whether or not that occurred?                  14      A.   There were.
    15      A. I have no recollection that anybody was             15      Q.   And who were they?
    16 interviewed.                                                16      A.   One was their special agent in charge of
    17      Q. Do you know if any Mallinckrodt employee            17 their New York office. And I'm sorry, I do not recall
    18 provided any statements -- sworn statements to the DEA      18 his name. I believe there was a DEA representative
    19 regarding Mallinckrodt's investigation?                     19 from Washington D.C. I'm sorry, I do not remember his
    20      A. No.                                                 20 name. And I can't recall if there was any other DEA
    21      Q. Or excuse me. Regarding the DEA's                   21 personnel there.
    22 investigation of Mallinckrodt?                              22     Q.    And when did this meeting take place?
    23      A. No.                                                 23     A.    I don't recall. I'm going to say spring
    24      Q. And do you know -- so in addition to your           24 2014.

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     1 communications with Ms. White and Ms. Baker, do you          1  Q. Okay. Thank you. That's helpful.
     2 know whether or not any other Mallinckrodt employees     2 Following the -- this meeting, do you recall any other
     3 communicated with DEA regarding its investigation of     3 meetings in which you were present with the DEA
     4 Mallinckrodt?                                            4 regarding its investigation of Mallinckrodt?
     5     A. Yes.                                              5      A. No.
     6     Q. And which individuals would those be?             6      Q. And in addition to this meeting, do you
     7     A. Joe Weustner and I believe Don Lohman.            7 recall any other meetings, regardless of whether or not
     8     Q. And you said Joe --                               8 you were involved with the DEA, regarding its
     9     A. Weustner.                                         9 investigation of Mallinckrodt?
    10     Q. Joe Weustner?                                    10      A. I do not.
    11     A. W-E-U-S-T-N-E-R.                                 11      Q. You don't recall, or you don't believe any
    12     Q. And what is his job title at Mallinckrodt?       12 such meetings took place?
    13     A. He was a VP associate general counsel.           13      A. I don't recall.
    14     Q. In addition to Joe and Don, do you recall        14      Q. Now, the agreement resulted among other
    15 any other individuals who communicated with the DEA     15 things in a $35 million payment made by Mallinckrodt to
    16 regarding their investigation?                          16 the Department of Justice; correct?
    17     A. No.                                              17      A. Yes.
    18     Q. Do you recall whether or not Ms. Harper          18      Q. Were you involved -- or who was involved
    19 communicated with the DEA regarding their investigation 19 in the negotiation of the monetary fine?
    20 of Mallinckrodt?                                        20          MR. O'CONNOR: Objection to form.
    21     A. I can't recall whether she was at the            21      A. There was legal counsel involved.
    22 meeting.                                                22 BY MR. KO:
    23     Q. And you just referenced a meeting. What          23      Q. So is it your understanding that it was
    24 meeting are you describing?                             24 primarily handled by Mr. Lohman and Mr. Weustner?


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     1     A. Yes.                                              1investigations performed by any entity regarding
     2     Q. Was there anyone outside of the legal            2 Mallinckrodt's manufacturing or distribution of its
     3 department or legal counsel that handled the            3 opioid products?
     4 negotiations over the monetary fine that Mallinckrodt   4          MR. O'CONNOR: Objection to form.
     5 paid to the DEA?                                        5      A. I don't know of any.
     6          MR. O'CONNOR: Objection to form.               6 BY MR. KO:
     7     A. Within Mallinckrodt?                             7      Q. Were you -- was it the case that earlier
     8 BY MR. KO:                                              8 last year in the beginning of 2018, prosecutors from
     9     Q. Yes.                                             9 the Southern District of Florida had issued grand jury
    10     A. No.                                             10 subpoenas to Mallinckrodt regarding its manufacturing
    11     Q. So you don't believe anyone outside of          11 and distribution of prescription opioids?
    12 legal counsel handled --                               12      A. I'm not aware of that.
    13     A. I don't recall anyone else outside legal        13      Q. You're not aware of that? Are you aware
    14 counsel.                                               14 of any other subpoenas issued by the Department of
    15     Q. -- being involved in the discussions            15 Justice at any time regarding Mallinckrodt's marketing
    16 about the monetary fine imposed on Mallinckrodt;       16 or manufacturing of any of its generic or branded
    17 correct?                                               17 opioid products?
    18     A. Correct.                                        18      A. I am not.
    19     Q. Now, in addition to DEA's investigation         19      Q. So are you aware of any 2017 subpoena by
    20 which resulted in the 2017 memorandum of understanding 20 the Department of Justice regarding Mallinckrodt's
    21 and the $35 million fine, there have been other        21 manufacturing and marketing of Exalgo, Xartemis, and
    22 investigations by other government entities into       22 Roxicodone, among other products?
    23 Mallinckrodt; is that fair to say?                     23      A. I am not.
    24          MR. O'CONNOR: Objection to form.              24      Q. Are you aware of any civil investigative

                                                   Page 247                                                     Page 249
     1     A.   What government entities?                       1 demands from any other officials -- from any officials
     2 BY MR. KO:                                               2 in any state in the United States regarding
     3     Q. Sure. Fair enough. Are you aware of any           3 Mallinckrodt's marketing and distribution of
     4 other investigations done by any senators with respect   4 prescription opioids?
     5 to Mallinckrodt's marketing or distribution of its       5      A. State authorities? I'm not aware of any.
     6 opioid products?                                         6      Q. Are you aware of any civil investigative
     7         MR. O'CONNOR: Object to form.                    7 demand by the State of Washington regarding
     8     A. I'm aware of a senator requesting                 8 Mallinckrodt manufacture and distribution of its
     9 information.                                             9 prescription opioids?
    10 BY MR. KO:                                              10      A. I am not.
    11     Q. And which senator was that?                      11      Q. Are you aware of Missouri's civil
    12     A. Claire McCaskill.                                12 investigative demand of information related to
    13     Q. And when was that?                               13 Mallinckrodt's manufacture and distribution of its
    14     A. I don't recall what the time frame was.          14 prescription opioids?
    15     Q. And who was involved in preparing the            15      A. I am not.
    16 information in response to Senator McCaskill's request? 16      Q. Now, one of the -- as we discussed earlier
    17     A. My understanding, legal counsel.                 17 today, one of the primary responsibilities of the DEA
    18     Q. And do you have any understanding of what        18 compliance group is to communicate with the DEA
    19 information Senator McCaskill requested of              19 regarding Mallinckrodt's annual quota request. Is that
    20 Mallinckrodt?                                           20 accurate?
    21     A. I do not.                                        21      A. Yes.
    22     Q. In addition to Senator McCaskill's request       22      Q. And there are different types of quotas
    23 and the DEA's investigation which resulted in the 2017  23 set by the DEA; correct?
    24 memorandum of understanding, are you aware of any other 24      A. Correct.

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     1      Q. And can you describe to the court what              1 process?
     2 those different types of quotas consist of?                 2      A.    I am not.
     3      A. For the individual controlled substance             3      Q.    Who on the DEA compliance team is
     4 products, the DEA has a set quota that they then give       4 responsible for working with the DEA and Mallinckrodt's
     5 to the manufacturers.                                       5 annual quota request today?
     6      Q. And is that a reference to a manufacturing          6      A.    Karen Harper.
     7 quota?                                                      7     Q. And in addition to Karen Harper, are there
     8      A. Yes.                                                8 any other individuals that assist her in the annual
     9      Q. And in addition to the manufacturing                9 quota request?
    10 quota, there's also -- the DEA has -- provides guidance    10      A.    It's my recollection that Dave Hunter
    11 on procurement quota as well; correct?                     11 assists her on the manufacturing for the St. Louis
    12      A. Correct.                                           12 plant, and Eileen Spaulding, it's my understanding,
    13      Q. And what does procurement quota consist            13 assists her on the procurement.
    14 of?                                                        14      Q.    And is it your understanding that Ms.
    15      A. So the manufacturing quota would be for            15 Harper had the primary responsibility of working with
    16 our St. Louis facility, and the procurement quota would    16 the DEA regarding Mallinckrodt's annual quota
    17 be for our Hobart facility on the number of tablets        17 request -- or strike that.
    18 that we're going to make.                                  18           How long has Ms. Harper had the
    19      Q. So in other words, would it be fair to say         19 responsibility of working with the DEA regarding
    20 that the procurement quota governs the amount that         20 Mallinckrodt's quota requests?
    21 Mallinckrodt can turn into an actual extended unit         21     A. I know that it predates 2008.
    22 release or pill -- strike that. Let me ask it a            22     Q. And throughout that time period, there was
    23 different way.                                             23 no other individual who had that primary responsibility
    24          The manufacturing quota established by the        24 at Mallinckrodt; is that accurate?

                                                     Page 251                                                   Page 253
     1 DEA governs how much raw product Mallinckrodt can           1   A. Yes.
     2 manufacture; correct?                                    2      Q. Now, we've made mention to -- we've made
     3       A. Correct.                                        3 mention to Mallinckrodt's St. Louis and Hobart
     4       Q. And the procurement quota governs how much      4 facilities. Is the St. Louis facility synonymous or
     5 of that raw product Mallinckrodt can turn into a pill;   5 different from the Webster Groves facility?
     6 correct?                                                 6      A. It's different.
     7       A. Yes, and in our request to the DEA, we          7      Q. And what did the -- can you describe to
     8 tell them how many pills it's estimated that we would    8 the court what the Webster Groves facility was in
     9 make.                                                    9 charge of or what happened at the Webster Groves
    10       Q. And so in connection with your                 10 facility?
    11 communications with the DEA, are you saying that there 11            MR. O'CONNOR: Objection to form.
    12 is a separate procedure with respect to the procurement 12      A. Our Webster Groves facility is an R & D
    13 quota relative to the manufacturing quota, or would you 13 facility.
    14 regularly communicate with the DEA regarding both       14 BY MR. KO:
    15 quotas?                                                 15      Q. Got it. Was there any manufacturing of
    16       A. Yeah.                                          16 opioids done at the Webster Groves facility?
    17          MR. O'CONNOR: Objection to form.               17      A. Time frame?
    18       A. Both quotas.                                   18      Q. At any time.
    19 BY MR. KO:                                              19      A. Yes.
    20       Q. And regarding the manufacturing quota set      20      Q. And when was that?
    21 by the DEA, they generally set that once a year;        21      A. November 2018.
    22 correct?                                                22      Q. So somewhat recently?
    23       A. That's my understanding.                       23      A. Uh-huh.
    24       Q. And are you currently involved in that         24      Q. Prior to November of 2018, was there any

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     1 manufacturing that occurred at the Webster Groves           1    A. And then let me answer that. Okay. So
     2 facility?                                                2 could you repeat your question now?
     3      A. I'm unaware of any manufacturing taking          3       Q. Sure. Do you have any recollection of
     4 place.                                                   4 whether or not the quota -- whether or not the SOM
     5      Q. And prior to 2018, the Webster Groves            5 program that Mallinckrodt implemented was tied in any
     6 facility was primarily utilized as an R & D facility;    6 way to Mallinckrodt's quota requests?
     7 is that accurate?                                        7           MR. O'CONNOR: Object to form.
     8      A. Was and is. Yeah.                                8       A. No.
     9      Q. I'm going to hand you a copy of what's           9 BY MR. KO:
    10 been marked as Gillies Exhibit 26.                      10       Q. Did Mallinckrodt ever learn from the DEA
    11          [Exhibit Mallinckrodt-Gillies-026              11 if -- that if it had a robust SOM program it would more
    12          marked for identification.]                    12 likely be able to maximize its quota requests?
    13      Q. And for the record, this ends in Bates          13       A. No.
    14 3044340, and it's an e-mail chain from June 20th, 2012, 14       Q. Did you ever -- did you review any
    15 between Kenneth Yamashita and Eileen Spaulding.         15 documents in preparation for this deposition today that
    16          And I just have a quick question on this       16 had any connection between quota requests and
    17 e-mail. Feel free to review it if you need to in        17 Mallinckrodt's SOM program?
    18 responding to my question.                              18       A. Not that I recall.
    19      A. Uh-huh.                                         19       Q. You can set that one aside. So earlier we
    20      Q. But at the top, Ken indicates, quote, did       20 had talked about the meeting that Mallinckrodt had with
    21 you get the impression now that if our quota            21 DEA in August of 2011. Do you recall that?
    22 justification and suspicious order monitoring program   22       A. Yes.
    23 is good, we will get the quota or at least some         23       Q. And do you recall who requested that
    24 portion, end quote.                                     24 meeting?

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     1           Did I read that correctly?                        1      A. I know that we had requested a meeting
     2       A. Yes.                                               2 with the DEA since the spring of 2011, and I think this
     3       Q. First of all, do you know who Ken                  3 August meeting was in response to our ongoing request
     4 Yamashita is?                                               4 to meet with them.
     5       A. Yes.                                               5      Q. And is it fair to say that during this
     6       Q. And who is he?                                     6 meeting, two of the issues that were discussed were
     7       A. He was the head of our Hobart facility.            7 Mallinckrodt's SOM program and issues with respect to
     8       Q. And what do you -- and by head of Hobart           8 Mallinckrodt's quota requests?
     9 facility, what exactly do you mean?                         9         MR. O'CONNOR: Objection to form.
    10       A. He was -- he ran the administration of the        10      A. I know one of the issues was we wanted to
    11 facility.                                                  11 tell DEA about our SOM program and everything that we
    12       Q. And he's asking a question to Eileen of           12 were doing.
    13 whether or not the quota justification -- or strike        13 BY MR. KO:
    14 that.                                                      14      Q. Okay. And was another topic of the
    15           He's asking whether or not the SO -- if          15 meeting issues with respect to Mallinckrodt's quota
    16 the SOM program is adequate that Mallinckrodt would        16 requests?
    17 obtain the quota that they sought.                         17      A. I don't recall that.
    18           Do you have any recollection of whether or       18      Q. I'm going to hand you a copy of what's
    19 not the quota justification or the quota request was       19 going to be marked as Gillies Exhibit 27.
    20 ever tied to Mallinckrodt's SOM program?                   20         [Exhibit Mallinckrodt-Gillies-027
    21           MR. O'CONNOR: Objection to form.                 21         marked for identification.]
    22       A. Can I just read the rest of this document?        22      Q. Does this document look familiar at all to
    23 BY MR. KO:                                                 23 you?
    24       Q. Sure.                                             24      A. Yes.

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     1      Q. And did you review this document in               1 discussed during this meeting.
     2 preparation for this deposition today?                    2      A. Uh-huh.
     3      A. No.                                               3      Q. But does this refresh your recollection at
     4      Q. And how does this document look familiar          4 all as to what aspects of quota were discussed with the
     5 to you? Did you review it at some point separate and      5 DEA during this meeting?
     6 apart from preparing for this deposition?                 6      A. No.
     7      A. Yes.                                              7      Q. No reason to dispute that quota issues
     8      Q. And approximately when do you think that          8 were discussed with the DEA during August 23rd, 2011,
     9 was?                                                      9 though; right?
    10      A. I believe this is one of the documents I         10           MR. O'CONNOR: Objection to form.
    11 reviewed after I joined Mallinckrodt.                    11      A. So it's a bullet point on this slide. I
    12      Q. And as I understand it, I believe this is        12 don't know whether they actually talked about it. I
    13 a deck that Mallinckrodt used during that meeting and    13 have no recollection of that.
    14 presented it to the DEA.                                 14 BY MR. KO:
    15          Is that consistent with your                    15      Q. Fair enough. You can set that aside. I'm
    16 understanding?                                           16 going to hand you a copy of what's marked as Gillies
    17      A. Yes.                                             17 Exhibit 28.
    18      Q. And I just have a few quick questions            18           [Exhibit Mallinckrodt-Gillies-028
    19 about it. On the second page of this deck there is a     19           marked for identification.]
    20 reference made to suspicious order monitoring            20      Q. And for the record, this document is
    21 presentation agenda. Do you see that?                    21 titled draft notes for SOM steering committee meeting,
    22      A. Yes.                                             22 9-28-11, and it ends in Bates 2077756.
    23      Q. So just so the record is clear, the              23           And Mr. Gillies, this appears to be --
    24 primary topic of the DEA meeting in August of 2011 was 24 well, earlier we had went over certain policies

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     1 regarding Mallinckrodt's SOM program; correct?             1 regarding Mallinckrodt's SOM, and in some of those
     2      A. Correct.                                           2 policies there was reference made to a steering
     3          MR. O'CONNOR: Objection to form.                  3 committee; correct?
     4 BY MR. KO:                                                 4      A. Yes.
     5      Q. And if you look at Page 7 of this report,          5      Q. And from time to time members of the
     6 there's an additional reference made to subpoenas, SOM     6 steering committee would meet to discuss Mallinckrodt's
     7 quota review, and business relationships. Do you see       7 SOM program; correct?
     8 that?                                                      8      A. Correct.
     9      A. Yes.                                               9      Q. And this appears to be notes that are
    10      Q. And the context of these references is            10 being prepared in connection with the steering
    11 being made in the context of the SOM program challenges   11 committee meeting; right?
    12 and issues. Do you see that?                              12      A. Correct.
    13      A. Yes.                                              13      Q. And so halfway down the first page there
    14      Q. So would it be accurate to say that in            14 is a brief recap of the DEA meeting. You see that?
    15 addition to Mallinckrodt SOM being reviewed at the        15      A. Yes.
    16 meeting, Mallinckrodt also discussed challenges and       16      Q. And it appears that their recap is
    17 issues with respect to subpoenas it was receiving, SOM    17 being -- that Don is providing the recap, and I imagine
    18 quota review, and certain business relationships it       18 that would be Don Lohman?
    19 had?                                                      19      A. That would be my understanding.
    20          MR. O'CONNOR: Objection to form.                 20      Q. And there are a variety of things that are
    21      A. That's what this slide says.                      21 discussed here, but it appears that the summary of the
    22 BY MR. KO:                                                22 meeting, Don indicates that, quote, at our request, on
    23      Q. And do you -- I know a moment ago that you        23 August 23rd, 2011, met with the DEA office of diversion
    24 said you weren't familiar with whether or not quota was   24 control and quota section in Washington D.C. to discuss


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     1 our SOM program, which monitors suspicious orders of       1 of whether or not Mallinckrodt employees attended DEA
     2 controlled substances and our outstanding quota            2 conferences, and I believe you said yes, and my
     3 requests, end quote.                                       3 follow-up question was whether or not you had an
     4          Did I read that correctly?                        4 understanding of how frequent they attended such
     5      A. Yes.                                               5 conferences.
     6      Q. So is it accurate to say that -- and just          6      A.   Okay. So I think I did misunderstand the
     7 so the record is clear -- that during the August 2011      7 way you phrased it, but that time the answer is yes,
     8 meeting, two of the topics that were discussed were        8 and I believe it was annually.
     9 suspicious order monitoring and outstanding quota          9      Q.   And was it typically the case that Ms.
    10 requests of Mallinckrodt?                                 10 Harper would attend?
    11      A. Yes.                                              11      A.   Yes.
    12      Q. That's all I have with that document. I'm         12      Q.   And do you know any other Mallinckrodt
    13 going to hand you a copy of what's been marked as         13 employees that attended any annual DEA conferences?
    14 Gillies Exhibit 29.                                       14      A.   Eileen Spaulding. Time frame?
    15          [Exhibit Mallinckrodt-Gillies-029                15      Q.   At any time.
    16          marked for identification.]                      16      A.   Jen Buist. I can't recall if there was
    17      Q. And for the record, this document ends in         17 anybody else.
    18 Bates 284620 and is an e-mail from Karen Harper to        18      Q.   At the bottom of this e-mail, Karen Harper
    19 herself dated Saturday, April 23rd, 2011. And it          19 indicates that, quote, someone in your company is
    20 appears to be some notes that she took from a DEA         20 accountable for making decisions about customers, SOM.
    21 conference that she attended.                             21 All decisions should be documented in file by customer.
    22          Did you -- does this document look               22 Do you see that?
    23 familiar at all to you?                                   23      A.   Yes.
    24      A. No.                                               24      Q.   So is it accurate to say that Karen Harper

                                                     Page 263                                                      Page 265
     1     Q. Did you review this document in connection          1 is indicating that there should be some sort of
     2 with your preparing for this deposition today?             2 documentation procedure with respect to all decisions
     3     A. No.                                                 3 regarding SOM?
     4     Q. Do you know who Michael Morley is?                  4          MR. O'CONNOR: Objection to form.
     5     A. I do not.                                           5      A. So can you repeat that question?
     6     Q. Do you know who Kyle Wright is?                     6 BY MR. KO:
     7     A. I do not.                                           7      Q. Sure. Is it accurate to say that Karen
     8     Q. Do you have any understanding of how                8 Harper is indicating that there should be some sort of
     9 frequent members of the DEA compliance team attended       9 documentation procedure with respect to all decisions
    10 DEA conferences regarding Mallinckrodt's CSA              10 regarding SOM?
    11 obligations?                                              11      A. Yes.
    12     A. I do not.                                          12      Q. And we had talked about it a little bit
    13     Q. Do you know whether or not Mallinckrodt            13 before, but are you aware of whether or not there was
    14 employees ever attended DEA conferences regarding their   14 any kind of formal documentation procedure regarding
    15 CSA obligations?                                          15 Mallinckrodt's SOM in the 2011 time period?
    16     A. Yes.                                               16          MR. O'CONNOR: Objection to form.
    17     Q. And do you have any understanding of how           17      A. I believe there was.
    18 frequent they attended such conferences?                  18 BY MR. KO:
    19     A. So can you restate that question? Because          19      Q. And what is that understanding based upon?
    20 I may have misunderstood the previous question.           20      A. From reviewing procedures.
    21     Q. Well, I had asked you whether or not --            21      Q. And which -- the same procedures we were
    22 sure.                                                     22 kind of discussing before?
    23     A. Okay.                                              23      A. Yes.
    24     Q. I asked you whether or not you were aware          24      Q. Outside of those procedures, did you

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     1 review any other documents that suggested there was a               1      Q. And we had established that chargeback
     2 formal documentation procedure governing the decisions              2 data allowed Mallinckrodt to see where its pills were
     3 made by any individuals at Mallinckrodt with respect to             3 going and specifically to which pharmacies and clinics
     4 its SOM?                                                            4 Mallinckrodt drugs were going after Mallinckrodt
     5       A. I don't recall that.                                       5 shipped to its distributors; correct?
     6       Q. So is it fair to say that at least as of                   6          MR. O'CONNOR: Objection to form.
     7 the date of this letter, Mallinckrodt is aware that DEA             7      A. Not all pharmacies. There has to be a
     8 is expecting some sort of formal documentation                      8 chargeback relationship and corrected as retroactive.
     9 regarding its SOM decisions and policies?                           9          MR. O'CONNOR: Counsel, just a heads-up.
    10           MR. O'CONNOR: Objection to form.                         10 By our count, you have about a minute.
    11       A. That's what this note references.                         11          MR. KO: Okay. I have one more -- I
    12 BY MR. KO:                                                         12 thought I had about 15 minutes. But --
    13       Q. So is it -- I understand that that's what                 13          MR. O'CONNOR: You're welcome to check.
    14 the note references, but I'm asking you as a                       14 How much --
    15 designee -- a corporate designee of Mallinckrodt                   15          MR. KO: It's your math versus Alison's,
    16 sitting here today, yes or no, is it fair to say that              16 but --
    17 as of the date of this letter, Mallinckrodt is aware               17          MR. O'CONNOR: How much time --
    18 that DEA is expecting some sort of formal documentation            18          MR. KO: Not to put you on the spot, but I
    19 procedure regarding its SOM decisions and policies?                19 got one more document.
    20          MR. O'CONNOR: Objection to form.                          20          MR. O'CONNOR: Okay.
    21     A. Yes.                                                        21          THE VIDEOGRAPHER: I've got five hours, 25
    22 BY MR. KO:                                                         22 minutes.
    23     Q. And underneath the section Kyle Wright,                     23          MR. KO: Okay.
    24 there's an indication, quote, I am coming. You don't               24          MR. O'CONNOR: And we had 5:25 for the

                                                       Page 267                                                              Page 269
     1 want me. I can tear you apart. If DEA can see where                 1 limit; right?
     2 drugs are going, Mallinckrodt knows full well where                 2          MR. KO: All right.
     3 drugs are going.                                                    3          MR. O'CONNOR: But one document quickly.
     4          Did I read that correctly?                                 4          MR. KO: Okay. Thank you for that.
     5      A. Yes.                                                        5 BY MR. KO:
     6      Q. And so is it fair to say that the DEA                       6      Q. There's -- Mr. Gillies, I'm handing you a
     7 certainly expects Mallinckrodt to understand where all              7 copy of a document that's been marked as Gillies
     8 of its drugs are going even after Mallinckrodt ships                8 Exhibit --
     9 them to its distributor customers?                                  9          MS. GAFFNEY: 30.
    10          MR. O'CONNOR: Objection to form.                          10 BY MR. KO:
    11      A. I don't know that that's what it's saying,                 11      Q. -- 30. Thank you.
    12 because our product goes to the distributors and                   12          [Exhibit Mallinckrodt-Gillies-030
    13 wholesalers. So I don't see a reference that it says               13          marked for identification.]
    14 that this goes further beyond that.                                14      Q. And for the record, this is a March 18th,
    15          But in this case, the DEA can see, because                15 2013, correspondence dated -- or I said the date
    16 they've got all the information, right, through ARCOS.             16 already -- ending in Bates 8434954. And I have a very
    17 So they see where it goes, so they can see that we're              17 specific question.
    18 sending it to the distributors or wholesalers, but                 18      A. Okay.
    19 because they get the ARCOS information from others,                19      Q. So again, if you need to read more of the
    20 they can see where that goes too.                                  20 document, please feel free to do so.
    21 BY MR. KO:                                                         21          But first of all, this appears to be a
    22      Q. And we had discussed earlier the concept                   22 communication made by an outside counsel for
    23 of chargeback data; correct?                                       23 Mallinckrodt to an assistant U.S. attorney. Is that
    24      A. Correct.                                                   24 accurate?


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     1      A. Yes.                                                1      Q. And similarly, the next sentence talks
     2      Q. And in Section 1 of the document, there is          2 about percentage of chargeback requests for oxycodone
     3 reference made to a certain percentage of oxy 15s and       3 30, and this sentence reads from 2009 through 2012,
     4 oxy 30s distributed by certain of Mallinckrodt's            4 approximately 98 percent of the total volume by dosage
     5 customers; right?                                           5 unit of oxycodone 30-milligram products manufactured
     6      A. Yes.                                                6 and distributed by Mallinckrodt fell under the
     7      Q. And those customers are the big three               7 chargeback system.
     8 distributors and H.D. Smith; correct?                       8          Did I read that correctly?
     9      A. Correct.                                            9      A. Yes.
    10      Q. And they distributed oxy 15s and oxy 30s;          10          MR. O'CONNOR: Same objection.
    11 correct?                                                   11 BY MR. KO:
    12      A. Correct.                                           12      Q. So is it accurate to say that the vast
    13      Q. And turning to the next page -- this is            13 majority of -- if not nearly 100 percent, of all
    14 just the final line of questioning. Do you see the         14 oxycodone 15-milligram and oxycodone 30-milligram
    15 section Page 3 -- or sorry -- do you see the section       15 orders resulted in a chargeback request by a
    16 Question 3?                                                16 distributor --
    17      A. Just for my reference in the future, if I          17          MR. O'CONNOR: Objection --
    18 have to go back, could you put the Bates number on it?     18 BY MR. KO:
    19 Because you said this was the only Bates number. You       19      Q. -- in the 2009 through 2012 time period?
    20 said ending in this number, but is this a new number       20          MR. O'CONNOR: Objection to form and
    21 here?                                                      21 scope.
    22      Q. Right. That's just the next page --                22      A. Not all, but vast majority.
    23      A. Okay.                                              23 BY MR. KO:
    24      Q. -- of the document. So regardless, we're           24      Q. Right. And I said, just so the record is

                                                     Page 271                                                          Page 273
     1 on Page 2 of this document.                                 1 clear, is it accurate to say that nearly 100 percent of
     2      A. Okay. Thank you.                                    2 all oxycodone 15-milligram and oxycodone 30-milligram
     3      Q. And there's a question asked, quote, what           3 orders resulted in a chargeback request by a
     4 percentage of sales of oxycodone products involve           4 distributor?
     5 customers that fall under the chargeback system.            5      A. It would be --
     6          Did I read that correctly?                         6          MR. O'CONNOR: Objection to form and
     7      A. Yes.                                                7 scope.
     8      Q. And the answer that's provided is from              8      A. It would be more accurate to say 96
     9 2009 through 2012, approximately 96 percent of the          9 percent and 98 percent.
    10 total volume by dosage units of oxycodone 15-milligram     10 BY MR. KO:
    11 products manufactured and distributed by Mallinckrodt      11      Q. Okay. Fair enough. So 96 percent of all
    12 fell under the chargeback system.                          12 oxy 15 orders of Mallinckrodt-manufactured oxy 15
    13          Did I read that correctly?                        13 resulted in a chargeback request from the 2009 through
    14      A. Yes.                                               14 2012 time period; correct?
    15      Q. So a moment ago you had said not all               15          MR. O'CONNOR: Objection to form, scope.
    16 requests -- not all -- sorry -- not all transactions       16 Asked and answered.
    17 resulted in a chargeback request?                          17      A. Yes.
    18      A. That's correct.                                    18 BY MR. KO:
    19      Q. But at least with respect to oxycodone 15          19      Q. And final question. 98 percent of the
    20 milligrams, from 2009 to 2012, 96 percent resulted in a    20 total volume of oxycodone 30-milligram products
    21 chargeback request; is that accurate?                      21 manufactured by Mallinckrodt resulted in a chargeback
    22          MR. O'CONNOR: Objection to scope.                 22 request made by a distributor in the 2009 through 2012
    23      A. Yes.                                               23 time period; correct?
    24 BY MR. KO:                                                 24          MR. O'CONNOR: Objection to form, scope.

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     1 Asked and answered.                                        1 long period of time.
     2     A. Correct.                                            2      A. I know. There were approximately four
     3         MR. KO: Okay. Those are all the                    3 meetings and a videoconference during that time where
     4 questions I have. Thank you for your patience.             4 issues were being discussed and Tennessee came up.
     5     A. Thank you.                                          5     Q. So the meetings and the videoconference,
     6         THE VIDEOGRAPHER: We are going off the             6 were they specifically about Tennessee?
     7 record at 4:32 PM.                                         7     A. No.
     8         [A brief recess was taken.]                        8     Q. Have you had any meetings or conversations
     9         THE VIDEOGRAPHER: We are back on the               9 with your counsel specifically about Tennessee?
    10 record at 4:49 PM.                                        10     A. No.
    11               EXAMINATION                                 11     Q. So your discussions about Tennessee with
    12 BY MS. HERZFELD:                                          12 your counsel, all told, would you say -- specifically
    13     Q. Mr. Gillies, my name is Tricia Herzfeld,           13 about Tennessee -- how long?
    14 and I'm an attorney representing the plaintiffs in the    14     A. With counsel?
    15 Tennessee litigation. Are you familiar with the           15     Q. Yes, sir.
    16 Tennessee litigation?                                     16     A. Several hours.
    17     A. Yes.                                               17     Q. Several hours?
    18     Q. And what is it that you know about the             18     A. Yes.
    19 Tennessee litigation?                                     19     Q. And so you said several hours specifically
    20     A. That you have a claim against Mallinckrodt         20 about Tennessee?
    21 and others for the opioid crisis.                         21     A. Correct.
    22     Q. What else do you know about it?                    22     Q. Then you said several conversations
    23     A. That's about my recollection.                      23 between September 2018 and January 2019 were those
    24     Q. Do you know who the plaintiffs are in the          24 other things and Tennessee was brought up, so I guess

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     1 Tennessee litigation?                                      1 I'm a little confused.
     2      A.   I do not recall.                                 2      A. Okay. So there were four meetings with
     3         MS. HERZFELD: And before we get going in           3 counsel and a videoconference, and at some point during
     4 the deposition today, we're going to lodge our usual       4 those meetings, some issues on Tennessee came up.
     5 objections for failure to comply with the MDL protocol,    5      Q. And so each of those meetings would you
     6 which has also been entered and established in Dunaway     6 say was roughly how long?
     7 (ph) cases.                                                7         MS. MIKA: Sorry to interrupt the
     8         MR. O'CONNOR: And we're going to respond           8 deposition, but you're muted.
     9 with our usual objection to your objections.               9         THE REPORTER: Okay, I just turned you
    10         MS. HERZFELD: There we go. Okay.                  10 guys back on.
    11 BY MS. HERZFELD:                                          11 BY MS. HERZFELD:
    12      Q. And Mr. Gillies, what did you do to               12      Q. I'm sorry. And so how long would you say
    13 prepare for the Tennessee portion of your deposition      13 each of those meetings was?
    14 today?                                                    14      A. So four of the meetings were approximately
    15      A. I met with legal counsel, and my                  15 eight hours. The videoconference was four hours. And
    16 recollection is that some of the documents that I         16 then combined, several hours over that time frame was
    17 reviewed might be associated with that matter.            17 devoted to Tennessee.
    18      Q. How long would you say you met with your          18      Q. And who was on those calls?
    19 counsel specifically about the Tennessee matter?          19      A. So on the call was Andrew O'Connor and
    20      A. Several hours.                                    20 Bill Davison.
    21      Q. And when was that?                                21      Q. Anybody else?
    22      A. Between September and -- September 2018           22      A. No.
    23 and January 2019.                                         23      Q. And what about in the meetings?
    24      Q. And so how was that broken up? That's a           24      A. In the meetings would have been Andrew,

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     1 Bill, and Josh.                                            1       Q. Did you search your e-mails or your
     2      Q. Anybody else?                                      2 documents for anything having to do with Tennessee
     3      A. No.                                                3 prior to attending this deposition today?
     4      Q. Have you read the Tennessee complaint?             4       A. No.
     5      A. I don't think so.                                  5       Q. Going to Topic 1. What was done by
     6      Q. And do you know if the allegations in the          6 Mallinckrodt to ensure compliance with Tennessee state
     7 Tennessee complaint are meaningfully different than the    7 statutes and local laws?
     8 allegations in the MDL?                                    8          MR. O'CONNOR: Objection.
     9      A. I do not.                                          9          MS. HERZFELD: What's the objection?
    10          MR. O'CONNOR: Objection to form.                 10          MR. O'CONNOR: Form and potentially scope.
    11 BY MS. HERZFELD:                                          11 Form for now.
    12      Q. I'm sorry. You said I do not?                     12 BY MS. HERZFELD:
    13      A. That's correct.                                   13       Q. Okay. I'm looking here. I just want
    14      Q. And I'm sorry. I might have asked you             14 to -- I want to be very clear. So looking at that very
    15 this question before. Did you review any                  15 first topic, Topic 1 is your procedures, organization,
    16 Tennessee-specific documents in preparation for your      16 and personnel assignments, oversight, due diligence,
    17 testimony today?                                          17 and quality control regarding compliance with the CSA
    18      A. I believe I reviewed some documents that          18 and all state and local laws and regulations concerning
    19 related to Tennessee.                                     19 the diversion of opioids. So I'll repeat the question.
    20      Q. Are you finished?                                 20          What was done by Mallinckrodt to ensure
    21      A. I am.                                             21 compliance with Tennessee state statutes and local laws
    22      Q. And when you looked at those documents,           22 regarding the manufacturing or distribution of opioids?
    23 did they refresh your recollection in any way?            23          MR. O'CONNOR: Objection to form.
    24      A. Refresh my recollection of what?                  24       A. I don't know.

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     1      Q. Whatever the topic was of the document.            1 BY MS. HERZFELD:
     2      A. Yes.                                               2      Q. Do you know if there were any policies in
     3      Q. And how many documents that related to             3 place to ensure compliance with Tennessee state and
     4 Tennessee would you say you reviewed?                      4 local laws regarding the manufacturing or distribution
     5      A. Less than five.                                    5 of opioids?
     6      Q. And what types of documents were they?             6      A. I know there were some policies in place
     7           MR. O'CONNOR: Object to work product,            7 for some states. I'm not sure whether Tennessee fell
     8 attorney-client privilege. You can answer at a high        8 within that.
     9 level.                                                     9 BY MS. HERZFELD:
    10      A. E-mails.                                          10      Q. Do you know which states you can recall?
    11 BY MS. HERZFELD:                                          11      A. I do not.
    12      Q. Just e-mails?                                     12      Q. Who would have been in charge of ensuring
    13      A. That's all I can recall.                          13 compliance with Tennessee state statutes and local laws
    14      Q. And were those e-mails selected for you by        14 regarding the manufacturing and distribution of
    15 your counsel, or did you look at some on your own?        15 controlled substances?
    16      A. Would have been presented to me in                16      A. I don't know.
    17 preparation from counsel.                                 17      Q. And your answers are for 2008 forward?
    18      Q. And I believe you said you did some               18      A. Yes.
    19 preparation outside of your preparation with counsel      19      Q. And who would have been in charge for due
    20 earlier; is that correct?                                 20 diligence to ensure that Tennessee state and local laws
    21      A. Yes.                                              21 were being followed with regard to manufacturing or
    22      Q. Did you focus any of that preparation time        22 distributing controlled substances in Tennessee?
    23 on the Tennessee litigation?                              23      A. I don't know.
    24      A. No.                                               24      Q. Did Mallinckrodt do anything to ensure

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     1 that it was in compliance with Tennessee code annotated    1    Q. Do you recall any of the states that were?
     2 53-11-302, 303, and 304 concerning the manufacturing of  2      A. I do not.
     3 controlled substances?                                   3      Q. Do you recall what area of the country
     4      A. I'm unfamiliar with those.                       4 they were in?
     5      Q. And how are you familiar with those?             5      A. I do not.
     6      A. I said I'm unfamiliar with those.                6      Q. Did Mallinckrodt do anything to monitor
     7      Q. So my answer is (sic), here as                   7 the potential diversion of opioids in Tennessee
     8 Mallinckrodt's corporate representative today, what did  8 specifically?
     9 Mallinckrodt do, if anything, to ensure compliance with  9      A. It was a national program.
    10 TCA 53-11-302, 303, and 304 regarding the manufacturing 10      Q. But anything specifically about Tennessee?
    11 or distribution of controlled substances?               11      A. Not that I'm aware of.
    12      A. And I'm sorry. What's the question there?       12      Q. What about auditing the -- or the
    13      Q. I'll repeat it.                                 13 potential diversion of opioids in Tennessee? Did
    14      A. Okay. Thank you.                                14 Mallinckrodt do anything specifically for Tennessee in
    15      Q. Uh-huh. Did Mallinckrodt do anything to         15 auditing potential diversion of opioids in Tennessee?
    16 ensure that it was in compliance with Tennessee code    16          MR. O'CONNOR: Objection to form.
    17 annotated 53-11-303, 302, and 304, concerning the       17      A. Not that I'm aware of.
    18 manufacturing and distribution of controlled            18 BY MS. HERZFELD:
    19 substances?                                             19      Q. What about specific investigations of
    20      A. I don't know.                                   20 potential diversion of opioids in Tennessee? Did
    21      Q. Did Mallinckrodt do anything to ensure it       21 Mallinckrodt do anything specific -- strike that. I
    22 was in compliance with Tennessee code annotated         22 got all caught up on that one.
    23 53-11-401 regarding the distribution of controlled      23          Did Mallinckrodt do anything specifically
    24 substances?                                             24 to investigate the potential diversion of its opioids

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     1      A. I don't know.                                      1 in Tennessee?
     2      Q. Did Mallinckrodt do anything to ensure             2      A. Yes.
     3 that it was compliance with the Drug Dealer Liability      3      Q. What did you do?
     4 Act, Tennessee code annotated 29-38-101?                   4      A. I believe there were several
     5      A. I don't know.                                      5 investigations that were brought to our attention by
     6      Q. What were -- did Mallinckrodt have                 6 law enforcement, and law enforcement was looking for
     7 policies regarding the detection of potential diversion    7 assistance, so we provided the assistance.
     8 of opioids in Tennessee?                                   8      Q. Are you finished with your answer?
     9      A. We had a national program.                         9      A. I am.
    10      Q. And is that the national program that was         10      Q. And so you said there were several
    11 run by Karen Harper?                                      11 investigations. What were they?
    12      A. Yes.                                              12      A. I'm not going to recall all of them. One
    13      Q. And she would have been in charge of that?        13 that sticks out is the Sunrise investigation.
    14      A. Yes.                                              14      Q. And were you involved in that?
    15      Q. So she would have been the person with the        15      A. No.
    16 most knowledge outside of anyone?                         16      Q. And what was the extent of the involvement
    17          MR. O'CONNOR: Objection to form.                 17 of Tennessee law enforcement in the Sunrise
    18          MS. HERZFELD: You're right. I'll                 18 investigation, to your knowledge?
    19 withdraw the question.                                    19      A. To my knowledge, that they had through
    20 BY MS. HERZFELD:                                          20 their investigation recovered a bottle of Mallinckrodt
    21      Q. Were there any specific policies regarding        21 product, and asked if there was anything that we could
    22 potential diversion of opioids in Tennessee?              22 do to identify where the bottle may have shipped to.
    23      A. Again, there was on some states. I'm not          23          And so we -- first report we ran was the
    24 sure if Tennessee was one of those states.                24 lot number to see which distributors received that lot,


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     1 and then to further assist, they looked to see if there    something that you need to object -- do you need to
                                                                    1
     2 was any other data in Mallinckrodt's possession that     2 have a privilege there?
     3 might help law enforcement in this case, and they        3      A. Karen Harper.
     4 looked at chargeback data. And because they had the      4      Q. Okay. Karen Harper. Okay. And in that
     5 bottle, they were able to get some chargeback data that  5 investigation, does Morristown, Tennessee, ring a bell
     6 led to Sunrise.                                          6 to you?
     7      Q. What other investigations -- law                 7      A. It does not.
     8 enforcement investigations in Tennessee are you aware    8      Q. So -- but in that investigation having to
     9 of?                                                      9 do with Sunrise, those drugs were eventually traced
    10      A. Specifically, I can't recall at this time.      10 back to a Dr. Barry Schultz; is that correct?
    11 But there were -- it's my recollection that there were  11      A. That's correct.
    12 some other law enforcement agencies that had contacted 12       Q. And Barry Schultz was a physician in
    13 us looking for similar information either on a lot      13 Florida; is that right?
    14 trace or the amount of active ingredient in one of our  14      A. That's correct.
    15 pills.                                                  15      Q. And he was running what some would
    16      Q. And if I was looking for documents about        16 characterize as a pill mill; is that right?
    17 those other investigations -- lot traces or the amount  17         MR. O'CONNOR: Objection. Form.
    18 of active ingredient in your pills -- where would I     18      A. That's my understanding.
    19 find those documents?                                   19 BY MS. HERZFELD:
    20      A. Either with a search within our DEA             20      Q. And so in that investigation what they
    21 compliance or our security.                             21 learned is that those pills went into the illegal drug
    22      Q. And you're head of security; is that            22 market along the Oxy Highway; is that right?
    23 right?                                                  23         MR. O'CONNOR: Objection to form.
    24      A. I am.                                           24      A. I'm sorry. Who's they that learned that?

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     1      Q. So have you personally been involved in              1 BY MS. HERZFELD:
     2 any?                                                         2      Q. Mallinckrodt learned that?
     3      A. I believe I have.                                    3      A. Oh, okay.
     4      Q. And so you think those documents would               4          MR. O'CONNOR: Same objection.
     5 either be with DEA compliance group or in the security       5      A. So what did Mallinckrodt learn?
     6 group? They'd be stored there?                               6 BY MS. HERZFELD:
     7      A. Correct.                                             7      Q. Yes, sir.
     8      Q. And going back to the Sunrise thing you              8      A. Okay.
     9 said before, was that investigation -- that was before       9      Q. Would you like me to say that again?
    10 your time at Mallinckrodt?                                  10      A. Yeah, please.
    11      A. Yes.                                                11      Q. Sure. And so during the investigation
    12      Q. And so how did you learn the information            12 with law enforcement, Mallinckrodt learned that those
    13 about that investigation?                                   13 pills had come from the pill mill, Dr. Schultz, made it
    14      A. From legal counsel and Karen Harper.                14 into the illegal drug market, up the Oxy Highway; is
    15      Q. And when did you learn about it?                    15 that correct?
    16      A. I'd say the first time -- can't recall,             16          MR. O'CONNOR: Objection. Form.
    17 but I'm going to say it was approximately 2014.             17      A. So define the Oxy Highway, and then --
    18      Q. And who told you about it in 2014?                  18 BY MS. HERZFELD:
    19      A. Karen --                                            19      Q. Up I-75.
    20          MR. O'CONNOR: I'm going to object to the           20      A. Okay. Yes.
    21 extent it calls for attorney-client privilege               21      Q. And based on that investigation with law
    22 information.                                                22 enforcement in Tennessee, those illegal drugs made it
    23 BY MS. HERZFELD:                                            23 into the illegal drug market in Tennessee; is that
    24      Q. Did your attorney tell you in 2014                  24 right?


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     1          MR. O'CONNOR: Objection to form.                    1 DEA?
     2      A. That's my understanding.                             2      A. Not that I'm aware of.
     3 BY MS. HERZFELD:                                             3      Q. Did Mallinckrodt ever make any reports of
     4      Q. And that was Mallinckrodt's understanding            4 suspected diversion to any Tennessee law enforcement?
     5 at the time; is that right?                                  5      A. Not that I'm aware of.
     6          MR. O'CONNOR: Same objection.                       6      Q. Did Mallinckrodt ever make any reports of
     7      A. That's correct.                                      7 suspected diversion to federal law enforcement with
     8 BY MS. HERZFELD:                                             8 jurisdiction over Tennessee, like the U.S. Attorney's
     9      Q. And other than those two topics, the                 9 office for Tennessee, for example?
    10 Sunrise investigation, and then when you said either        10          MR. O'CONNOR: Objection to form.
    11 lot traces or amount of active ingredients, can you         11      A. Yeah. So I'm unaware of any suspicious
    12 think of any other communication that Mallinckrodt has      12 reports related to Tennessee that were reported to the
    13 had with Tennessee law enforcement specifically?            13 DEA.
    14      A. I cannot.                                           14 BY MS. HERZFELD:
    15      Q. What about any communication Mallinckrodt           15      Q. And when you say suspicious reports, do
    16 has had with Tennessee law enforcement generally? Can       16 you also mean suspected diversion?
    17 you recall any?                                             17      A. Yes, because I'm unaware of any suspected
    18      A. No.                                                 18 diversion that Mallinckrodt was aware of taking place
    19      Q. Did Mallinckrodt have any policies                  19 in Tennessee outside of that Sunrise matter and the
    20 regarding the disclosure of suspicious orders in            20 doctor that was located in Florida.
    21 Tennessee to the DEA?                                       21      Q. And if there was suspected diversion in
    22      A. I'm unaware of any suspicious orders to             22 Tennessee, who would have been in charge of reporting
    23 Tennessee.                                                  23 that to Tennessee law enforcement?
    24      Q. And when you say unaware of any suspicious          24      A. Security.

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     1 orders to Tennessee, do you mean shipped or meant for        1      Q. And security would have been you?
     2 Tennessee?                                                   2      A. Currently would be me, but -- time frame;
     3         MR. O'CONNOR: Objection to form.                     3 right? So June 2012 on, law enforcement contact -- I
     4 BY MS. HERZFELD:                                             4 was the main law enforcement contact for Mallinckrodt
     5      Q. Well, I guess what do you mean when you              5 and had contact with federal, state, and local law
     6 say --                                                       6 enforcement across the country.
     7      A. Yeah. I mean --                                      7      Q. And before you it would have been Mr.
     8      Q. -- you're unaware of any suspicious                  8 Ratliff?
     9 orders to Tennessee? What do you mean by that?               9      A. Correct.
    10      A. Yeah. So I'm unaware that there were any            10      Q. Did Mallinckrodt ever report to the DEA
    11 suspicious orders reported to DEA that were intended        11 that it was limiting sales of anyone in Tennessee that
    12 for Tennessee.                                              12 they suspected of suspicious orders?
    13      Q. And so to your knowledge there weren't any          13      A. So I can't recall any sales of our
    14 reports of suspicious orders to DEA about Tennessee?        14 products to distributors in Tennessee. So can you
    15      A. Right.                                              15 restate -- just repeat your question?
    16      Q. And who would have been in charge of                16      Q. Sure. Sure. I'll kind of rephrase it.
    17 making those reports if they had occurred?                  17          I guess I'm wondering if you know if
    18      A. DEA compliance.                                     18 Mallinckrodt ever reported to the DEA of halting of
    19      Q. And who is head of DEA compliance?                  19 sales to anyone involved in suspicious orders in
    20      A. Karen Harper.                                       20 Tennessee.
    21      Q. What about any reports of suspected                 21      A. No.
    22 diversion to the DEA -- I'm going to back up again.         22      Q. I'm going to back up a little bit, too.
    23         What about -- did Mallinckrodt ever make            23 And when I'm saying sales, I don't just mean to the
    24 any reports of suspected diversion in Tennessee to the      24 distributors. Also based on chargeback data. You had


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     1 access to chargeback data at Mallinckrodt; is that         1      Q. And so I guess my question is a little bit
     2 correct?                                                   2 more basic.
     3           MR. O'CONNOR: Objection to form.                 3      A. Okay.
     4       A. But those weren't our sales. The sales            4      Q. Mallinckrodt could do chargeback
     5 were from -- those sales to the pharmacies would have      5 restrictions; is that right?
     6 been from the distributors.                                6      A. Yes.
     7 BY MS. HERZFELD:                                           7      Q. And chargeback restrictions would then
     8       Q. And I --                                          8 give a financial incentive for the distributor not to
     9       A. Did we have chargeback data? Yes. Those           9 do business with that particular pharmacy; is that
    10 were retroactive.                                         10 correct?
    11       Q. So I'm going to back up my questions a           11      A. Can you repeat that question? Because I
    12 little bit.                                               12 think --
    13           So to your knowledge there weren't any          13      Q. Do I have it backwards?
    14 distributors in Tennessee that Mallinckrodt was selling   14      A. I think so.
    15 opioid products to? Is that your testimony?               15      Q. So the chargeback restriction would give a
    16       A. That I can recall. Correct.                      16 financial incentive for the distributor not to do
    17       Q. And so I shouldn't have said sales,              17 business with that pharmacy; is that right?
    18 perhaps.                                                  18      A. I'm wondering if you're still getting that
    19           So when we're talking about the shipping        19 wrong. A financial incentive not to sell?
    20 of Mallinckrodt opioids that end up to people in          20      Q. Okay. I'm going to back up.
    21 Tennessee, Mallinckrodt would have some of that           21      A. Okay.
    22 information via chargeback data; is that correct?         22      Q. Explain to me your understanding of a
    23       A. Correct.                                         23 chargeback. Let's start there.
    24           MR. O'CONNOR: Objection to form.                24      A. So it's --
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     1 BY MS. HERZFELD:                                           1         MR. O'CONNOR: Objection to scope.
     2      Q. And based on that chargeback data,               2      A. It's a contractual relationship between
     3 Mallinckrodt would sometimes put different pharmacies 3 Mallinckrodt and its customers, distributors and
     4 on chargeback restrictions; is that right?               4 wholesalers. After they've bought the product, if they
     5      A. That's correct.                                  5 sell it to one of their customers for less than what
     6      Q. And so based on those chargeback                 6 they bought it, they can charge back that difference to
     7 restrictions, did Mallinckrodt ever report the limiting  7 us.
     8 of the ability to process chargebacks for pharmacies in  8 BY MS. HERZFELD:
     9 Tennessee?                                               9      Q. And if Mallinckrodt put somebody on a
    10          MR. O'CONNOR: Objection to form.               10 chargeback restriction, what is the impact that that
    11      A. So I'm sorry. I'm not sure I understand         11 has for the wholesaler?
    12 that question.                                          12           MR. O'CONNOR: Objection to form.
    13 BY MS. HERZFELD:                                        13      A. It could be a financial disincentive,
    14      Q. Sure.                                           14 because if they continue to sell to the pharmacy they
    15      A. So are you asking me did we restrict a          15 would not be made whole.
    16 pharmacy in Tennessee? Is that the question?            16 BY MS. HERZFELD:
    17      Q. It's not.                                       17      Q. So that is one way that Mallinckrodt would
    18      A. Okay.                                           18 deal with its customers' customers, is chargeback
    19      Q. But sure, do you know if you did?               19 restrictions; is that right?
    20      A. I don't recall, but I know the records          20           MR. O'CONNOR: Objection to form.
    21 were provided of all the pharmacies that were           21      A. One way Mallinckrodt could deal with its
    22 chargeback restricted.                                  22 customer's customer, by chargeback restricting them?
    23      Q. In Tennessee?                                   23 BY MS. HERZFELD:
    24      A. For the entire country.                         24      Q. Yes, sir.

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     1      A. Yes.                                                 1 that's all you would do if you had a suspicion that a
     2      Q. Was there ever anything between chargeback           2 pharmacy based on information that you had might be
     3 restrictions, like a chargeback limiting?                    3 engaged in diversion?
     4          MR. O'CONNOR: Objection to form.                    4          Did I understand that correctly?
     5      A. I don't even know what that means. I'm               5          MR. O'CONNOR: Objection to form.
     6 sorry.                                                       6      A. Yeah, could you restate that one more
     7 BY MS. HERZFELD:                                             7 time?
     8      Q. So did you ever -- did Mallinckrodt ever             8 BY MS. HERZFELD:
     9 attempt to limit the sale of or the distribution of --       9      Q. Sure. So I think from your explanation
    10 I'm going to back up. Strike that. Start over.              10 that you just gave me is you said if you, based on the
    11          Did Mallinckrodt ever try to limit the             11 information Mallinckrodt had, suspected that a pharmacy
    12 volume of its products, its opioid products, to             12 might be engaged in diversion, you would notify the
    13 particular pharmacies?                                      13 distributor that you would be placing that pharmacy on
    14      A. So we didn't sell to the pharmacies; the            14 chargeback restriction.
    15 distributors did.                                           15          Did I understand that correctly?
    16      Q. I understand.                                       16      A. That's correct. We would notify the DEA
    17      A. Okay.                                               17 and all distributors that -- so you might be the only
    18      Q. But you could disincentivize the                    18 distributor providing product, but we would notify the
    19 distributors from doing business with pharmacies by         19 DEA and all distributors that we were chargeback
    20 implementing chargeback restrictions.                       20 restricting that pharmacy.
    21          That's what we've established; right?              21      Q. And when did that begin?
    22      A. We wouldn't know which pharmacies the               22      A. The earliest I recall was 2011.
    23 distributors were selling to unless we looked at the        23      Q. And was that notifying the DEA in 2011 or
    24 chargeback data.                                            24 notifying all the distributors in 2011?

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     1      Q. Okay, but that's not my question.                    1      A. Both.
     2      A. Okay. Then I'm confused by what you're               2         MR. O'CONNOR: Objection.
     3 trying to ask me on this.                                    3 BY MS. HERZFELD:
     4      Q. So what I'm say --                                   4      Q. And so I guess my question is, other than
     5      A. Because we sell to distributors and the              5 that process which you've just explained, was there
     6 wholesalers, and you're asking me to reduce product to       6 anything else you would do if you suspected a potential
     7 the pharmacy that I'm not selling to. That's how I           7 pharmacy was engaging in diversion?
     8 understood your question.                                    8      A. If we did suspect, we'd contact law
     9      Q. So what do you understand the purpose of             9 enforcement.
    10 chargeback restrictions to be?                              10      Q. And which law enforcement? The DEA?
    11      A. So if we think there's a potential for              11      A. DEA, the applicable state or local agency.
    12 diversion based on the information that we've seen,         12      Q. And where would I find records of those
    13 then we restrict the chargebacks, advising the              13 contacts with state or local agencies?
    14 distributors that we have an issue with this pharmacy.      14      A. Well, first of all, you would have -- if
    15          So if they want to continue to sell, they,         15 the record existed, it would be in security's files.
    16 the distributors or wholesalers, that's on them, but        16 But I'm not saying that there are any that exist.
    17 we're not going to give them the chargeback. So the         17      Q. Is there a reason that there wouldn't be
    18 restriction comes from we not paying the distributors       18 ones that exist?
    19 and the wholesalers that difference.                        19      A. Yeah, because we didn't have any
    20          That's the piece there, and it has nothing         20 information that a particular pharmacy was involved in
    21 to do with the pharmacy, because we won't know which        21 diversion.
    22 pharmacy that is until weeks or a month or longer           22      Q. Can you recall a time when you had
    23 later.                                                      23 information that a particular pharmacy was involved in
    24      Q. And so other than chargeback restrictions,          24 diversion?


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     1      A. I can recall a time when there were                    1         A.Okay.
     2 pharmacies that I had concern about, and I notified the        2         Q.Am I right in that?
     3 DEA on that.                                                   3          MR. O'CONNOR: Objection to scope.
     4      Q. Is that all?                                           4      A. I mean, I'm uncertain, but it says
     5      A. Yes.                                                   5 department, legal, and stuff, and the purpose and the
     6      Q. Does Mallinckrodt to your knowledge have               6 file path. I mean, it looks like folders within a
     7 any suspicious order monitoring policies and procedures        7 computer system.
     8 that are specific to Tennessee?                                8 BY MS. HERZFELD:
     9      A. No, it's a national program.                           9      Q. And do you have any way of knowing if this
    10      Q. I'm going to show you what we will mark               10 is a complete listing of the files in the computer
    11 here as Plaintiff's Exhibit 31.                               11 system?
    12          [Exhibit Mallinckrodt-Gillies-031                    12          MR. O'CONNOR: Objection to scope.
    13          marked for identification.]                          13      A. I have no idea.
    14      Q. I don't like to use the ELMO.                         14 BY MS. HERZFELD:
    15      A. Really?                                               15      Q. And when you say that documents would be
    16      Q. Do you want me to use -- I can use it if              16 in security, for example --
    17 you want me to use it, but for me I don't use it.             17      A. Uh-huh.
    18 Okay. Here. Ooh, it's really small. Yeah, I can see           18      Q. -- there's a security folder at
    19 why.                                                          19 Mallinckrodt?
    20          THE VIDEOGRAPHER: Can you see?                       20      A. Yes.
    21          MS. HERZFELD: Can you see? How's that?               21      Q. And that would look something like one of
    22          THE VIDEOGRAPHER: Here you go.                       22 these? It's not like a filing cabinet; it's like a
    23 BY MS. HERZFELD:                                              23 computer path?
    24      Q. That's good. Is that better?                          24      A. That's correct.

                                                          Page 303                                                      Page 305
     1      A. Could you blow that up? Yeah, that --                  1         Q.   Okay. That's my only question to that.
     2          THE VIDEOGRAPHER: That's as big as it                 2         A.   Okay.
     3 gets.                                                          3         Q.   Thank you. Okay. Moving on to Exhibit
     4      A. Okay.                                                  4   32.
     5 BY MS. HERZFELD:                                               5           [Exhibit Mallinckrodt-Gillies-032
     6      Q. When we all get over a certain age, it                 6           marked for identification.]
     7 makes it difficult to see. Okay. Okay. If you'll               7       Q. This one's a little bit easier to see.
     8 take a look at this document.                                  8 Okay.
     9      A. I'm not going to be able to see it here.               9       A. Okay.
    10 So can you just --                                            10       Q. Have you seen this document before?
    11      Q. Just -- you can see it from there.                    11       A. I believe I have.
    12      A. Okay.                                                 12       Q. And it looks like at the bottom it says
    13      Q. Yeah. Okay. I'm just going to show you                13 it's the DEA distributor conference PowerPoint from
    14 this document here, and this is a document that's been        14 September 23rd, 2015. Is that correct?
    15 produced to us in discovery.                                  15       A. Yes.
    16      A. Okay.                                                 16       Q. And I think you were talking before about
    17      Q. Can you tell from this document what it               17 different DEA conferences that occur throughout the
    18 appears to be?                                                18 years. Is that right?
    19      A. I mean, it appears to be a search of files            19       A. Yes.
    20 that they're providing.                                       20       Q. And did you ever attend those DEA
    21      Q. And so when I look at this document, it               21 conferences?
    22 looks to me like it's a printout of all the different         22       A. Put on by DEA? No. Put on by others?
    23 kinds of places where documents are maybe stored on a         23 Yes.
    24 server, like an internal Mallinckrodt server.                 24       Q. And if somebody from Mallinckrodt attended

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     1 those conferences from DEA, they would bring back       that right?
                                                                1
     2 information to the team; is that right?               2      A. Correct.
     3      A. That's right.                                 3      Q. And does there appear to be more darkened
     4      Q. And is that how this PowerPoint made it       4 shades on the 2009 than there were on the 2008?
     5 back from this conference to Mallinckrodt?            5          MR. O'CONNOR: Objection to form.
     6      A. I don't know how it made it back, so --       6      A. Yes.
     7      Q. But you've seen it before?                    7 BY MS. HERZFELD:
     8      A. I believe I have.                             8      Q. If you'll flip with me to the next page.
     9      Q. If you'll flip through with me here.          9 If you could give me the title there, please.
    10      A. Okay.                                        10      A. 2010 Tennessee opioid prescriptions.
    11      Q. To -- there aren't really any pages on it.   11      Q. And this also shows the prescription rate
    12      A. Okay.                                        12 per hundred population, with the darkest number being
    13      Q. There aren't page numbers. It's about --     13 the highest; is that correct?
    14 one that says at the bottom MNK_TNSTA00607267. It's 14       A. Correct.
    15 the first map. If you'll take a look at that for me, 15      Q. And does 2010's map look darker in some
    16 please.                                              16 sections than 2009?
    17      A. Yes.                                         17          MR. O'CONNOR: Objection to form.
    18      Q. You see where I'm at?                        18      A. Yes.
    19      A. Yes.                                         19 BY MS. HERZFELD:
    20      Q. Could you please tell me what the title of   20      Q. If you'll flip with me to the next page,
    21 this map is?                                         21 please. What is the title of that page?
    22      A. 2007 Tennessee opioid prescriptions.         22      A. 2011 Tennessee opioid prescriptions.
    23      Q. And that's showing prescription rate per     23      Q. And this it says here is a map of
    24 hundred population; is that right?                   24 Tennessee, with the darkest colors being the highest

                                                     Page 307                                                    Page 309
     1     A. Yes.                                              1 rate of prescription per hundred population; is that
     2     Q. Flip with me to the next page, please.            2 correct?
     3 Could you tell me the title there?                       3      A. Correct.
     4     A. 2008 Tennessee opioid prescriptions.              4      Q. And would you agree that the 2011 map
     5     Q. And that's also showing prescription rates        5 looks darker than the 2010 map?
     6 per hundred population; is that right?                   6           MR. O'CONNOR: Objection to form.
     7     A. Yes.                                              7      A.    Yes.
     8     Q. And the highest prescription rate is the          8 BY MS. HERZFELD:
     9 darkest color; is that right?                            9      Q. And if you look at the 2007 map compared
    10     A. Yes.                                             10 to the 2011 map.
    11     Q. And from the 2007 page to 2008 page, do          11           Based on these two documents, would you
    12 you agree that there are more darkened colors in 2008 12 say the prescription rate for opioids per hundred
    13 than there were in 2007?                                13 population in Tennessee went up?
    14         MR. O'CONNOR: Objection to form.                14      A. Yes.
    15     A. Yes.                                             15      Q. If you'll flip with me to the next page,
    16 BY MS. HERZFELD:                                        16 the one at the bottom that says 607272. Could you read
    17     Q. If you'll flip with me to the next page,         17 the title of that page for me, please?
    18 please. Could you read the title there for me, please?  18      A. Painkiller prescriptions by state.
    19     A. 2009 Tennessee opioid prescriptions.             19      Q. Okay. Could you read the rest of the
    20     Q. And that also is a prescription rate per         20 slide for me here?
    21 hundred population; is that right?                      21      A. In 2012, southern states had the most per
    22     A. Correct.                                         22 person. The top three states were Alabama, Tennessee,
    23     Q. And the darkened number is the highest           23 and West Virginia. Alabama, 143 per hundred people.
    24 number of prescription rates per hundred population; is 24 Tennessee, 143 per hundred people. West Virginia, 138


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     1 per hundred people. Lowest, Hawaii, 52 per hundred           1      Q. Where it says crime?
     2 people.                                                      2      A. Drug-related crimes have increased 33
     3       Q. If you'll switch with me to the next page,          3 percent from 2005 to 2012. Lost productivity,
     4 please. Read the title of that page for me.                  4 prescription drug abuse cost was estimated at $143
     5       A. Tennessee pain clinics, 2014.                       5 million in 2008. Adjusted for inflation, it's now $160
     6       Q. And this shows that there are 307                   6 million.
     7 certified clinics within Tennessee; is that right?           7      Q. And if you'll switch with me then to the
     8       A. That's what it says, yes.                           8 next -- the page at the bottom that's 7277. Could you
     9       Q. And it breaks it down by counties; is that          9 read the title of that page for me, please?
    10 right?                                                      10      A. Unlawful distribution.
    11       A. Yes.                                               11      Q. And the first line it says is
    12       Q. If you'll flip with me to the next page,           12 inappropriate or overprescribing. Would you agree that
    13 724 -- 7274. Okay. If you could tell me what the            13 that is unlawful distribution of opioids?
    14 title of this page is, please.                              14          MR. O'CONNOR: Objection to form.
    15       A. Tennessee top 10 controlled substances,            15      A. If there wasn't a legitimate medical
    16 2014.                                                       16 purpose.
    17       Q. And what is the top controlled substance           17 BY MS. HERZFELD:
    18 for Tennessee in 2014, according to this chart?             18      Q. What about knowledge of redistribution?
    19       A. Hydrocodone products.                              19 Would that constitute unlawful distribution of opioids?
    20       Q. And the second?                                    20          MR. O'CONNOR: Objection to form.
    21       A. Alprazolam.                                        21      A. So just so that I'm clear, what are we
    22       Q. And the third?                                     22 saying knowledge of redistribution is?
    23       A. Oxycodone.                                         23 BY MS. HERZFELD:
    24       Q. And does Mallinckrodt produce oxycodone?           24      Q. Knowledge of redistribution of an opioid

                                                        Page 311                                                   Page 313
     1      A. Yes.                                                 1 without a legitimate medical purpose.
     2      Q. And does Mallinckrodt produce hydrocodone?           2          MR. O'CONNOR: Objection to form. Same
     3      A. Yes.                                                 3 objection.
     4      Q. If you'll switch to the next one for me,             4      A. So somebody's redistributing the product
     5 please, the one at the bottom that says 7275. Read the       5 for a nonmedical purpose or a scientific purpose;
     6 top of the page for me, please.                              6 right?
     7      A. Impact in Tennessee.                                 7 BY MS. HERZFELD:
     8      Q. And then what is the next line that starts           8      Q. Or a drug abuse purpose?
     9 with deaths?                                                 9      A. Or doing it for a drug abuse purpose?
    10      A. Deaths. Over 1,000 people are dying from            10      Q. Yes, sir.
    11 in the state every year.                                    11      A. Okay.
    12      Q. And the next one that starts with                   12      Q. Would you consider that to be unlawful
    13 children?                                                   13 distribution of an opioid product?
    14      A. Children. 50 percent of the children in             14          MR. O'CONNOR: Objection. Form.
    15 DCS care are there because of parental drug abuse.          15      A. It would be diversion of the product.
    16 Over the past decade, there's been a tenfold rise in        16 BY MS. HERZFELD:
    17 the incidence of babies born with neonatal abstinence       17      Q. And is diversion of the product unlawful?
    18 syndrome.                                                   18      A. And it could be.
    19      Q. And the one that says health care costs?            19      Q. Lax or careless prescription practices.
    20      A. Health care costs. ER visits for                    20 Could that be indicative of unlawful distribution?
    21 overdoses have increased 40 percent from 2005 to 2010.      21          MR. O'CONNOR: Objection to form.
    22 Estimated cost of providing drug treatment to Tennessee     22      A. I don't know what that relates to, but it
    23 drug abusers living below the poverty line is $28           23 could be.
    24 million.                                                    24 BY MS. HERZFELD:


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     1      Q. What about people who are doctor shoppers?             1      A. I'll take your comment that that's
     2 Could that indicate unlawful distribution?                     2 accurate.
     3           MR. O'CONNOR: Objection to form.                     3 BY MS. HERZFELD:
     4      A. It could be somebody that's involved in                4      Q. Is that what the page shows?
     5 the illicit drug trade.                                        5      A. It shows names, ages, and then I'm making
     6 BY MS. HERZFELD:                                               6 the assumption that that's their sentencing and how it
     7      Q. And prescription rings would be                        7 either occurred through a plea or trial.
     8 prescription drug rings. That would be an unlawful             8      Q. So based on these documents that we've
     9 distribution of opioids; is that correct?                      9 looked at, was Mallinckrodt aware that there was an
    10           MR. O'CONNOR: Objection to form.                    10 opioid crisis in Tennessee?
    11      A. Yes.                                                  11          MR. O'CONNOR: Objection to form.
    12 BY MS. HERZFELD:                                              12      A. As I've stated earlier, Mallinckrodt
    13      Q. You can switch with me on -- oops. Losing             13 became aware of the scope of the opioid crisis after
    14 myself here. Okay. If you'll switch with me to the            14 our meeting with the DEA in August of 2011.
    15 one at the bottom that says 7286. It says United              15 BY MS. HERZFELD:
    16 States versus Lang. Do you see that?                          16      Q. And Mallinckrodt was aware that there was
    17      A. Yes.                                                  17 an opioid crisis in Tennessee as well; is that correct?
    18      Q. And this says Superior One Medical Clinic.            18          MR. O'CONNOR: Objection to form.
    19 Do you know where Superior One Medical Clinic is              19      A. I don't know that.
    20 located?                                                      20 BY MS. HERZFELD:
    21      A. I do not.                                             21      Q. If you'll switch with me to the page here
    22      Q. If I told you it was in Tennessee, would              22 in this one last one here, 7310, the second to third
    23 you have any reason to doubt that?                            23 back. Okay. Could you read the title of that page for
    24           MR. O'CONNOR: Objection to form.                    24 me, please?

                                                          Page 315                                                   Page 317
     1       A. I don't think you would mislead me.                   1      A. Red flags.
     2 BY MS. HERZFELD:                                               2      Q. And red flags that are indicated by this
     3       Q. I'm going to just flip through this to                3 DEA PowerPoint here -- the first one is complaints.
     4 make this a little bit quicker. Okay. On the one at            4 Did Mallinckrodt consider complaints to be a red flag
     5 the bottom that says 7288. Okay. Can you read me the           5 of diversion?
     6 title of that document, please?                                6         MR. O'CONNOR: Objection to form.
     7       A. Oxycodone's street value is based on                  7      A. Mallinckrodt considered certain red flags.
     8 prescriptions.                                                 8 I'm not sure what the complaint is referencing here on
     9       Q. Are you aware that there is a street value            9 this page. So --
    10 for oxycodone?                                                10 BY MS. HERZFELD:
    11           MR. O'CONNOR: Objection to form.                    11      Q. I'll rephrase the question. When
    12       A. Yes.                                                 12 Mallinckrodt was looking for red flags of diversion,
    13 BY MS. HERZFELD:                                              13 would Mallinckrodt look for complaints about a
    14       Q. And if you'll switch with me almost all              14 particular location?
    15 the way here to the back. The one that's 7309. My             15      A. So --
    16 apologies. Okay. Could you read the top of that title         16         MR. O'CONNOR: Objection to form.
    17 for me?                                                       17      A. Complaints against a pharmacy?
    18       A. More east Tennessee pill defendants.                 18 BY MS. HERZFELD:
    19       Q. And this indicates -- one, two, three,               19      Q. Sure.
    20 four, five, six, seven, eight, nine, 10, 11, 12 -- 12         20      A. Yes.
    21 people who pled guilty or were found guilty of some           21      Q. Complaints about a doctor?
    22 crime involving pills in east Tennessee, according to         22      A. Yes.
    23 this chart; is that correct?                                  23      Q. Complaints about there being a pill mill
    24           MR. O'CONNOR: Objection.                            24 someplace?


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     1          MR. O'CONNOR: Objection to form.                  1 sales? Is that one of the routine things Mallinckrodt
     2      A. Yes.                                               2 would look for through its wholesalers or distributors?
     3 BY MS. HERZFELD:                                           3          MR. O'CONNOR: Objection to form.
     4      Q. What about form of payment? Is form of             4      A. So again, our sales are to the
     5 payment something that Mallinckrodt would look at?         5 distributors and wholesalers. In our chargeback
     6      A. Yes.                                               6 review, if we saw an increase in sales, we would ask
     7      Q. What about the types of customers? Is              7 for an explanation from the distributors or the
     8 that something Mallinckrodt would look at?                 8 wholesalers.
     9      A. So again, our customers are the                    9 BY MS. HERZFELD:
    10 distributors and the wholesalers, so I'm assuming on      10      Q. And that's how the process goes now?
    11 this page this is talking about customers to the          11      A. That is how the process is, yes.
    12 pharmacy.                                                 12      Q. And is that how the process has been the
    13          Do you know? Because I don't know what           13 entire time you've been at Mallinckrodt?
    14 types of customers here, but our customers are the        14      A. Yes.
    15 wholesalers and distributors. So -- I don't know how      15      Q. And when you would communicate with
    16 they're defining types of customers here, so it's hard    16 Mallinckrodt about some of these types of things -- you
    17 for me to answer that question.                           17 said you would get that information through your
    18      Q. So when we said before form of payment is         18 distributors or wholesalers.
    19 something that Mallinckrodt would look at to indicate     19          When they gave you that information, would
    20 diversion, is that form of payment of the distributor?    20 Mallinckrodt do anything to verify that information, or
    21      A. No, in that case, working through the             21 would you just accept what your wholesalers or
    22 distributors and the wholesalers, we would learn          22 distributors tell you?
    23 whether there's a high percentage of cash being paid      23          MR. O'CONNOR: Objection to form.
    24 for products. So from that perspective, that's one of     24      A. So can you repeat that question?

                                                      Page 319                                                    Page 321
     1 the red flags we would be looking for.                     1 BY MS. HERZFELD:
     2      Q.   And would you look through the                   2    Q. Sure.
     3 distributors or wholesalers for the types of customers?    3    A. Just so I completely understand it. Yeah.
     4      A. No.                                              4      Q. Yeah. I'm going to try not to go through
     5      Q. Would you look through the distributors or       5 the whole list, because --
     6 wholesalers for the type of location?                    6      A. Okay.
     7          MR. O'CONNOR: Object to form.                   7      Q. But you had said before that when we were
     8      A. So if the distributor or wholesaler --           8 talking about some of these questions --
     9 actually, if Mallinckrodt became concerned about a       9      A. Uh-huh.
    10 pharmacy, we would do some research on the location of 10       Q. -- you would try to -- Mallinckrodt would
    11 that pharmacy.                                          11 try to get that information through its wholesalers or
    12          But again, I don't know what they mean by      12 distributors in some circumstances. Did I characterize
    13 type of location, so I don't know how to fully reply to 13 your testimony fairly?
    14 that question without knowing what he meant or she      14      A. Yeah, if we became aware of a pharmacy
    15 meant when she wrote type of location.                  15 that we should be concerned about. Okay.
    16 BY MS. HERZFELD:                                        16      Q. But absent somebody making you aware of
    17      Q. Is that -- is the type of location for          17 something you should -- Mallinckrodt would be concerned
    18 where a pharmacy is located, is that something that     18 about with a particular pharmacy, you didn't routinely
    19 Mallinckrodt would request information of routinely     19 check on these things for your customer's customer; is
    20 from his wholesalers or distributors?                   20 that right?
    21      A. No.                                             21          MR. O'CONNOR: Objection to form.
    22          MR. O'CONNOR: Objection to form.               22      A. That's correct.
    23 BY MS. HERZFELD:                                        23 BY MS. HERZFELD:
    24      Q. What about an unexplained increase in           24      Q. So I guess my question is, if you had a

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     1 concern about a particular pharmacy -- for example,         1      Q.   And other than what we've discussed with
     2 because of an increased amount of sales -- and you          2 your previous interaction with law enforcement in
     3 reached out to your distributor, your wholesaler            3 Tennessee, are you aware of any other inquiries from
     4 person, as you've said that you would, you would ask        4 law enforcement in Tennessee about opioid abuse in
     5 them for an explanation?                                    5 Tennessee?
     6      A. That's right.                                       6      A.   Not that I can recall.
     7      Q. And then they would come back to you with           7     Q. And has Mallinckrodt communicated at all
     8 an explanation?                                             8 with the Tennessee Attorney General about opioid abuse
     9      A. That's correct.                                     9 or diversion in Tennessee?
    10      Q. Would you do any additional investigation          10      A.   I don't know about Tennessee.
    11 to verify that the explanation they gave you was           11      Q.   Do you know who the Attorney General of
    12 accurate, or would you --                                  12 Tennessee is right now?
    13      A. No.                                                13      A.   I do not.
    14          MR. O'CONNOR: Objection to form.                  14     Q. Does the name Herb Slatery ring any bells
    15      A. We worked with these distributors and              15 to you?
    16 wholesalers, and I trusted what they were telling me.      16     A. I'm sorry. It does not.
    17 BY MS. HERZFELD:                                           17      Q.   What about a gentleman named Bob Cooper?
    18      Q. Okay. That's my last question on this              18 Kind of a general name, but Bob Cooper as the Tennessee
    19 document.                                                  19 Attorney General, does that mean anything to you?
    20      A. Okay.                                              20      A. No.
    21          MR. KO: Tricia, I hate to interrupt. Can          21      Q. Have you personally communicated with
    22 we go off the record for just one minute?                  22 anyone at the Tennessee Attorney General's office about
    23          MS. HERZFELD: Sure.                               23 the abuse or diversion of opioids in Tennessee?
    24          THE VIDEOGRAPHER: We are going off the            24      A. No.

                                                       Page 323                                                        Page 325
     1 record at 5:47 PM.                                          1     Q. I think there was a topic about online
     2          [A brief recess was taken.]                        2 pharmacies. Do you know if any online pharmacies
     3          THE VIDEOGRAPHER: We are back on the               3 shipped any Mallinckrodt products to Tennessee?
     4 record at 6:02 PM.                                          4     A. I'm not aware of any.
     5 BY MS. HERZFELD:                                            5     Q. Do you know if online pharmacies' ordering
     6      Q. Okay, Mr. Gillies. We're back on the                6 of Mallinckrodt products had any connection to
     7 record after a short break. I just have a few more          7 Tennessee in any way?
     8 questions for you, and hopefully they'll be pretty          8         MR. O'CONNOR: Objection to form.
     9 quick.                                                      9     A. I'm sorry. Could you restate that one
    10          When you were talking earlier about the           10 more time? Or repeat it, actually, not restate it.
    11 role of wholesalers and distributors in the supply         11 BY MS. HERZFELD:
    12 chain and the policies that you have, along with those     12     Q. Sure. Do you know if any online
    13 for the distribution of opioids, are those different in    13 pharmacies' ordering of Mallinckrodt products have any
    14 any way for Tennessee than they are nationally?            14 connection to Tennessee?
    15      A. No.                                                15     A. I do not.
    16          MR. O'CONNOR: Objection to form.                  16         MR. O'CONNOR: Objection.
    17 BY MS. HERZFELD:                                           17         MS. HERZFELD: Okay. I don't have any
    18      Q. Have you been involved -- strike that.             18 more questions for you.
    19          Have you -- are you aware of any formal or        19     A. Okay.
    20 informal investigations about opioid distribution          20         MS. HERZFELD: Thank you.
    21 within Tennessee?                                          21     A. Thank you.
    22      A. Outside what we've discussed?                      22         MR. O'CONNOR: Any questions from anybody
    23      Q. Yes, sir.                                          23 else?
    24      A. No.                                                24         MS. HARMON: No.

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     1         MR. O'CONNOR: I just have a very short,              1           CERTIFICATE
     2 very short list of questions.                                2
     3         MS. HERZFELD: Like your two minutes.                 3         I, JOHN ARNDT, a Certified Shorthand
     4         MR. O'CONNOR: Actually, it might be two              4 Reporter and Certified Court Reporter, do hereby
     5 minutes. All right.                                          5 certify that prior to the commencement of the
     6         MR. GOLDSTEIN: It's attorney two minutes.            6 examination, JOHN GILLIES was sworn by me to testify
     7                EXAMINATION                                   7 the truth, the whole truth and nothing but the truth.
     8 BY MR. O'CONNOR:                                             8         I DO FURTHER CERTIFY that the foregoing is a
     9      Q. Mr. Gillies, earlier today you provided              9 true and accurate transcript of the proceedings as
    10 testimony in response to questions from Mr. Ko about        10 taken stenographically by and before me at the time,
    11 discussions with DEA concerning the abuse potential of      11 place and on the date hereinbefore set forth.
    12 hydrocodone and hydromorphone; correct?                     12         I DO FURTHER CERTIFY that I am neither a
    13      A. Yes.                                                13 relative nor employee nor attorney nor counsel of any
    14      Q. And you recall Mr. Ko's questions asked             14 of the parties to this action, and that I am neither a
    15 about those two products together?                          15 relative nor employee of such attorney or counsel, and
    16      A. Yes.                                                16 that I am not financially interested in this action.
    17      Q. Are you aware of any discussions with the           17
    18 DEA about the abuse potential of hydromorphone in           18
    19 particular?                                                 19            ______________________________
    20      A. No.                                                 20            JOHN ARNDT, CSR, CCR, RDR, CRR
    21      Q. In preparing for today's deposition, you            21            CSR No. 084-004605
    22 reviewed materials related to Mallinckrodt's national       22            CCR No. 1186
    23 suspicious order monitoring program; correct?               23
    24      A. Correct.                                            24

                                                        Page 327                                                   Page 329
     1      Q. And you also reviewed materials relating             1
     2 to other national efforts or national controls geared        2          I, JOHN GILLIES, the witness herein,
     3 towards the prevention of diversion?                         3 having read the foregoing testimony of the pages of
     4      A. Yes, our program is national.                        4 this deposition, do hereby certify it to be a true and
     5      Q. Does that suspicious order monitoring                5 correct transcript, subject to the corrections, if any,
     6 program apply in the State of Tennessee?                     6 shown on the attached page.
     7      A. It would.                                            7
     8      Q. And do the other anti-diversion controls             8
     9 you discussed today also apply in the State of               9
    10 Tennessee?                                                  10                     ______________________
    11      A. Yes.                                                11                       JOHN GILLIES
    12          MR. O'CONNOR: All right. That's all I              12
    13 have.                                                       13
    14          MS. HERZFELD: You're free to go.                   14   Sworn and subscribed to before me,
    15          MR. O'CONNOR: You want to go off the               15   This ________ day of __________, 201_.
    16 record?                                                     16
    17          THE WITNESS: We're all free to go.                 17
    18          THE VIDEOGRAPHER: We are going off the             18   _______________________________
    19 record at 6:07 PM.                                          19       Notary Public
    20                                                             20
    21            [SIGNATURE RESERVED.]                            21
    22                                                             22
    23                                                             23
    24                                                             24


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    23         JOHN GILLIES
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